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         EXHIBIT %
    5edacted Version of
Document Sought to be Sealed
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1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
4     IN RE:     FACEBOOK, INC.,                MDL No. 2843
5     CONSUMER USER PROFILE                     Case No.
6     LITIGATION                                18-md-02843-VC-JSC
      ___________________________
7     This document relates to:
8     ALL ACTIONS
      ____________________________
9
10    **CONFIDENTIAL - PURSUANT TO THE PROTECTIVE ORDER**
11
12             ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13           CORPORATE REPRESENTATIVE - ISABELLA LEONE
14    (Reported Remotely via Video & Web Videoconference)
15           Seattle, Washington (Deponent's location)
16                        Friday, August 5, 2022
17                                  Volume 1
18
19    STENOGRAPHICALLY REPORTED BY:
20    REBECCA L. ROMANO, RPR, CSR, CCR
      California CSR No. 12546
21    Nevada CCR No. 827
      Oregon CSR No. 20-0466
22    Washington CCR No. 3491
23    JOB NO. 5345580
24
25    PAGES 1 - 369

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1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
4     IN RE:     FACEBOOK, INC.,                MDL No. 2843
5     CONSUMER USER PROFILE                     Case No.
6     LITIGATION                                18-md-02843-VC-JSC
7     ___________________________
8     This document relates to:
9     ALL ACTIONS
10    ____________________________
11
12
13
14
15           VIDEOTAPED DEPOSITION OF ISABELLA LEONE, taken
16    on behalf of the Plaintiffs, with the deponent
17    located in Seattle, Washington, commencing at
18    8:04 a.m., Friday, August 5, 2022, remotely
19    reported via Video & Web videoconference before
20    REBECCA L. ROMANO, a Certified Shorthand Reporter,
21    Certified Court Reporter, Registered Professional
22    Reporter.
23
24
25

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1                           APPEARANCES OF COUNSEL
2     (All parties appearing via Web videoconference)
3
4     For the Plaintiffs:
5             BLEICHMAR FONTI & AULD LLP
6             BY:    LESLEY E. WEAVER
7             BY:    ANGELICA M. ORNELAS
8             BY:    JOSHUA SAMRA
9             Attorneys at Law
10            555 12th Street
11            Suite 1600
12            Oakland, California 94607
13            (415) 445-4003
14            lweaver@bfalaw.com
15            aornelas@bfalaw.com
16            jsamra@bfalaw.com
17
18
19
20
21
22
23
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1                           APPEARANCES OF COUNSEL
2     (All parties appearing via Web videoconference)
3
4     For the Plaintiffs:
5             KELLER ROHRBACK L.L.P.
6             BY:    CARI CAMPEN LAUFENBERG
7             BY:    DAVID KO
8             Attorneys at Law
9             1201 Third Avenue
10            Suite 3200
11            Seattle, Washington 98101
12            (206) 623-1900
13            claufenberg@kellerrohrback.com
14            dko@kellerrohrback.com
15
16    For Facebook, Inc.:
17            GIBSON, DUNN & CRUTCHER LLP
18            BY:    MATT BENJAMIN
19            Attorney at Law
20            200 Park Avenue
21            New York, New York 10166-0193
22            (212) 351-6381
23            mbenjamin@gibsondunn.com
24
25    /////

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1                     APPEARANCES OF COUNSEL(cont'd)
2     (All parties appearing via Web videoconference)
3
4     For Facebook, Inc.:
5             GIBSON, DUNN & CRUTCHER LLP
6             BY:    ROSEMARIE T. RING
7             Attorney at Law
8             555 Mission Street
9             Suite 3000
10            San Francisco, California 94105-0921
11            (415) 393-8200
12            rring@gibsondunn.com
13    and
14            BY:    MATT BUONGIORNO
15            Attorney at Law
16            2001 Ross Avenue
17            Suite 2100
18            Dallas, Texas 75201
19            (214) 698-3206
20            mbuongiorno@gibsondunn.com
21
22
23
24
25    /////

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1                     APPEARANCES OF COUNSEL(cont'd)
2     (All parties appearing via Web videoconference)
3
4     For Facebook, Inc.:
5             GIBSON, DUNN & CRUTCHER LLP
6             BY:    MARTIE KUTSCHER CLARK
7             BY:    PHUNTSO WANGDRA
8             Attorneys at Law
9             1881 Page Mill Road
10            Palo Alto, California 94304-1211
11            (650) 849-5348
12            mkutscherclark@gibsondunn.com
13            pwangdra@gibsondunn.com
14    and
15            BY:    NAIMA L. FARRELL
16            Attorney at Law
17            1050 Connecticut Avenue, N.W.
18            Washington, DC 20036-5306
19            (202) 887-3559
20            nfarrell@gibsondunn.com
21
22
23
24
25    /////

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1                     APPEARANCES OF COUNSEL(cont'd)
2     (All parties appearing via Web videoconference)
3
4             JAMS
5             BY:    DANIEL B. GARRIE
6             Special Master
7             555 W. 5th Street
8             32nd Floor
9             Los Angeles, California 90013
10            (213) 253-9706
11            dgarrie@jamsadr.com
12
13
14
15
16    ALSO PRESENT:
17            Ian Chen, Associate General Counsel,
18    Litigation and Regulatory at Meta
19            John Macdonell, Videographer
20
21
22
23
24
25    /////

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1                                 I N D E X
2     DEPONENT                                              EXAMINATION
3     ISABELLA LEONE                                                 PAGE
      VOLUME 1
4
5                                BY MS. WEAVER                             13
6
7
8                             E X H I B I T S
9     NUMBER                                                         PAGE
10                               DESCRIPTION
11    Exhibit 655      I. Leone CA MDL August 5,                           15
12                     2022 Deposition Notes,
13                     ADVANCE-META-00003632;
14
15    Exhibit 656      Newsroom Article - Understand                  145
16                     Why You're Seeing Certain Ads
17                     and How you Can Adjust Your
18                     Ad Experience,
19                     FB-CA-MDL-03969941 -
20                     FB-CA-MDL-03969951;
21
22    Exhibit 657      Gibson Dunn Letter dated                       155
23                     7/29/2022;
24
25    /////

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1                        E X H I B I T S(cont'd)
2      NUMBER                                                        PAGE
3                                DESCRIPTION
4      Exhibit 658      How Does Facebook Use                          201
5                       Machine Learning to
6                       Delivery Ads? | Meta
7                       For Business Article:
8                       Good Questions, Real
9                       Answers:      How Does
10                      Facebook Use Machine
11                      Learning to Deliver Ads?,
12                      FB-CA-MDL-03969899 -
13                      FB-CA-MDL-03969907;
14
15     Exhibit 659      Email String Subject:                          211
16                      Facebook Follow-ups for BMS,
17                      FB-CA-MDL-03526129 -
18                      FB-CA-MDL-03526133;
19
20     Exhibit 660      Meta Business Help Center Use                  251
21                      Detailed Targeting,
22                      FB-CA-MDL-03969858 -
23                      FB-CA-MDL-03969862;
24
25     /////

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1                        E X H I B I T S(cont'd)
2      NUMBER                                                        PAGE
3                                DESCRIPTION
4      Exhibit 661      Article - AG Ferguson                          260
5                       investigation leads to
6                       Facebook making nationwide
7                       changes to prohibit
8                       discriminatory advertisements
9                       on its platform;
10
11     Exhibit 662      Assurance of Discontinuance;                   281
12
13     Exhibit 663      Email String Subject:                          331
14                      PMD-related enforcement,
15                      FB-CA-MDL-02140811 -
16                      FB-CA-MDL-02140812.
17
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1          Seattle, Washington; Friday, August 5, 2022           09:04:04

2                                 8:04 a.m.

3                                 ---o0o---

4

5                   THE VIDEOGRAPHER:      And we're on the      07:48:14

6      record.     It's 8:04 a.m. Pacific Time on August 5th,

7      2022.     This is the deposition of Isabella Leone.

8      We're here in the matter of Facebook Consumer

9      Privacy User Profile Litigation.

10                  I'm John Macdonell, the videographer,        08:04:57

11     with Veritext.

12                  Before the reporter swears the witness,

13     would counsel please identify themselves, beginning

14     with the noticing attorney, please.

15                  MS. WEAVER:     Yes.   Good morning.         08:05:08

16                  This is Lesley Weaver with

17     Bleichmar Fonti & Auld on behalf of the plaintiffs.

18     And with me today from my firm are Josh Samra and

19     Angelica Ornelas.

20                  MR. BENJAMIN:     Good morning.              08:05:21

21                  I'm Matt Benjamin of

22     Gibson, Dunn & Crutcher on behalf of Meta Facebook

23     and the witness.

24                  With me are Martie Kutscher Clark,

25     Naima Farrell, Matt Buongiorno and Phuntso Wangdra,       08:05:28

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1      also from Gibson Dunn.    And Ian Chen from Meta.         08:05:33

2                THE COURT REPORTER:      If you could raise

3      your right hand for me, please.

4                THE DEPONENT:    (Complies.)

5                THE COURT REPORTER:      You do solemnly        08:05:39

6      state, under penalty of perjury, that the testimony

7      you are about to give in this deposition shall be

8      the truth, the whole truth and nothing but the

9      truth?

10               THE DEPONENT:    I do.                          08:05:39

11

12

13

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15                                                               08:05:40

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20                                                               08:05:40

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25     /////                                                     08:05:55

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1                          ISABELLA LEONE,                        08:05:56

2      having been administered an oath, was examined and

3      testified as follows:

4

5                            EXAMINATION                          08:05:56

6      BY MS. WEAVER:

7           Q.    Good morning, Ms. Leone.

8           A.    Good morning.

9           Q.    Thanks for joining us today.

10                Have -- have you been deposed before?           08:06:06

11          A.    I have not.

12          Q.    Okay.   Well, good -- good times are ahead

13     for you.

14                So really briefly, I -- I know that

15     you've covered these rules with your counsel, but          08:06:13

16     it's good if we discuss it on the record.

17                As you can see, Ms. Romano here is

18     transcribing what we discuss today.       And so because

19     of that transcription process and because we are

20     making a record, it's really important that we not         08:06:30

21     speak over each other and that we answer questions

22     audibly.

23                Does that make sense?

24          A.    Absolutely.

25          Q.    Okay.   If you don't understand a question      08:06:39

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1      that I'm asking, please just ask for clarity and           08:06:43

2      I'll rephrase it, because the really important

3      thing is that we're communicating accurately with

4      one another; is that fair?

5           A.      Yeah.    Absolutely.                          08:06:53

6           Q.      Okay.    A general rule is that if there is

7      a question pending, you may not take a break, you

8      should answer the question.          Unless you're

9      instructed not to answer by your counsel.

10                  And -- and the final point is that -- I'm     08:07:12

11     sure you've seen courtroom dramas where the witness

12     is on the stand and the judge is making rulings.

13     In a deposition, that doesn't happen.           So your

14     counsel will be inserting objections for the

15     record, but there will be no ruling on them.               08:07:25

16                  So you should answer the question, again,

17     unless you are instructed not to answer because we

18     are not graced with the presence of a judge saying

19     overruled or sustained, so...

20                  Is that fair?                                 08:07:39

21          A.      Yup.    Understood.

22                  MS. WEAVER:     Okay.    And before the

23     deposition started, your counsel emailed a document

24     over to us today, which we have marked as

25     Exhibit 1.                                                 08:07:52

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1                  (Exhibit 655 was marked for                    08:07:53

2      identification by the court reporter and is

3      attached hereto.)

4           Q.     (By Ms. Weaver)     And did you discuss with

5      your counsel how exhibits are marked in these              08:07:56

6      remote kinds of depositions?

7           A.     Yes.

8           Q.     Okay.     So do you have Exhibit Share up?

9           A.     Uh-huh.     Yes, I have it up.

10          Q.     And you can see Exhibit 1?                     08:08:07

11          A.     Yes.

12          Q.     Okay.     And what is Exhibit 1?

13          A.     It's a document I put together for how I

14     prepared for today.

15          Q.     Okay.     And when did you prepare it?         08:08:22

16          A.     I summarized this yesterday, this

17     document.

18          Q.     And were there other underlying notes

19     that you used to prepare this?

20                 MR. BENJAMIN:     Objection to form.           08:08:37

21                 THE DEPONENT:     It was a summary document

22     so it collated my calendar to get to the -- the

23     hours that we looked at.

24                 I'm -- I'm not sure if that's exactly

25     what you meant.                                            08:08:50

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1              Q.      (By Ms. Weaver)     No, that's fair.         That's   08:08:51

2      fine.

3                      Just trying to understand -- you actually

4      yourself created the document; is that right?

5              A.      Yes.                                                  08:08:57

6              Q.      Okay.   And when you -- you wrote

7      "Approximately 36 hours with counsel."

8                      Do you see that?

9              A.      Yes.

10             Q.      Which counsel are you referring to?                   08:09:09

11             A.      Gibson Dunn.   So Matt Benjamin and the

12     broader team.

13             Q.      And who else other than Mr. Benjamin?

14             A.      Martie Phuntso.     Matt -- Matt Buongiorno,

15     the other Matt.         Rose Ring and Naima Farrell.                  08:09:23

16             Q.      Okay.   And anyone else?

17             A.      I don't believe so from the Gibson Dunn

18     team.        And then Ian Chen, our -- my -- the -- the

19     Meta lawyer who's also on the call.

20             Q.      Okay.   Did you meet with any other                   08:09:42

21     lawyers during those 36 hours?

22             A.      No.

23             Q.      Okay.   Did you meet with any lawyers to

24     prepare at all?

25             A.      No, not aside from these lawyers.                     08:09:53

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1           Q.     Okay.    Sometimes I'm asking you questions   08:09:56

2      and it may seem curious to you.        But again, we're

3      laying foundation for a record that I'm just trying

4      to make sure that I'm not missing something.

5                  When did you meet with counsel during         08:10:08

6      those 36 hours?

7           A.     Those have been divided up over multiple

8      weeks.    I think originally, towards the end of May,

9      and then sessions over time that varied between an

10     hour and three to four hours long.        And I don't     08:10:23

11     remember the exact number of sessions.

12          Q.     And during those sessions, did counsel

13     provide you with documents?

14          A.     We discussed the documents for this

15     deposition.    And then as well as documents from my      08:10:37

16     prep, whether that was external -- Facebook

17     documents or documents that -- that we worked

18     through about the products or anything relevant.

19          Q.     And when you say "the external," what did

20     you mean?                                                 08:10:54

21          A.     Sorry.    I mean, articles such as like our

22     help center or our news blog posts, areas where

23     we've discussed our targeting and ranking

24     externally.    And then as well as our internal

25     references about those products as well.                  08:11:08

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1           Q.   And when you say "internal references,"            08:11:10

2      what are you referring to?

3           A.   For example -- I'm trying to think of a

4      good example that makes sense.

5                I -- I'm -- I can double-check.          I think   08:11:30

6      we used an internal wiki, which is kind of like our

7      version of how we -- how -- how our internal, like

8      way of documenting for teams to reference.

9                And similar if -- if any internal

10     announcements that were relevant.        So I -- I           08:11:49

11     believe looking at like an internal announcement

12     that helps us get our sales teams in -- prepared

13     for an external announcement.      So that's the --

14     that's an example of -- of an internal document

15     that I looked at.                                            08:12:04

16          Q.   Got it.

17               And for the internal documents, did you

18     provide those to counsel to discuss or did they

19     provide them to you?

20               MR. BENJAMIN:     Objection to form.               08:12:14

21               MS. WEAVER:     Let me ask differently.

22          Q.   (By Ms. Weaver)     Did you provide any of

23     those internal documents to prepare for your

24     deposition?

25               MR. BENJAMIN:     Objection.     Form.             08:12:23

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1                   THE DEPONENT:     I'm -- did I provide them    08:12:26

2      to my counsel or in our conversations, or look at

3      them during those sessions?

4                   I'm not totally sure what you mean.

5           Q.      (By Ms. Weaver)     Did -- did you yourself    08:12:35

6      identify any internal documents that you used to

7      prepare for this deposition?

8           A.      Without anyone else?      No, I -- I don't

9      think so.

10          Q.      Okay.   So the materials that you used to      08:12:48

11     prepare were largely, if not exclusively, curated

12     by the attorneys; is that right?

13                  MR. BENJAMIN:     Objection to form.

14     Misstates.

15                  THE DEPONENT:     I -- they weren't            08:13:06

16     exclusively from the legal team.          They could have

17     been from the groups and the people we also worked

18     on with my prep, our employees that aren't lawyers.

19          Q.      (By Ms. Weaver)     And did you provide any

20     documents to prepare?                                       08:13:19

21                  MR. BENJAMIN:     Objection.     Form.

22                  THE DEPONENT:     I -- I don't believe I

23     did, no.

24          Q.      (By Ms. Weaver)     And how many documents

25     did the team that you met with provide?                     08:13:28

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1              A.   The legal team or when --                         08:13:34

2                   (Simultaneously speaking.)

3              Q.   (By Ms. Weaver)     The nonlegal --

4              A.   The nonlegal team --

5              Q.   Sorry.                                            08:13:39

6              A.   Go ahead.

7              Q.   That's my fault.     I apologize.

8                   How many documents did the nonlegal team

9      identify and provide for you to use in preparation

10     for this deposition?                                           08:13:51

11                  MR. BENJAMIN:     Objection.     Form.   Vague.

12                  THE DEPONENT:     I -- I think -- I can

13     think of like one document that -- that one of

14     the -- one of the people I was speaking to

15     referenced, and then I looked for that document.               08:14:08

16             Q.   (By Ms. Weaver)     And what document was

17     that?

18             A.   It was one of the sales announcements

19     that I referenced ahead of an external

20     announcement.                                                  08:14:17

21             Q.   And did you find it useful in terms of

22     preparing for your deposition?

23             A.   Not particularly, to be honest.

24             Q.   And why is that?

25             A.   It didn't have -- it -- it didn't really          08:14:28

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1      give me the information I was looking for.                        08:14:31

2              Q.   Okay.     And what was the information you

3      were looking for?

4              A.   I was trying to understand what was an

5      update we made in our targeting tools and it didn't               08:14:39

6      actually describe it particularly in detail.              So it

7      was not a very ref- -- helpful reference.

8              Q.   Got it.

9                   And what year was the update that you

10     were thinking of?                                                 08:14:53

11             A.   It was --

12                  MR. BENJAMIN:     Objection to form.

13                  THE DEPONENT:     Sorry.

14                  MR. BENJAMIN:     Sorry, Isabella.

15                  Objection.     Form.                                 08:15:02

16                  THE DEPONENT:     It was 20- -- 2013 or

17     2014.

18             Q.   (By Ms. Weaver)        And did you find the

19     answer that you were looking for with regard to

20     this update in 2013 and 2014?                                     08:15:16

21             A.   Yes, I did.

22                  MR. BENJAMIN:     Objection.

23             Q.   (By Ms. Weaver)        And -- and what was the

24     issue, if you don't mind explaining?

25             A.   Yeah, absolutely.                                    08:15:26

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1                   We had -- it was actually related to one     08:15:27

2      of the documents you -- you -- that's -- that was

3      part of the deposition, the exhibits.         It was

4      related to the -- the removal of our reach

5      estimates.                                                08:15:40

6              Q.   Okay.   We'll return to that in a bit

7      because I think what I want to do is try to be a

8      little more methodical and talk about definitions,

9      et cetera.

10                  Returning back to Exhibit 1 for just a       08:15:53

11     moment, you said -- you wrote here that you spent

12     eight hours preparing on your own; is that right?

13             A.   Yes.

14             Q.   What did you do to prepare on your own?

15             A.   I largely reread the documents that were     08:16:05

16     submitted, and then read the -- the -- the

17     documents that the legal team had put together as

18     well.

19             Q.   Okay.   And when you wrote, "documents

20     from Plaintiffs," did you mean the documents that         08:16:18

21     we identified for the deposition?

22             A.   (Deponent nods head.)

23             Q.   Okay.

24             A.   Those as well as just the -- I -- I'm not

25     sure if it make a difference, but the ones                08:16:30

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1      specifically I understood like the exhibits for           08:16:32

2      this dep- -- deposition.       But then also like the

3      notice as well as the scenario documents.

4           Q.     Great.    Thank you.

5                  And when you wrote "blog posts," what         08:16:41

6      were you referring to there?

7           A.     Our external blog posts.        So on our

8      Newsroom any -- any announcement we've made that

9      were relevant.

10          Q.     And what did you understand the focus of      08:16:54

11     your testimony to be today, as you were preparing?

12                 MR. BENJAMIN:     Objection to form.

13                 And, Bella, to the extent that answering

14     that question would require you to disclose any

15     privileged communications or information, I'd just        08:17:07

16     ask you to carve that out of your answer.

17                 But to the extent that you can answer

18     Ms. Weaver's question without disclosing privileged

19     information, you should -- you should do so.

20                 THE DEPONENT:     I understood --             08:17:16

21          Q.     (By Ms. Weaver)     Go ahead.

22          A.     I understood it to be about our -- our ad

23     delivery.    So targeting and ranking, and the ways

24     that advertisers can place an ad on Meta.

25          Q.     Okay.    So what do you mean by "ad           08:17:32

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1      delivery"?                                                      08:17:50

2           A.      So the way our ad system works is that it

3      is based on the choices advertisers make by

4      selecting a desired audience and ad settings to

5      help us understand the setup of their ad.            And then   08:18:05

6      there is a secondary step which is about

7      determining from that eligible audience who will

8      actually see that ad.        That's something we called

9      ranking.

10                  That -- the end to end of this system is           08:18:16

11     called ad delivery.     So the starting point of an

12     advertiser creating an ad to the end point of

13     someone seeing that ad.

14          Q.      And what is the time frame that you

15     understand you are testifying to today?                         08:18:31

16                  MR. BENJAMIN:     Objection to form.

17                  And same caution, to the extent you can

18     answer the question without disclosing privileged

19     information or communications, you should do so.

20                  THE DEPONENT:     I understood it to be            08:18:48

21     between the last 10 and 15 years.          Over the course

22     of the last 10 to 15 years.

23          Q.      (By Ms. Weaver)     Okay.    So 2012 or -- I

24     mean, I'll just -- I'm not -- to be transparent,

25     our class period is 2007 to the present.                        08:19:02

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1           A.     That's what I understood, yes.                      08:19:06

2           Q.     Okay.     Great.

3                  So in 2007, was Facebook engaged in ad

4      delivery?

5           A.     We did show ads in 2007.                            08:19:16

6           Q.     And how was it accomplished in 2007, and

7      how did it change over time, generally?

8                  MR. BENJAMIN:      Objection to form.

9      Compound.    Vague.

10                 THE DEPONENT:      So advertisers have -- we        08:19:27

11     it's always been that an advertiser could set up an

12     ad and give us the creative of what they wanted to

13     run -- or to -- to be for that ad, the content.

14                 Over the last 15 years, the system has

15     evolved to both provide additional targeting                    08:19:48

16     options to advertisers for their selection, the

17     placement options, the ad ranking, the ad delivery.

18     Our machine learning has evolved.          So a lot of the

19     system has changed over time.

20                 I think the fundamental pieces of the               08:20:04

21     advertisers' involvement down to a user seeing the

22     ad somewhere on Facebook have been consistent.            And

23     then over that same period, we've also updated our

24     transparency tools for users as well as the

25     controls they have for advertising.                             08:20:19

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1           Q.     (By Ms. Weaver)     So is it possible for             08:20:24

2      you to just lay out generally a chronology of

3      how -- let's carve out for a moment the

4      transparency tools and just talk about ad delivery

5      and how that changed over time at Facebook                        08:20:36

6      beginning in 2007.

7                  MR. BENJAMIN:     Objection to form.         Scope.

8                  THE DEPONENT:     I don't think that I can

9      lay out a detailed timeline of like specific years

10     of when machine learning was updated.          But I can          08:20:51

11     talk through how that product has evolved, if

12     that's useful.

13          Q.     (By Ms. Weaver)     Great.    That would be

14     great.

15          A.     So over time you can think of our ad                  08:21:01

16     delivery as many models that help us optimize and

17     understand some- -- whether someone would be

18     interested in an ad.    The way those models function

19     is that we incorporate people's activity on the

20     site, people's -- oh -- or -- and then across that                08:21:18

21     timeline, also people's activity off of Facebook to

22     help us understand whether they would be interested

23     in an ad.

24                 So one of the examples of an update there

25     would be, in 2014, starting to include activity on                08:21:31

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1      the website or app to help inform ads.           And then   08:21:36

2      there have been smaller iterations about the type

3      of models and how those function in ad delivery

4      over those years.

5              Q.   In 2007, how did Facebook record users'        08:21:49

6      activity on and off the platform?

7                   MR. BENJAMIN:     Objection to form.

8              Q.   (By Ms. Weaver)     Or generally the --

9      outside of the class period?

10                  MR. BENJAMIN:     Objection to form.           08:22:03

11                  Sorry.    Lesley, would you mind restating

12     the question just so it's clear to all of us.

13             Q.   (By Ms. Weaver)     In 2007, how did

14     Facebook record users' activity on and off the

15     platform?                                                   08:22:13

16                  MR. BENJAMIN:     Thank you.

17                  THE DEPONENT:     Outside of our ad system?

18             Q.   (By Ms. Weaver)     For -- I'm -- using your

19     words, you said that -- well, I'll just say, yes,

20     for use in ads -- in ads advertising, yeah.                 08:22:33

21             A.   Yeah.    So --

22                  MR. BENJAMIN:     Objection -- objection to

23     form.

24                  THE DEPONENT:     In -- in 2007, we did not

25     use offsite, so -- or what I call offsite -- but            08:22:47

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1      activity off of Facebook to inform ads.           That was   08:22:50

2      something that was introduced in 2014.

3                  Prior to that, we used activity on

4      Facebook.    So that could be information people

5      provide as part of their profile or the                      08:23:01

6      interactions they have on Facebook.

7                  For example, like camp page interacting

8      with an ad would have informed that.          That --

9      that's remained relatively consistent throughout

10     this period.                                                 08:23:14

11          Q.     (By Ms. Weaver)     And when you say

12     "interacting with an ad," what do you mean?

13          A.     That could be an ad click or ad comment.

14          Q.     And just to be specific, when you say

15     "click," you mean -- well, what do you mean by               08:23:28

16     "click"?

17          A.     When someone is shown an ad, there is a

18     call to action that the advertisers also defines in

19     the setup of their ad.    That could be something

20     like learn more.    And they would go to a website,          08:23:42

21     it could be something like like page.          It could be

22     respond to an event.

23                 So any number of those call to actions --

24     usually when I say "click," I mean that the person

25     actually took that action.       They clicked on the         08:23:56

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1      learn more.                                                08:23:58

2           Q.     And, therefore, it's not linked

3      excessively to example -- for example, a purchase,

4      right?

5                  MR. BENJAMIN:     Objection.                   08:24:06

6           Q.     (By Ms. Weaver)     It can be anything?

7                  MR. BENJAMIN:     Objection to form.

8                  THE DEPONENT:     It is not specifically to

9      mean a purchase.

10          Q.     (By Ms. Weaver)     And when you said that     08:24:15

11     Facebook was recording users' on platform activity,

12     where is it recorded?

13                 What did you mean by that?

14                 MR. BENJAMIN:     Objection to form.

15                 THE DEPONENT:     It is -- in order to run     08:24:46

16     our site, we maintain like a -- we understand that

17     the actions people take on the site, and that

18     activity is what we then use for ads.

19          Q.     (By Ms. Weaver)     And how is that activity

20     identified and then used for ads?                          08:25:03

21                 MR. BENJAMIN:     Objection to form.

22     Compound.     Vague.

23                 THE DEPONENT:     Can -- do you mind

24     clarifying what you mean by "identified"?

25          Q.     (By Ms. Weaver)     Sure.                      08:25:17

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1                  If Facebook User A is acting on the                   08:25:18

2      platform, how does Facebook -- and let's say in the

3      period 2007 to 2014 -- how did Facebook identify

4      which activity to observe and record for use in

5      ads?                                                              08:25:36

6                  MR. BENJAMIN:     Objection to form.         Vague.

7      Calls for speculation.

8                  THE DEPONENT:     I think it wasn't that

9      something was recorded specifically for the use in

10     ads.                                                              08:25:49

11                 So as an example, if I liked a page, we

12     would know that I liked a page.         And that was

13     because also I have -- when I go to my profile, I

14     need to see that I liked that page.          That's

15     something that happens outside of ads completely.                 08:26:02

16                 Ads then -- our ad system can then use

17     that activity in order to help inform my future ads

18     by understanding what my interests might be.

19                 The -- does that get at what you were

20     asking?                                                           08:26:21

21            Q.   (By Ms. Weaver)     Yes.

22                 So when Facebook is using that activity,

23     was Facebook looking at whether or not that

24     activity was marked private or public by the user?

25                 MR. BENJAMIN:     Objection to form.         Scope.   08:26:36

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1                   THE DEPONENT:     No.     Activity on Facebook      08:26:38

2      is we -- it's not quite differentiated in those two

3      buckets.     And our -- we did not reference that

4      explicitly in use for ads.

5             Q.    (By Ms. Weaver)     So if I mark -- let's           08:26:56

6      say I liked a product, but only a restricted

7      audience had access to that like, did Facebook then

8      restrict the use of that like in advertising only

9      in relation to the people with whom I had shared

10     that like?                                                       08:27:19

11                  MR. BENJAMIN:     Objection.     Vague.      Time

12     period.

13                  THE DEPONENT:     I think there are a few

14     things that I -- to -- to unpack there.

15                  So a product, which I understand to mean            08:27:32

16     maybe something that a brand has posted, would be

17     from like a Facebook page.           Those are public.

18     There is only one setting for that -- that post.

19     And so when a user likes it, it is a public action

20     they are taking, and then we would use that for                  08:27:47

21     ads.

22                  I'm not sure if that gets to -- to the

23     example you gave.

24            Q.    (By Ms. Weaver)     Right.     That's -- so

25     that's one scenario.     But let's assume a scenario             08:27:55

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1      where a friend posts something on the wall and I              08:27:57

2      like it.    And that like indicates something about

3      me.

4                  Does Facebook use that like to decide how

5      to target me for ads?                                         08:28:09

6                  MR. BENJAMIN:     Objection.     Form.   Vague.

7      Calls for speculation.

8                  THE DEPONENT:     We use people's activity

9      and it could include activity from liking a post.

10     It's not that we then target an ad to someone based           08:28:21

11     on that.    It is still based on the advertiser's

12     desired audience.

13                 So the way they've set up the parameters

14     for their audience.     And then the information of

15     people's activity helps us understand if they would           08:28:33

16     be interested in an ad.

17           Q.    (By Ms. Weaver)     When Facebook is using a

18     user's activity to identify advertiser's desired

19     audiences, is Facebook limiting users' activity

20     that is public, or is it also using activity                  08:28:53

21     that -- for which users have restricted the

22     audience?

23                 MR. BENJAMIN:     Objection.     Form.   Vague.

24                 THE DEPONENT:     I -- today, I do not

25     believe that we use the -- actually, there's a                08:29:13

                                                                      Page 32

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1      clarification here that's important.                      08:29:18

2                   We use people's activity not just in

3      terms of like they -- the exact action they took,

4      but also aggregated.     So the fact that you were

5      active on Facebook in the last month is something         08:29:30

6      that we would understand and use in order to inform

7      an ad.

8                   There isn't a distinction there of

9      whether or not that activity -- the fact that you

10     were active in the last month is public or private.       08:29:41

11     So I -- I'm not sure that there's a clear way to

12     answer what you're getting at.

13          Q.      (By Ms. Weaver)     So for aggregated

14     activity, there's no distinction between public and

15     private.     And public and private access --             08:29:54

16     activities are all in one bucket; is that fair?

17                  MR. BENJAMIN:     Objection.     Form.

18     Misstates.     Vague.

19                  THE DEPONENT:     There are -- our -- the

20     way people interact with the platform and -- and          08:30:12

21     what they do on the platform does not fall into

22     buckets of private and public.

23                  And so are also, when we think of like if

24     you've been active in the last month, it doesn't

25     differentiate between those because they're not a         08:30:25

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1      concept within the activity on our platform.              08:30:27

2           Q.    (By Ms. Weaver)     So in 2014 -- let's use

3      the not aggregated example.

4                 In 2014, when a user engaged in a

5      specific activity and that activity was designated        08:30:41

6      for a restricted audience, meaning something less

7      than public, did Facebook use that activity to help

8      curate audiences for advertiser?

9                 MR. BENJAMIN:     Objection form.

10                THE DEPONENT:     It's not that curating       08:31:09

11     can -- curating audiences for advertisers, I'm not

12     really sure exactly what that means.

13                If it's that we have a targeting option

14     and an advertiser has defined their target audience

15     and then in order to deliver that ad, we use              08:31:25

16     people's activity, and it's not differentiated

17     between public or private.

18          Q.    (By Ms. Weaver)     And is that true for the

19     entire class period, 2007 to the present?

20          A.    I'm not sure if there have been                08:31:44

21     carve-outs in some manner throughout that.          I

22     think -- in -- in a way that maps to private or

23     public.   Because, again, it -- it's not really

24     what -- reflective of our system works.

25          Q.    And when you say "It's not reflective of       08:31:57

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1      how our system works," can you describe what you                08:31:58

2      mean, or can you kind of explain what you mean?

3           A.      Yes.    So something such as liking a page,

4      I think, is what you're referencing as public.

5      Other areas -- things like looking at an ad or                  08:32:12

6      watching or -- or -- or looking at a photo, those

7      are activity.

8                   I'm not sure how we would designate those

9      as public or private because it's not something

10     that's -- necessarily has a trace that leaves                   08:32:25

11     behind.     It's something that is activity that is on

12     our platform.       Those are interactions, even if it

13     isn't a like or a comment.

14          Q.      And are all of those interactions used in

15     some form for advertising?                                      08:32:40

16                  MR. BENJAMIN:     Objection.

17                  THE DEPONENT:     No.

18                  MR. BENJAMIN:     Form.

19          Q.      (By Ms. Weaver)     What are the forms that

20     are used -- what are the activities that are used               08:32:46

21     for advertising?

22          A.      We use like page and ad engagement.           So

23     the interactions I was talking about before.              We

24     use whether -- how someone has interacted with our

25     products.     For example, how they connect to                  08:33:02

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1      Facebook.        And if they're using browser or mobile        08:33:04

2      and that -- that type of information.              We use

3      information they provide on their profile.

4                      And then like I was saying, the -- the

5      more aggregated statistics of have -- have they                08:33:20

6      logged in the last month.           Are they an active page

7      user.        Are they -- those are examples.

8              Q.      Does Facebook use, for example,

9      information about likes that users post for

10     advertising?                                                   08:33:41

11             A.      Can you clarify --

12                     MR. BENJAMIN:     Objection.

13             Q.      (By Ms. Weaver)     Do you know what a like

14     is?

15             A.      Yes.    I -- I'm not sure what you mean by     08:33:52

16     information about a like.           Just that a like

17     occurred?

18             Q.      Sure.

19             A.      We --

20             Q.      Does Facebook use likes for advertising?       08:33:59

21             A.      Yes, we do.     As an example, page likes

22     would be something that we use.             An ad like would

23     be also another example.

24             Q.      Does Facebook use likes on other content

25     for advertising?                                               08:34:14

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1           A.      Yes.    I don't think that it is like all    08:34:20

2      likes.    But I'm not sure that there is a click or

3      differentiation of what has been in the system over

4      the entire -- from 2007 until to now -- now.

5           Q.      Did Facebook's policy or practices change    08:34:35

6      with regard to which likes it uses for advertising

7      over time?

8                   MR. BENJAMIN:     Objection to form and

9      scope.

10                  THE DEPONENT:     I -- what -- for -- I      08:34:48

11     don't think that there were like rules that have

12     been changed.       That -- that's not something I

13     recall.

14          Q.      (By Ms. Weaver)     So if a friend wrote a

15     post and I liked it, would that be used for               08:35:04

16     advertising at Facebook?

17          A.      That -- that example would not be used.

18          Q.      Why not?

19          A.      Honestly, I think we have found that the

20     page and ad engagement, which was the center of all       08:35:20

21     of this, and activity we used up until that -- up

22     until the -- besides that piece, has been helpful

23     for understanding people's interests and that

24     wasn't something that was included.

25          Q.      And when you say "advertising," what do      08:35:40

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1      you mean?                                                 08:35:43

2           A.     I mean specifically an ad that has been

3      created by an advertiser and placed through our ad

4      creation tool, such as ads manager, with a desired

5      audience and a bid.     And then that they pay for the    08:35:58

6      placement of that ad.       So when we show that ad,

7      they pay for that impression.

8           Q.     I would -- I'm trying to understand what

9      is excluded by your definition of "advertising" in

10     term of ways that Facebook is compensated for             08:36:13

11     allowing the targeting of users.

12                 Are there examples of ways in which

13     Facebook shares information about users that you

14     think is excluded from the definition of

15     advertising?                                              08:36:33

16                 MR. BENJAMIN:     Objection to form.

17     Argumentative.     Vague.

18                 THE DEPONENT:     So my definition is

19     specifically about the -- what -- what is like paid

20     advertising.     I don't -- I'm not quite sure what       08:36:49

21     you mean in terms of other ways people could access

22     information.     I'm happy to -- to understand that

23     better.

24          Q.     (By Ms. Weaver)     Okay.    So you're

25     excluding, for example, research from advertising;        08:36:59

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1      is that an example of something you're excluding?           08:37:03

2                   MR. BENJAMIN:     Objection to form.

3      Misstates.     Argumentative.

4                   THE DEPONENT:     Do you mean research such

5      as someone -- I'm -- I'm not -- I'm not actually            08:37:13

6      sure what you mean by that.

7                   What would be an example?

8           Q.      (By Ms. Weaver)     Is there a research

9      department at Facebook?

10          A.      We do have an internal --                      08:37:22

11                  MR. BENJAMIN:     Objection to form.

12     Objection to form and scope.

13                  THE DEPONENT:     We --

14                  MR. BENJAMIN:     You can answer.

15                  THE DEPONENT:     We do have an internal       08:37:29

16     research department, yes.

17          Q.      (By Ms. Weaver)     And are you excluding

18     from your definition of advertising the way that --

19     that research department might use information

20     about users, in your discussion today?                      08:37:39

21          A.      Yes.   I --

22                  MR. BENJAMIN:     Objection to form.

23     Objection to form and scope.

24                  THE DEPONENT:     Yes, I am.     But I'm not

25     sure I understand how our internal research                 08:37:52

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1      department is related to an -- an -- a nonMeta               08:37:54

2      advertiser either.

3           Q.   (By Ms. Weaver)     Right.    Okay.    I'm just

4      trying to understand if there are certain ways in

5      which information about users is recorded by                 08:38:04

6      Facebook and still shared, but that is excluded

7      from your definition -- definition of advertising?

8           A.   I wouldn't consider our internal --

9      internal research department sharing information.

10     It is -- they are a part of Meta.                            08:38:22

11          Q.   Okay.     And you're not capable of

12     testifying about the research department; is that

13     right?

14               MR. BENJAMIN:     Objection to form.         The

15     characterization.     And also to note that the scope        08:38:37

16     of the deposition was the subject of numerous

17     meet-and-confers and correspondence between --

18               (Simultaneously speaking.)

19               MS. WEAVER:     I just asked for an answer.

20               THE DEPONENT:     That's correct.      I'm not     08:38:50

21     an expert on the research department or the breadth

22     of research that we do and don't do.

23          Q.   (By Ms. Weaver)     Got it.

24               So you've defined advertising as when an

25     ad is created by an advertiser and placed through            08:39:22

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1      our ad creation tool, such as ads manager.                  08:39:24

2                  If an ad is not created by the

3      advertiser, does Facebook itself create ads?

4           A.     We do not create ads for a third party.

5      We -- we do -- we are also an advertiser on our own         08:39:40

6      platform.    And then we also use our creation tools

7      to create that ad.

8           Q.     And are you testifying on that topic

9      today?

10          A.     About our -- our own ads?                       08:39:55

11          Q.     Yes.

12          A.     To the extent that it relates to our

13     targeting and ad delivery, yes, because it's the

14     same system.       In terms of like our marketing

15     efforts, probably not.       No, I don't think I'm an       08:40:11

16     expert on that.

17          Q.     Okay.     And you also said you were

18     limiting advertising -- and I'm just trying to

19     parse it out -- to "an ad is created by an

20     advertiser and placed through our ad creation               08:40:28

21     tool."

22                 So are you excluding examples where the

23     ad is not placed through the ad creation tool or is

24     that just part of -- in your process?

25          A.     That's just part of the process.         It's   08:40:42

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1      not an exclusion.     There aren't -- it's not a way       08:40:43

2      to exclude other ads.

3           Q.   Okay.     And then you said they pay for the

4      placement of that ad, or they pay for an

5      impression; is that right?                                 08:40:56

6           A.   Yes.

7           Q.   Okay.     Is that the only thing that third

8      parties pay Facebook for with regard to

9      advertising?

10               MR. BENJAMIN:     Objection to form.             08:41:10

11               THE DEPONENT:     Do you mean in terms of --

12     of an ad that they've tried to create and deliver.

13          Q.   (By Ms. Weaver)     Yes.

14          A.   Yes.    Is -- they pay for the impression

15     delivered or -- or the -- the fact that we have            08:41:28

16     shown that ad to someone is -- is what an

17     advertiser is paying for.

18          Q.   Is it fair to say that different metrics

19     can be established for purposes of triggering

20     payment in an agreement with an advertiser?                08:41:44

21          A.   I'm not sure what you mean.        Do you mind

22     clarifying.

23          Q.   Do advertiser pay for -- can they agree

24     to pay for views or impressions or clicks, or some

25     other metric?                                              08:42:00

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1             A.    They -- they choose the objective of              08:42:02

2      their ad, and that is part of what defines -- what

3      their -- the action that they're effectively paying

4      for.     So you can -- when -- when they choose that

5      objective, there's -- there are various options.               08:42:16

6      One of them might be people's clicks and views.           So

7      if like a reach or brand awareness would probably

8      be looking for views.        And those are the actions

9      that take.

10                  The -- when -- when someone sets up their         08:42:30

11     ads -- their ad, they are given the option --

12     look -- I said to set their objective and their

13     bid.     And then that helps determine the payment

14     when the ad is actually shown and that action is

15     taken.                                                         08:42:45

16            Q.    Okay.   If we can, I'd like to break down

17     some of the definitions here, just to back it up a

18     little bit.

19                  So could you identify the general buckets

20     of actions taken for which Facebook receives                   08:42:57

21     payment from advertisers?

22                  MR. BENJAMIN:     Objection to form.

23                  THE DEPONENT:     Actions taken by -- by

24     people viewing the ad or by the advertiser?

25                  I'm sorry.                                        08:43:12

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1              Q.   (By Ms. Weaver)     By the users.                   08:43:14

2              A.   So I believe that payment -- so --

3      viewing an ad is what we charge an advertiser for.

4      It is the impression.     There are ways to cut the

5      cost that helps an advertiser understand whether it              08:43:31

6      was the -- what the -- the -- the cost per action

7      was.

8                   So for example, if we show an ad 100

9      times, there will be a cost per impression.               If

10     we -- that ad was only clicked 20 times, there will              08:43:48

11     be a cost per click.

12                  Those are the -- the -- the breakdown of

13     the payments that the advertiser is then invoiced

14     and that they make to us is based on the

15     performance of that ad.                                          08:44:03

16             Q.   And when you say "view," what do you

17     mean?

18             A.   If I'm going through my newsfeed and I

19     see an ad as a user, that is an impression.               It's

20     a -- or a view, sorry -- view is probably more                   08:44:16

21     colloquial.     But it is the impression of me seeing

22     the ad.

23             Q.   And how does Facebook know that a user

24     saw the ad?

25             A.   Because we know that a user is on                   08:44:30

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1      Facebook, and they are scrolling through their                   08:44:33

2      newsfeed.

3              Q.      And is Facebook then recording

4      specifically what each user views?

5              A.      We do know what people view.                     08:44:43

6              Q.      And does Facebook record that so it can

7      record it to the third party for payment purposes?

8                      MR. BENJAMIN:     Objection to form.

9                      THE DEPONENT:     I'm not sure if -- can you

10     walk me through -- maybe "record" is throwing me                 08:45:01

11     here.        And what --

12             Q.      (By Ms. Weaver)     Okay.

13             A.      -- do you mean by report back to the

14     advertiser?

15             Q.      I'm using "record" because you used              08:45:07

16     record.

17             A.      Okay.

18             Q.      What did you mean by "record" when you

19     used it?

20             A.      Just that it is logged.       So we have --      08:45:14

21     when someone goes in their newsfeed and they see a

22     ad, we know that they saw an ad.             We do use that to

23     say one person saw this ad.           And when we share

24     information back to the advertiser, we share

25     aggregated reporting information so they would know              08:45:30

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1      in aggregate how many people saw an ad.           We don't     08:45:32

2      share that "I, Bella, saw the ad."

3           Q.      But in its base, Facebook must have a

4      record that you, Bella, saw the ad because somehow

5      you've got to aggregate, right?                                08:45:45

6           A.      Yes.    We do know that I saw the ad.       But

7      we don't share that with the advertiser.

8           Q.      Did that change over time?

9           A.      No, not to my knowledge.

10          Q.      Okay.                                             08:46:03

11          A.      Sorry, Matt.

12          Q.      So from 2007 to the present, did Facebook

13     at any point in time share with advertisers who

14     specifically saw what ad?

15          A.      Our performance and reporting to                  08:46:14

16     advertisers is aggregated.       And it explains the

17     performance of their ads, not the people who saw

18     their ads.     And that's been consistent.

19          Q.      And has it -- the size of the aggregated

20     groups that Facebook reported to advertisers                   08:46:36

21     changed over time?

22          A.      I -- I would assume it has.       I don't know

23     what that timeline looks like or the -- the

24     changes, specifically.

25          Q.      In general, is it fair to say that the            08:46:57

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1      groups have gotten larger in part as an attempt to                 08:47:00

2      protect the identification and reidentification of

3      users, when reporting to advertisers who has seen

4      what advertisement?

5                   MR. BENJAMIN:     Objection to form.                  08:47:14

6                   THE DEPONENT:     Again, I don't know

7      exactly what those changes are or the trend in --

8      to -- to confirm that.

9           Q.      (By Ms. Weaver)     Did Facebook have a

10     policy about that?                                                 08:47:26

11                  MR. BENJAMIN:     Objection to form.

12                  THE DEPONENT:     I don't think that there's

13     been an explicit consistent policy about that, in

14     terms of -- over the entire period.

15          Q.      (By Ms. Weaver)     Are you aware of any              08:47:45

16     policies that relate to it during any time period?

17                  MR. BENJAMIN:     Objection to form.         Scope.

18                  THE DEPONENT:     For ads, we -- we -- we do

19     aggregate.     I don't think that -- or I'm not aware

20     of a -- a one threshold that is -- that happens                    08:48:02

21     throughout.

22                  I think that those are evaluations with

23     the privacy and policy and legal teams that help

24     establish it for that product and what makes sense

25     in terms of potential reidentification or not.                     08:48:18

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1              Q.   (By Ms. Weaver)     Who on those teams is    08:48:23

2      knowledgeable about this topic?

3              A.   I would expect our privacy team would be

4      and I -- I don't have a name off the top of my

5      head.                                                     08:48:33

6              Q.   Okay.    If you think of a name during the

7      course of the deposition, will you circle back?

8              A.   Yeah.

9              Q.   Thank you.

10                  When you say "that product" -- you said      08:48:48

11     the privacy and legal team establish a threshold

12     for that product, what did you mean by "product,"

13     in general?

14             A.   Yes.    Sorry.   That was very internal

15     speak.                                                    08:49:02

16                  That would be, as an example, something

17     that I consider a product or our targeting options.

18     So one of those options could be a product.

19                  In this case, I was thinking more

20     specifically about our ad reporting UI and the --         08:49:16

21     the metrics that we provide there as a product.

22             Q.   When you said "ad reporting UI," you mean

23     ad reporting user interface; is that right?

24             A.   As an advertiser, when I create the ad in

25     ads manager, as an example, the interface that I go       08:49:34

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1      back to, to understand how that ad is performing.         08:49:36

2             Q.    And what metrics are you referring to

3      when you said the metrics we provide is a product

4      in the UI?

5             A.    So as an example, the number of              08:49:49

6      impressions an ad has received.          The number of

7      clicks it's received.

8             Q.    And to return a little bit to where we

9      are and just close it out.

10                  Are there any other metrics that Facebook    08:50:04

11     reports to advertisers?

12            A.    Outside of performance metrics?

13            Q.    Yes.

14                  MR. BENJAMIN:     Objection to form.

15                  THE DEPONENT:     No.                        08:50:15

16            Q.    (By Ms. Weaver)     And over the class

17     period, is that true as well?

18                  MR. BENJAMIN:     Objection.     Form.

19                  THE DEPONENT:     Again, related to ads

20     reporting, it is based on the performance of those        08:50:31

21     ads.    And I'm not -- I don't think that there are

22     other metrics that we report outside of the

23     performance of their ads.

24            Q.    (By Ms. Weaver)     And with regard to

25     performance metrics, does -- has Facebook ever            08:50:43

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1      provided any information other than clicks and               08:50:48

2      views?

3           A.   The cost per clicks is an example.           The

4      payment -- or the -- the -- how much it has cost

5      them to run that ad.    There's a series -- I'm              08:50:58

6      happy -- maybe that's -- I don't know the full

7      list, but I'm happy to get -- make sure that

8      there's a screenshot provided of the UI.

9           Q.   What is a cost per click?

10          A.   A cost per click is over -- the amount an          08:51:16

11     advertiser has spent.     If they spent five dollars

12     and they got 20 clicks in the delivery of that ad,

13     the cost per click is literally the -- the amount

14     spent per click.    So the average cost per click.

15          Q.   And what is payment per click?                     08:51:34

16          A.   It's not a payment per click.         It's just

17     the total they spend divided by the -- how much --

18     how many clicks they got.     And then their total

19     payment is how much they're charged for that ad.

20          Q.   Okay.    In terms of the targeting                 08:51:52

21     categories advertisers can identify, can you

22     generally describe all of them?

23          A.   Yeah, absolutely.

24               MR. BENJAMIN:     Objection.     Vague.

25               THE DEPONENT:     For -- so just as a              08:52:22

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1      starting point, when we say "identify," I -- I --           08:52:24

2      this -- what I'll describe is what's in -- what we

3      provide to advertisers for them to set their

4      desired audience.

5                 So when an advertiser goes to create an          08:52:35

6      ad, like I said, they give us the content of their

7      ad.   So what they want it to look like when it's

8      run on Facebook.    And then they set up their

9      objective and the budget, the pacing, et cetera.

10     And then they get to the -- the audience portion.           08:52:49

11                And there they're given options that we

12     often bucket into what's called core audiences.

13     And that might be demographics and location.          So

14     they're selecting whether they want to reach an age

15     range and what that age range is.      And then whether     08:53:05

16     they want to reach everyone or men or women.

17                And then they select the location.         So

18     for example, if they want to reach all of the state

19     of Washington or -- or kind of within that, what

20     realm, where they want their ad to be shown.                08:53:20

21                Outside of our core audiences, we also

22     have what is called like detailed targeting.          And

23     that's -- that's based off -- or that's -- those

24     are -- examples are interests or behaviors.

25                So interest might be things like hobbies,        08:53:35

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1      topics, public figures that people have engaged                   08:53:39

2      with.        And then behaviors might be the way they

3      connect to Facebook, their purchase behavior.                So

4      whether they've bought things before.              If they

5      interact with games, as an example.                               08:53:52

6                      And then there are custom -- custom

7      audiences which largely break down into customer

8      lists.        So an advertiser providing information

9      about their existing customers in order to reengage

10     them.        Website custom audiences and app custom              08:54:08

11     audiences.        And then our engagement custom

12     audiences, which is to reengage people who already

13     interacted with your -- your page on Facebook.

14             Q.      (By Ms. Weaver)     So in your

15     understanding, is custom audiences a subset of                    08:54:28

16     detailed targeting?

17             A.      No.   We usually consider it separate.

18             Q.      And why is it separate?

19             A.      I mean, in large part because of the way

20     we've structured the UI and how our conversations                 08:54:47

21     with advertiser have been about the flow of it.

22     It's also somewhat different in terms of the

23     information that backs those -- those targeting

24     options.

25                     So detail targeting, like I said, is --           08:55:00

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1      is -- are things like interests and behaviors.             08:55:02

2      Those are based on activity.         Whereas, something

3      like a custom audience is really much more specific

4      to that advertiser.       It's information about their

5      existing customers.       And so it's -- it's somewhat     08:55:12

6      distinguished both from an advertiser mental model

7      but also in the UI.

8             Q.    Okay.    So I'm hearing that there are --

9      well, in the -- is engagement custom audiences a

10     subset of custom audiences?                                08:55:30

11            A.    Yes.

12            Q.    And is that based on a -- different

13     information that's backing it?

14            A.    Yes.    So just to clarify, the custom

15     audiences, they're -- those kind of three types,           08:55:47

16     each one of those would have different information

17     that backs it.

18            Q.    And for the record, those three types

19     are?

20            A.    Customer lists.     And then website custom   08:56:01

21     audiences.     App custom audiences.       And then the

22     last kind of bucket is the engagement custom

23     audiences.

24            Q.    And what's an engagement custom audience?

25            A.    When an advertiser has a page -- page on      08:56:14

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1      Facebook, people will like interact, follow that               08:56:16

2      page.        The engagement custom audience is a way for

3      an advertiser to say "I want the audience of my ad

4      to be the people who have chosen to follow my

5      page."                                                         08:56:29

6              Q.      Okay.

7              A.      And so on -- on Meta or on Facebook

8      activity to -- to -- for an advertiser to reengage

9      with their existing audience on Facebook.

10             Q.      So recap, is it fair to say that you've        08:56:44

11     identified three kinds of targeted advertising core

12     audiences to detail targeting and three custom

13     audiences?

14             A.      Yes.

15                     MR. BENJAMIN:     Objection to form.           08:57:00

16             Q.      (By Ms. Weaver)     And other than those

17     three, are you aware of any other kind of targeted

18     advertising that has occurred at Facebook from 2007

19     to the present?

20                     MR. BENJAMIN:     Objection to form.           08:57:10

21                     THE DEPONENT:     Other kinds of advertising

22     usually fit in with those three if -- those are how

23     we've characterized and captured our targeting

24     options for many years.

25             Q.      (By Ms. Weaver)     And when you say "for      08:57:26

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1      many years," can you identify -- be a little bit          08:57:27

2      more specific?

3           A.    I think from 2007 onwards.        I mean,

4      that -- those -- that's how we describe the

5      categories of the types of targeting.                     08:57:36

6           Q.    And when you say "other kinds of

7      advertising," are you thinking of other specific

8      examples that you would slide into one of these

9      three buckets?

10          A.    As an example, we used to have partner         08:57:49

11     categories.     That's something that would have fit

12     under the detailed targeting and has since been

13     deprecated.

14          Q.    Anything other than partner categories

15     that you're thinking of?                                  08:58:03

16          A.    That was what I was thinking of

17     specifically.      There have been -- I mean, changes

18     within what we offer over the years, but I think

19     the -- the structure of the three types is pretty

20     consistent.                                               08:58:17

21          Q.    And I should have said this at the

22     outset.   But you're here testifying on behalf of

23     Facebook today, right, you're aware of that?

24          A.    Yes.

25          Q.    Okay.     So when you're saying "you," it's    08:58:26

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1      the Facebook you, unless you are telling me it's             08:58:29

2      your personal knowledge, correct?

3           A.     Correct.

4           Q.     And that applies to your previous

5      testimony and your testimony going forward,                  08:58:35

6      correct?

7           A.     Correct.

8           Q.     Okay.   Thank you.

9                  What do you understand partner categories

10     to mean?                                                     08:58:44

11          A.     Partner categories were targeting options

12     that were built off of agreements with data brokers

13     where we might not have had that information.          And

14     so it was a way to connect in information that

15     advertisers found relevant to their ads and provide          08:58:58

16     that as a way for them to define their audience on

17     Facebook.

18          Q.     And in this instance, when you define

19     advertisers, are you including the data brokers or

20     Facebook as well?                                            08:59:15

21                 MR. BENJAMIN:   Objection to form and

22     scope.

23                 THE DEPONENT:   I -- the advertiser is the

24     person buying the ad.

25                 I'm not sure if that answers your                08:59:28

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1      question.                                                    08:59:29

2             Q.   (By Ms. Weaver)     And sometimes did

3      Facebook buy an ad?

4             A.   We do run our ads on our own platform,

5      yes.                                                         08:59:35

6             Q.   And do you know if Facebook bought ads

7      through partner categories?

8             A.   So it's not --

9                  MR. BENJAMIN:     Objection to form and

10     scope.                                                       08:59:44

11                 THE DEPONENT:     It's not that you're

12     buying an ad through a partner category.           The

13     partner category, as an example, like grocery

14     shoppers, is one of the options in the creation of

15     the ad through our -- our ad creation, so like ad            08:59:57

16     manager.

17                 It would have been something someone can

18     select to define their audience.         When we create an

19     ad, we also use those options.        So I -- I honestly

20     can't definitively say whether we did or didn't              09:00:11

21     ever use a partner category.

22            Q.   (By Ms. Weaver)     And how long were

23     partner categories in existence?

24            A.   They were deprecated in --

25                 MR. BENJAMIN:     Objection -- objection to      09:00:23

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1      form and scope.                                                  09:00:24

2                      THE DEPONENT:     They were deprecated in

3      2018.        And they were brought onto the platform

4      several years earlier.          But I don't know the exact

5      year.                                                            09:00:39

6              Q.      (By Ms. Weaver)     Who made the decision to

7      deprecate partner categories?

8                      MR. BENJAMIN:     Objection to form and

9      scope.

10                     THE DEPONENT:     This was not a singular        09:00:48

11     person's decision to deprecate partner categories.

12             Q.      (By Ms. Weaver)     Okay.    But who -- who at

13     Facebook, in general, whether it's a team or a

14     name, decided to deprecate partner categories?

15             A.      This would have been --                          09:01:01

16                     MR. BENJAMIN:     Objection to form and

17     scope.

18                     THE DEPONENT:     -- a decision across the

19     ads product policy and legal cross-functional team.

20             Q.      (By Ms. Weaver)     And what's your              09:01:10

21     understanding of why that decision was made?

22                     MR. BENJAMIN:     Objection to form and

23     scope.

24                     THE DEPONENT:     My understanding is that

25     we -- we felt that over time people's expectations               09:01:20

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1      had evolved and that partner categories weren't                   09:01:23

2      something that we wanted to offer any longer.

3             Q.   (By Ms. Weaver)     How were partner

4      categories not consistent with people's

5      expectations?                                                     09:01:36

6                  MR. BENJAMIN:     Objection to form.         Calls

7      for speculation.     Vague and scope.

8                  THE DEPONENT:     My understanding is it's a

9      type of data coming in.       And though -- although it

10     was transparent, there was decision to not offer                  09:01:52

11     those any longer.

12            Q.   (By Ms. Weaver)     And you're saying the

13     partner category is an example of detailed targeted

14     advertising, right?

15            A.   It -- it falls into that bucket, yes.                 09:02:08

16            Q.   And -- and you're testifying about

17     targeted advertising today, right?

18            A.   About our ad targeting and ad delivery,

19     yes.

20            Q.   Okay.   And as you sit here today, can you            09:02:19

21     explain why Facebook deprecated the kind of

22     detailed targeted advertising that was called

23     partner categories?

24                 MR. BENJAMIN:     Objection to form.         Scope.

25                 THE DEPONENT:     We consistently look at             09:02:41

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1      the targeting options we provide.        We've deprecated        09:02:43

2      a number of options, to partner categories is an

3      example.   That assessment is often done across the

4      group, including with our product teams.          And this

5      wasn't a product they wanted to continue to                      09:02:54

6      support.

7           Q.    (By Ms. Weaver)     That's very general and

8      it doesn't actually help me understand.          So let me

9      just try -- I'll ask a different question.          Forget

10     all the other examples.                                          09:03:06

11                With regard to partner categories, why

12     did Facebook -- what were the reasons that Facebook

13     decided to deprecate them?

14                MR. BENJAMIN:     Objection to form.         Scope.

15                And to the extent that answering                      09:03:21

16     Ms. Weaver's question would require you to disclose

17     privileged information, please carve that out of

18     your answer.

19                To the extent you can answer the

20     question, please do so.                                          09:03:31

21                THE DEPONENT:     I think I've answered the

22     question to -- to that extent.

23                I mean, we look at our products and we --

24     we determine which ones to continue supporting.

25     Partner categories was one that was then                         09:03:45

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1      deprecated.                                                      09:03:46

2            Q.   (By Ms. Weaver)     What particular

3      characteristics of partner categories did Facebook

4      consider and then decide the reason for deprecating

5      it?                                                              09:03:56

6            A.   They were -- sorry.      Go ahead, Matt.

7                 MR. BENJAMIN:     Objection to form.         Scope.

8      And the same caution regarding privilege.

9                 THE DEPONENT:     These were a place where

10     we had data in.    It was part of the decision, but              09:04:10

11     I -- this was just a product that was no longer

12     going to be supported.

13           Q.   (By Ms. Weaver)     So I'm -- I'm trying to

14     understand the reasons for the decision, and you

15     keep just telling me what the decision was.                      09:04:22

16                So let me try it this way.        When Facebook

17     decides to deprecate a product, what are the

18     considerations?

19                MR. BENJAMIN:     Objection to form.

20           Q.   (By Ms. Weaver)     Let me restate it.                09:04:39

21                When Facebook decides to discontinue an

22     advertising product, what are the reasons, in

23     general?

24           A.   We'll look at their use, whether it's

25     performing well.    Is it helping deliver ads that               09:04:52

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1      are relevant and interesting.           Whether advertisers        09:04:55

2      want it or not.

3                   And then also our understanding -- like

4      from the policy side, we'll also understand whether

5      or not these are areas that -- that other groups                   09:05:05

6      use and industry standard.

7                   I mean, there's a number of

8      considerations, all kind of from everyone's

9      expertise.     And I'm sure that's what was applied in

10     those conversations as well.                                       09:05:23

11          Q.      Does Facebook consider user expectations

12     in reaching such decisions?

13          A.      Yeah, absolutely.        We -- we work to

14     understand what our -- what our user base would

15     want and -- and how they would prefer our product                  09:05:36

16     to be built as well.

17          Q.      Did Facebook consider user expectations

18     when considering whether or not to deprecate

19     partner categories?

20                  MR. BENJAMIN:     Objection to form.         Scope.   09:05:48

21     And the same instruction regarding privilege.

22                  THE DEPONENT:     Yes.     I think because it

23     is always a consideration across all of our

24     decisions.

25          Q.      (By Ms. Weaver)     Who specifically would            09:06:06

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1      know why Facebook deprecated partner categories?               09:06:07

2           A.      Again, it was a group decision.         I mean,

3      across the cross-functional group.          I'm happy to --

4      to work with the team to figure out who might be --

5      who might have been part of that conversation,                 09:06:21

6      specifically.

7           Q.      Yes.   We would like to know by name who

8      was involved in the decision to deprecate partner

9      categories.

10                  And as you sit here today, you can't              09:06:31

11     provide that information; is that right?

12                  MR. BENJAMIN:     Objection to form.

13     Misstates.     And objection to scope.

14                  THE DEPONENT:     I've provided from the

15     targeting side the way that we assess these                    09:06:42

16     decisions.     And I -- I'm not sure if there's much

17     more I could say on that one.

18          Q.      (By Ms. Weaver)     Okay.    Just to be clear,

19     for the record, I'm specifically asking if you can

20     identify by name any one person involved in the                09:06:54

21     decision to deprecate partner categories.

22                  Can you?

23                  MR. BENJAMIN:     Objection to form and

24     scope.

25                  THE DEPONENT:     A singular person or a          09:07:05

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1      team?                                                         09:07:07

2              Q.   (By Ms. Weaver)     Any -- any -- any names

3      that you can think of.

4              A.   I mean, Andrew Howard was involved.

5              Q.   Anyone else?                                     09:07:23

6              A.   Like I said, there wasn't -- there

7      were --

8                   (Simultaneously speaking.)

9                   MR. BENJAMIN:     The same -- the same

10     objections.                                                   09:07:28

11                  THE DEPONENT:     There were multiple teams

12     involved.     I don't know the full list of the entire

13     cross-functional team that was involved, as they

14     are involved when we introduce a new product or

15     deprecate other products.                                     09:07:40

16             Q.   (By Ms. Weaver)     Okay.    But I'm not

17     asking for an exhaustive and complete list.               I

18     literally was asking if you can identify even a

19     handful of people or one name.

20                  Other than Mr. Howard, can you identify          09:07:49

21     anybody else who was involved in the decision to

22     deprecate partner categories?

23             A.   Amy Dunn.

24                  MR. BENJAMIN:     Objection.     Objection --

25     sorry, Bella.     Objection to form.                          09:07:58

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1                  THE DEPONENT:     No, please.                      09:08:00

2                  MR. BENJAMIN:     Asked and answered.        And

3      scope.

4                  THE DEPONENT:     Amy Dunn.     She was a

5      former -- she's now a former employee.          She was one    09:08:08

6      of the product marketers for targeting.           So I would

7      assume was directly involved.

8           Q.     (By Ms. Weaver)     Anyone else?

9           A.     Honestly, from the top of my head, for

10     that exact decision, I -- I wouldn't be able to                09:08:24

11     tell you many more names.

12          Q.     Who is Andrew Howard?

13          A.     He's on our policy team.

14          Q.     And when you say "policy team," what do

15     you mean?                                                      09:08:39

16          A.     The -- across ads.      And then also other

17     products, there are -- there's a policy counterpart

18     for that product.    They participate in product

19     development, product decisions.         They work as part

20     of the cross-functional team involved in developing            09:08:53

21     products.    And Andrew is an example for ads.

22          Q.     And when you're saying "policy," what do

23     you mean?

24          A.     I mean providing -- I mean -- I'm sorry.

25                 I'm not totally sure what you mean by              09:09:11

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1      that question.                                             09:09:14

2           Q.      You said there's a policy counterpart for

3      that product.

4                   What do you mean by policy?

5           A.      So in this case, it's privacy policy.         09:09:19

6      It's the name of the team that Andrew is on and

7      that I'm on.     And we are -- we work with a product

8      team as they develop products.

9           Q.      And how many people are on the privacy

10     policy team currently?                                     09:09:33

11          A.      Currently, I would, I think, ballpark

12     probably 170.     170 people.

13          Q.      When was the privacy policy team first

14     established?

15          A.      A long time ago.     I'm -- I'm not sure of   09:09:53

16     the exact date when our team was established.

17          Q.      Was there a privacy policy team in 2012?

18          A.      Yes, there was.

19          Q.      And who was on it?

20          A.      An example would be Rob Sherman or            09:10:07

21     Erin Egan.

22          Q.      And in 2012, how many people were on the

23     privacy policy team?

24          A.      I can't tell you that with high

25     confidence.     I'm not sure of the size of the team       09:10:23

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1      at that point.                                                09:10:25

2           Q.      Was it 170 people?

3           A.      No.    The team has grown in the last

4      12 years.

5           Q.      Was it more than 20?                             09:10:33

6           A.      I -- I would say yes.       But I also don't

7      know exactly how we have re-org'd over that time

8      period.     So it might have been a slightly different

9      named team with different scope and -- yes.

10                  MR. BENJAMIN:     Ms. Weaver, we've been --      09:10:54

11     we've just been going for well over an hour, if

12     we're coming up to a good time for a break?

13                  MS. WEAVER:     Yeah.   No problem.     Let me

14     just close this out, if you don't mind.

15                  Is that okay?                                    09:11:03

16                  MR. BENJAMIN:     Of course.

17          Q.      (By Ms. Weaver)     Okay.    You said Amy Dunn

18     is a former; is that right?

19          A.      Yes.    Amy Dunn left, I believe, two years

20     ago, a year ago.                                              09:11:11

21          Q.      And where does she work now, if you know?

22          A.      I don't know.

23          Q.      And it's D-U-N-N?

24          A.      Yes, that's correct.

25          Q.      And how is her first name spelled?               09:11:19

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1              A.      A-M-Y.                                              09:11:21

2              Q.      And other than those two individuals, can

3      you identify anybody else who was involved in the

4      decision to deprecate partner categories?

5              A.      Rob Sherman would have been aware and               09:11:34

6      probably involved.          Victoria Chen Norland was Amy's

7      counterpart and partner, also on the marketing

8      side.        They would have been involved.

9                      And then I -- I mean, that's -- that's

10     who I can think of.                                                 09:11:54

11                     MS. WEAVER:     Okay.    Great.     We can take a

12     break.        Go off the record.

13                     THE VIDEOGRAPHER:       Okay.     We're off the

14     record.        It's 9:12 a.m.

15                     (Recess taken.)                                     09:12:29

16                     THE VIDEOGRAPHER:       Okay.     We're back on

17     the record.        It's 9:39 a.m.

18             Q.      (By Ms. Weaver)     Ms. Leone, you

19     understand you're still under oath, correct?

20             A.      Yes.                                                09:39:19

21             Q.      Okay.    When we broke, I had asked you if

22     you could remember anybody else, other than

23     Andrew Howard, Amy Dunn, Rob Sherman and

24     Victoria Chen Norland who were involved in the

25     decision to deprecate partner categories.                           09:39:36

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1                Do you recall that?                             09:39:38

2           A.   You had asked that, yes.

3           Q.   Can you identify anyone other than those

4      four individuals who reached that decisions?

5                MR. BENJAMIN:     Objection to form.            09:39:46

6      Objection to scope.

7                And I'm going to instruct the witness not

8      to answer on the basis of privilege.

9                MS. WEAVER:     She can't identify who was

10     involved in the discussion on the basis of privacy        09:39:59

11     if she personally knows?

12               MR. BENJAMIN:     Well, I think this

13     question has been asked and answered.

14               But Ms. Leone, to the extent you can

15     answer Ms. Weaver's question without revealing            09:40:08

16     privileged information or communications, you may

17     do so.

18               THE DEPONENT:     I know that it was a

19     cross-functional team, which is what I noted.

20     Those are a few people that I knew were involved.         09:40:21

21     And beyond that, it's attorney-client privilege.

22          Q.   (By Ms. Weaver)     Do you have personal

23     knowledge of any other individuals who were

24     involved in the decision?

25               MR. BENJAMIN:     Objection.     Scope.         09:40:35

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1                   And same caution regarding privilege.           09:40:40

2                   THE DEPONENT:     Those are the -- the

3      people I can think of.       And beyond that, it was a

4      very large group and -- as many of our product

5      decisions are.                                               09:40:51

6              Q.   (By Ms. Weaver)     How large was the group?

7              A.   I can't --

8                   MR. BENJAMIN:     Objection -- objection to

9      form.

10                  THE DEPONENT:     I don't know an exact         09:40:59

11     number.

12             Q.   (By Ms. Weaver)     Okay.     Let's return to

13     your testimony about the three categories of

14     targeted advertising.

15                  You listed core audiences, detailed             09:41:09

16     targeting and custom audiences, correct?

17             A.   Yes.

18             Q.   With regard to core audiences, how long

19     has that program been in use?

20                  Is it fair to call it a program?                09:41:24

21             A.   I think that's fair.        I would use the

22     word "product," but yes.

23                  The parts that we categorize into core

24     audiences -- I think I mentioned age, gender,

25     location -- have been part of our targeting option           09:41:41

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1      since we offered -- started to offer targeting                 09:41:44

2      options.

3              Q.   And what other demographics, other than

4      age, gender and location, are used in core

5      audiences?                                                     09:41:54

6              A.   Those are -- those are the core audiences

7      demographics.

8              Q.   And with regard to gender, what do you

9      mean?

10             A.   An advertiser has the option -- has three         09:42:15

11     kind of toggles -- and they choose between reaching

12     all, reach men, reaching women.

13             Q.   And with regard to location, what options

14     are afforded advertisers?

15             A.   When an advertiser goes to create their           09:42:35

16     ad in that location section, it effectively is a

17     map.     They can choose to select where they want

18     their ad to be shown.

19                  That can be by clicking on the map.        That

20     can be by entering a -- a place -- or -- or a city,            09:42:50

21     a state.     They can keyword search to match where

22     they want their ad to be shown.

23             Q.   And how granular is the location

24     selection?

25                  MR. BENJAMIN:   Objection to form.                09:43:07

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1                THE DEPONENT:     An advertiser can input       09:43:12

2      really kind of whatever granularity, to an extent.

3      There is then a radius and that radius cannot be

4      smaller than one mile.

5           Q.   (By Ms. Weaver)     And when was the            09:43:26

6      restriction that the radius cannot be smaller than

7      one mile implemented?

8           A.   I believe that has been in place

9      throughout.    I -- I don't believe that there was a

10     time where we didn't have that.                           09:43:48

11          Q.   So to be clear, from 2007 forward, it was

12     Facebook's policy that for core audiences, the

13     location could not be less than a one-mile radius;

14     is that right?

15          A.   So the -- the advertiser's selection of         09:44:04

16     where to show their ad, like that selection in

17     terms of this city, et cetera, I -- I don't -- I --

18     I believe that there has always been -- so where

19     those options have been provided, I think there has

20     always been the radius, but I would honestly have         09:44:27

21     to check on if the UI has changed in the way they

22     select that.

23          Q.   Was it ever possible for an advertiser to

24     provide map coordinates to target users?

25               MR. BENJAMIN:     Objection -- objection to     09:44:42

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1      form.                                                                 09:44:43

2                      THE DEPONENT:     They don't provide a map

3      coordinate.        They can select -- like I was saying,

4      there's a map.        They can select a point.         But it's

5      not that they are selecting users.             They are               09:44:55

6      selecting where they want their ad to be shown.

7              Q.      (By Ms. Weaver)     And could they do that

8      with the specificity of a map coordinate at any

9      point in time, from 2007 to the present?

10             A.      With the radius that I mentioned.                     09:45:09

11             Q.      And where would you go to confirm that

12     the one-mile radius was honored from 2007 to the

13     present?

14                     MR. BENJAMIN:     Objection to form.

15                     THE DEPONENT:     I -- I would probably               09:45:28

16     discuss with our engineers if they can cross-check

17     that.        I'm not sure that we have code from 20- --

18     2007.

19             Q.      (By Ms. Weaver)     Was there an enforcement

20     mechanism to ensure that the one-mile radius was                      09:45:41

21     enforced?

22                     MR. BENJAMIN:     Objection to form.         Vague.

23                     THE DEPONENT:     There -- the selection

24     from the app to enforce the selection from the

25     advertiser?                                                           09:45:59

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1           Q.      (By Ms. Weaver)     To enforce Facebook's     09:46:01

2      policy that there had to be a one-mile radius.

3           A.      It was how location -- it's how location

4      targeting is rendered.        It's not a subsequent

5      enforcement.                                               09:46:22

6           Q.      And so it was through the code that the

7      one-mile radius is enforced; is that your

8      testimony?

9           A.      Yes.     It's -- it's through how an

10     advertiser selects location.                               09:46:31

11          Q.      And so what information does Facebook

12     rely on to determine who's within the selected

13     location?

14          A.      When a user uses Facebook, we get

15     location signals within that.         So for example, if   09:46:57

16     they have location services turned on, we get that

17     information.        We understand where people are also

18     based on how they check in.        So when someone says

19     "I'm at the airport," we would understand and get

20     that information.        And other ways that people        09:47:14

21     connect through -- connect and use our platform

22     tells us where they are.

23          Q.      What are the other ways that users

24     connect and use the platform that tells Facebook

25     where they are?                                            09:47:28

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1           A.   IP would be an example.                         09:47:29

2           Q.   You're referring to the IP address?

3           A.   Of how they're connecting in, yes.

4           Q.   And for the record, what's an IP address?

5           A.   It's -- from your device how you're --          09:47:40

6      where you're -- you're accessing a website for

7      connecting to the Internet.

8           Q.   So in addition to check in and IP

9      address, how else can Facebook divine where users

10     are to use that information for core audience             09:47:55

11     location selection?

12          A.   I think I -- I want to make sure that

13     we're clarifying the distinction here.

14               An advertiser selects where they want

15     their ad to be shown.   Once they've created that         09:48:06

16     ad, we then determine who matches that audience,

17     those parameters.

18               To do that, we use people's activity and

19     how they've connected to Facebook, including like

20     their location services and the other pieces that I       09:48:23

21     mentioned there.

22               Is that what you were getting at?

23          Q.   Right.

24               And so I'm asking, to make that

25     determination about whether users are within the          09:48:33

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1      selected location, what information does Facebook            09:48:37

2      use?

3             A.   It's what I answered.     It's location

4      services on their device.     How they connect to

5      Facebook.    And other -- another example would be if        09:48:49

6      they check in.     People can also provide on their

7      profile where they live.

8                  Those -- that's an example of information

9      we use to determine their part -- they should meet

10     those audience parameters.                                   09:49:06

11            Q.   And when you say "location services,"

12     what does that refer to?

13            A.   It's a setting on devices that -- of --

14     on your iPhone, for example, that lets Facebook

15     understand where you are.                                    09:49:20

16            Q.   Does Facebook use any other information

17     to determine the location of users so that users

18     are targeted through core audiences by location?

19            A.   Yes.   As I mentioned, check-ins can

20     contribute to knowing where someone is.         Same thing   09:49:39

21     as where they designate their hometown or where

22     they live on their profile.

23            Q.   When a user initiates a post, for

24     example, does the metadata reflect where the user

25     was when the user made that post?                            09:50:00

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1                   MR. BENJAMIN:      Objection to form.              09:50:07

2                   THE DEPONENT:      The activity there --

3      honestly, I -- that's pretty far outside of the

4      ad-specific piece.      If we -- if we collect that

5      related to nonads, someone posting something.                   09:50:29

6                   If they were to -- the example I was

7      trying to give was like a page check-in, or where I

8      specifically post "I'm at the airport," because it

9      translates into a check-in.

10                  I'm not sure if that's what -- what --             09:50:44

11     what you were indicating.

12          Q.      (By Ms. Weaver)      No, it's not.

13                  Let's give it -- let me give a different

14     example.

15                  If somebody posts a picture, does the              09:50:52

16     metadata on the picture indicate where the picture

17     was taken?

18                  And if it does, is that the kind of

19     information that Facebook uses to identify a user's

20     location for use in core audience location                      09:51:04

21     selection?

22                  MR. BENJAMIN:      Objection to form.

23     Compound.     Vague.   Scope.

24                  THE DEPONENT:      If someone makes a post,

25     they have connected to Facebook in some manner.            We   09:51:19

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1      do use information about how someone connects to          09:51:23

2      Facebook to understand where they are, and that is

3      used also for ads.

4           Q.     (By Ms. Weaver)     And when you say "they

5      have connected to Facebook in some manner," what do       09:51:36

6      you mean?

7           A.     I mean you have logged in or -- or you're

8      on a browser and you're using Facebook.

9           Q.     And does Facebook distinguish, for core

10     audience location advertising, whether that photo         09:51:50

11     that was posted was marked public or private?

12          A.     These are very different concepts.

13                 The core audiences is simply how an

14     advertiser selects the parameter for their ad.

15     When we then determine if someone is eligible to          09:52:07

16     see that ad, whether they meet it, it is based on

17     people's activity on Facebook.        And it's not

18     differentiated in public or private because, again,

19     that's not reflective of how someone's activity on

20     Facebook is categorized.                                  09:52:23

21          Q.     With regard to the demographic age used

22     in core audiences, what is the information Facebook

23     uses to determine someone's age?

24          A.     That's based on the -- the age they

25     provide at sign-up.    So we require a user to            09:52:41

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1      provide their age.    And that's also what we use to      09:52:44

2      determine if they should see an ad.

3           Q.   And how does Facebook determine user's

4      gender; the same answer?

5           A.   Yeah.    Yes.                                   09:52:54

6           Q.   And roughly, currently




9                MR. BENJAMIN:     Objection to form and

10     scope.                                                    09:53:16

11               THE DEPONENT:




13          Q.   (By Ms. Weaver)     How -- what's your

14     understanding of

                                                                 09:53:27

16               MR. BENJAMIN:     Objection --

17               THE DEPONENT:     Again --

18               MR. BENJAMIN:     -- to form and scope.

19               THE DEPONENT:




23               And to be clear,




                                                                 09:53:56

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1             Q.   (By Ms. Weaver)




4             A.

                                                                 09:54:17

6             Q.   Yeah.

7                  I'm just trying to establish how you came

8      to know and be competent to testify as you just

9      did.

10            A.




13            Q.   And Facebook selected you as the

14     representative on that topic today, too, right?

15            A.   On ad targeting and ad delivery, yes.         09:54:42

16            Q.   Okay.     Let's turn to detailed targeting.

17                 What is detailed targeting, as you've

18     described it?

19            A.   Detailed targeting is -- is how we,

20     again, segment for advertisers when they're setting       09:55:00

21     up their ads.       It includes interests and behavior

22     options for targeting.

23            Q.   And when was detailed targeting first

24     implemented at Facebook?

25            A.   In the form of what it looks like today,      09:55:23

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1      it would have been, I believe, between like 2010 --        09:55:24

2      about 2010.    That's -- that -- I think it is

3      important to note the evolution of what that looks

4      like in the UI has changed over time.       But the idea

5      of having interests and behaviors, I think, was            09:55:42

6      about then.

7           Q.     And what team and people were responsible

8      for commencing the detailed targeting at Facebook?

9           A.     Our ads product team.

10          Q.     And who was on the ads product team who        09:55:59

11     was part of that decision in 2010, if you know?

12          A.     I don't know an individual from the ads

13     product team specifically who was part of that

14     decision.

15                 Again, these are often large teams that        09:56:13

16     create road maps to -- to build the tools we offer

17     advertisers or any other product at -- at Facebook.

18          Q.     Why did Facebook decide to engage in

19     detailed targeting on or around 2010?

20          A.     One of our core goals is to ensure that        09:56:33

21     the advertising experience is interesting and

22     relevant to people.    Enabling that is -- one way to

23     do that is to help understand what they might be

24     interested in.    And then an advertiser can select

25     who they think the -- the audience that might be           09:56:50

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1      most relevant for their product.                          09:56:53

2                Interest, which is part of detailed

3      targeting, is an example of where that was to

4      further the goal of having more interesting ads

5      than if it was broadly targeted and relative --           09:57:03

6      irrelevant to the person seeing it.

7           Q.   And so how did detailed targeting help

8      accomplish that goal?

9           A.   It enabled someone, an advertiser, to

10     select that they wanted to reach people who have an       09:57:21

11     interest in something based on continued engagement

12     with that topic.

13          Q.   And specifically, what are the topics

14     available in detailed advertising -- let's start

15     with today -- at Facebook?                                09:57:45

16          A.   Within interests, there's -- there's

17     quite a few.   I believe about 60,000 interests are

18     provided today.     Those vary between hobbies, TV

19     shows, public figures.

20               Any number of topics that -- that we've         09:57:59

21     seen consistent engagement on that would be

22     relevant to reach someone because they're

23     interested in it.

24          Q.   And how is this list of 60,000 provided

25     to advertisers?                                           09:58:11

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1           A.   In the ad creation flow, an advertiser          09:58:14

2      can browse through a structured list.        So for

3      example, can click and say "I'm looking for things

4      related to fashion" or "entertainment," or they can

5      use the keyword search and input a search term.           09:58:30

6      And then we'll render the ones that match that

7      search term and they can select individual

8      interests from there.

9           Q.   If a category is not on the list, can an

10     advertiser propose a new interest category and then       09:58:45

11     use the target users?

12               MR. BENJAMIN:     Objection to form.

13               THE DEPONENT:     Do you mean through --

14     through the ad creation?

15          Q.   (By Ms. Weaver)     Or at all.                  09:59:02

16          A.   There isn't a way for an advertiser to

17     select something that doesn't exist and then

18     immediately enable targeting on that.        That's

19     not -- that's not a functionality we offer.

20          Q.   But can an advertiser email their contact       09:59:18

21     at Facebook and say "We'd like to target" based on

22     this criteria?

23               Can you make that happen?

24               MR. BENJAMIN:     Objection.

25               THE DEPONENT:     I'm sure an advertiser --     09:59:28

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1                      MR. BENJAMIN:     Objection -- objection to    09:59:30

2      form.

3                      THE DEPONENT:     An advertiser could email

4      that.        It is not something that we implement.

5              Q.      (By Ms. Weaver)     And why is that?           09:59:38

6              A.      The interests we provide are the areas

7      where we've seen continued engagement.              It's not

8      based off of an advertiser, a somewhat ad hoc

9      advertiser request.

10             Q.      Does -- so you've testified that to date       09:59:52

11     it's roughly 60,000 interest categories; is that

12     right?

13             A.      Yes, that's correct.

14             Q.      And can you describe over time perhaps

15     how that list has accrued?                                     10:00:09

16                     MR. BENJAMIN:     Objection to form.

17                     THE DEPONENT:     The -- the list has --

18     like I was saying, is based on topics that we see

19     people engaging with.           So we've both added and

20     removed interests over time to help ensure that                10:00:26

21     they remain relevant and actually useful for people

22     to see content they want to engage with and for

23     advertisers to reach audiences that they're trying

24     to reach.

25             Q.      (By Ms. Weaver)     So is that based on both   10:00:43

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1      input from advertisers and internal Facebook                      10:00:45

2      analyses?

3              A.      It's not based on input from advertisers

4      in the example we gave about an email.

5                      But if we understand that there is high           10:01:02

6      demand to -- to reach people interested in

7      entertainment and we see that that is something

8      that people engage with, it -- it could be an area

9      we expand into.        That's relatively common.         And --

10     and like market research, to understand like what                 10:01:20

11     is a useful tool.

12             Q.      And when you say "we understand that

13     there is high demand," you mean that advertisers

14     are interested in certain categories and will pay

15     Facebook for that; is that fair?                                  10:01:35

16                     MR. BENJAMIN:     Objection to form.

17                     THE DEPONENT:     It's that we want to build

18     tools that actually enable an advertiser to create

19     an ad and also that is relevant to people.               And so

20     we do that the way many products are developed,                   10:01:51

21     through market research, understanding what people

22     need.        And then also what -- what we would or

23     wouldn't be able to provide.

24             Q.      (By Ms. Weaver)     Are there any other

25     inputs into creating the interest categories that                 10:02:08

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1      you can refer to?                                                 10:02:10

2                  MR. BENJAMIN:     Objection to form.         Vague.

3                  THE DEPONENT:     It's -- again, it's based

4      on our understanding of what is -- would be a

5      useful addition.    We haven't added new interests                10:02:23

6      recently.    It's -- because the interest list is

7      relatively stable at this point.

8                  You could imagine a scenario where if

9      there is a new TV show, it might make sense to add

10     that in based on the engagement we're seeing.              But    10:02:39

11     that would be an example of how the process occurs.

12          Q.     (By Ms. Weaver)     And when you say "useful

13     addition," you mean useful for purposes of

14     advertising; is that right?

15          A.     Both for advertisers to reach a relevant              10:02:55

16     audience and for people to see ads that are

17     interesting and relevant to them.

18          Q.     And how does Facebook determine what

19     users think is interesting and relevant to them?

20          A.     Our interests are based on activity on                10:03:12

21     Facebook.    For example, continuous engagement with

22     a topic.    So if I like many pages about interior

23     design, you might assign -- you might say that I'm

24     interested in interior design, and that would be an

25     interest.    So it's that type of topic-based                     10:03:31

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1      understanding.                                             10:03:35

2           Q.      Does Facebook also record users' viewing

3      of videos?

4           A.      We determine just -- sorry.

5                   MR. BENJAMIN:     Objection to form.          10:03:51

6                   THE DEPONENT:     We -- if a page posts a

7      video and someone interacts with it, including

8      viewing it, we would consider that an interaction

9      with that page and the content of that page.

10                  So going back to the -- somewhat random       10:04:05

11     interior design example, if there is an interior

12     design page and I like it, I follow it, and I watch

13     the videos on that page, that could contribute to

14     my interactions with that page, yes.

15          Q.      (By Ms. Weaver)     Does Facebook track how   10:04:22

16     long users have watched a specific video?

17                  MR. BENJAMIN:     Objection to form and

18     scope.

19                  THE DEPONENT:     We do.    It's not a

20     specific piece of information that -- that I -- I          10:04:39

21     don't think that there is a specific threshold in

22     that scenario that we leverage for like ads

23     interests, if that's what -- yeah.

24          Q.      (By Ms. Weaver)     So to determine what

25     categories are targeted, Facebook also looks at            10:05:04

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1      users' activity to determine whether or not those              10:05:08

2      categories would exist in the first place; is that

3      fair?

4                   MR. BENJAMIN:     Objection to form.

5                   THE DEPONENT:     I'm sorry.     I think I -- I   10:05:18

6      need you to clarify a little bit on the question.

7              Q.   (By Ms. Weaver)     No problem.

8                   We're discussing how these 60,000

9      interest categories were created, right?

10             A.   Yup.                                              10:05:30

11             Q.   And one component was whether or not

12     there's high demand because advertisers are

13     interested in it, right?

14             A.   Based on our market research, yes.

15             Q.   And another component is whether or not           10:05:41

16     users are seeing the ads Facebook thinks they would

17     like to see, correct?

18             A.   Another -- for interest creation,

19     specifically?

20             Q.   Sure.                                             10:05:57

21             A.   We -- in order to generate interests, we

22     determine what are the topics that people engage

23     with to -- and like, what are groups -- like

24     content on pages, con- -- classification, those

25     topics that people have engaged with.                          10:06:15

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1                   If there is a topic that nobody is             10:06:19

2      engaging with, it wouldn't have been something we

3      came up with because it is based on -- on

4      understanding the topics that people engage with to

5      provide an interest.                                        10:06:31

6              Q.   So is it fair to say that Facebook

7      analyzes users' activity to determine what

8      categories of interests are available for

9      advertisers to target them; is that fair?

10             A.   At the --                                      10:06:46

11                  MR. BENJAMIN:     Objection -- objection to

12     form.

13                  THE DEPONENT:     It's fair to say that we

14     look at the content people engage with to determine

15     their interest.     And those can include them in an        10:06:59

16     interest that we also provide to advertisers when

17     they're setting the parameters for their audience.

18             Q.   (By Ms. Weaver)     Okay.    In general, can

19     you identify, roughly, how many of these interest

20     categories for detailed targeting that were                 10:07:22

21     available in 2012?

22             A.   Roughly, several hundred thousand.

23             Q.   In 2012, there were several hundred

24     thousand and today there are 60,000?

25             A.   Correct.                                       10:07:45

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1           Q.     So over time, the number of interest          10:07:46

2      categories has decreased rather dramatically; is

3      that right?

4                  MR. BENJAMIN:     Objection to form.

5                  THE DEPONENT:     It has decreased over --    10:07:56

6      over a number of years and we have both added in

7      and removed interests.

8           Q.     (By Ms. Weaver)     Does Facebook have a

9      record of the categories for interest targeting,

10     for detailed targeting that were available in 2012?       10:08:09

11          A.     So because our system has evolved, I --

12     there isn't a comprehensive or day-by-day view of

13     all the interests.    We know what -- what is

14     provided in the product today and I -- there

15     isn't a -- a full list over many years.                   10:08:34

16          Q.     Is it possible to roughly piece together

17     what those categories are over time?

18                 MR. BENJAMIN:     Objection to form.

19                 THE DEPONENT:     Not with very high

20     accuracy.                                                 10:08:53

21          Q.     (By Ms. Weaver)     Did Facebook tell users

22     in 2010 what interest categories it was making

23     available to advertisers for detailed targeting?

24          A.     Users can access the -- the ads manager.

25     It's a self-serve.    Everybody is able to see            10:09:19

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1      what -- what's there.           And so a user would have          10:09:24

2      been able to also look and see what are interest

3      categories that are available.

4              Q.      So it's your testimony that in 2012, a

5      user could have looked up and seen the several                    10:09:37

6      hundred thousand interest categories that

7      advertisers were using to target them?

8                      MR. BENJAMIN:     Objection to form and

9      misstates.

10                     THE DEPONENT:     Yes.   So -- yes, to the        10:09:50

11     objection.        Apologies.

12                     The -- they would be able to see what are

13     all the options an advertiser can reach.               Because

14     our ad creation flow, such as ads manager, is

15     self-serve and open to the public to look at.                So   10:10:07

16     any user could go in and say here are all the

17     interests an advertiser can select.              It is not an

18     indication that they are all associated with one

19     user.

20             Q.      (By Ms. Weaver)     Meaning a user could not      10:10:23

21     determine which interest he or she had specifically

22     been targeted for, correct?

23             A.      We introduced --

24                     MR. BENJAMIN:     Objection -- objection to

25     form.        Vague.                                               10:10:35

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1                   THE DEPONENT:     Today users can see the      10:10:38

2      interest they are associated with.          And we've had

3      that for a number of years.

4              Q.   (By Ms. Weaver)     And when did that

5      commence?                                                   10:10:47

6              A.   2014, where we launched our ad

7      preferences.

8              Q.   And beginning in 2014, could users see

9      all of the interests that they were actually

10     targeted for?                                               10:11:00

11             A.   They could see the interests that were

12     associated with them, that they were part of, that

13     were being used by advertisers.

14             Q.   And could they see all of those interests

15     or was it just a -- an overview?                            10:11:14

16             A.   Do you mean immediately at launch or over

17     time?

18             Q.   At any point in time.

19                  MR. BENJAMIN:     Objection --

20                  THE DEPONENT:     Yes.                         10:11:28

21                  MR. BENJAMIN:     Objection to form.

22                  THE DEPONENT:     I -- over the years and

23     today, a user can open ad preferences and see all

24     of the interests that are associated with them that

25     are available for targeting.                                10:11:42

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1           Q.   (By Ms. Weaver)     And when did that             10:11:45

2      functionality first become effective, which is to

3      say, that a user could view every single interest

4      for which they have been targeted for detailed

5      advertising?                                                10:11:56

6           A.   In 2014, we launched ad preferences.         It

7      began with the interests that were actively being

8      used, so that had an ad running against them, and

9      then rolled out to include all interests that were

10     targetable.                                                 10:12:13

11               That would have been likely over the

12     course of 2014.   I don't know the exact month.

13          Q.   And does Facebook generate interest

14     categories based on off-platform activity?

15          A.   Interest are based on on-site activity.           10:12:29

16          Q.   Only on platform?

17          A.   Yes.

18          Q.   Does -- do users have the capability to

19     decline being targeted for a specific interest?

20          A.   Yes.                                              10:12:48

21          Q.   And when was that first implemented?

22          A.   In 2014.

23          Q.   And how does Facebook enforce that a user

24     is not targeted based on a specific interest?

25          A.   When a user chooses to remove themself            10:13:08

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1      from an interest, they are no longer included in            10:13:11

2      that interest.      And so any ad that has that

3      interest, as part of their audience parameters, the

4      user would not be included in that audience.

5           Q.     And are you familiar with the concept of        10:13:24

6      opt in versus opt out?

7           A.     Yes.

8           Q.     And what's your understanding of what

9      those words mean?

10          A.     It -- my understanding would be that the        10:13:36

11     choices either you are in it and you are -- you're

12     given the opportunity to opt out.        So you're making

13     a choice to remove yourself from a state where

14     you're in it.      And then opt in would be the

15     opposite, you're not in it and you're given the             10:13:50

16     choice to enter.

17          Q.     And why did Facebook decide that users

18     should opt out rather than opt in to interests for

19     detailed targeting?

20          A.     We understand that people want to see           10:14:03

21     relevant ads.      It is part of the experience on

22     Facebook.    Otherwise they would see irrelevant ads.

23     Interest is one way to do that.        And so we provided

24     people with interests and gave them the opportunity

25     to see those interests and then remove themselves.          10:14:18

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1           Q.   Are you aware of internal studies at            10:14:22

2      Facebook that concluded, in fact, users would

3      prefer to opt in as opposed to opt out?

4                MR. BENJAMIN:     Objection to form and

5      scope.                                                    10:14:35

6                THE DEPONENT:     For ads, I'm not aware of

7      a study that specifically looks at an opt in versus

8      out opt preference for interests.

9           Q.   (By Ms. Weaver)     Are you aware of any

10     studies in general that discuss opt in versus opt         10:14:47

11     out preferences for users?

12               MR. BENJAMIN:     Objection to scope.

13               THE DEPONENT:     Across all of Facebook?

14          Q.   (By Ms. Weaver)     Well, you answered --

15     your answer was very specific and I'm trying to           10:14:59

16     understand why.

17               You said "For ads, I'm not aware of a

18     study that's specifically looks at opt in or opt

19     out" for ads interest.

20               So I'm just trying to ask, are you aware        10:15:10

21     of a study discussing opt in or opt out in general?

22               MR. BENJAMIN:     Objection --

23               THE DEPONENT:     No.

24               MR. BENJAMIN:     Objection to scope.

25               MS. WEAVER:     Let's go off the record real    10:15:32

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1      quick.    I'll fix it.                                             10:15:34

2                   (Court Reporter initiates discussion off

3      the record.)

4                   THE VIDEOGRAPHER:     Okay.    We're off the

5      record.    It's 10:15 a.m.                                         10:15:36

6                   (Recess taken.)

7                   THE VIDEOGRAPHER:     Okay.    We're back on

8      the record.     It's 10:16 a.m.

9           Q.      (By Ms. Weaver)     Are you aware of

10     internal discussions at Facebook in regard to                      10:17:00

11     whether or not users would want to opt in or opt

12     out to certain kinds of detailed targeted

13     advertising?

14                  MR. BENJAMIN:     Objection to scope.

15                  THE DEPONENT:     I am not aware of                   10:17:12

16     discussions on those preferences.

17          Q.      (By Ms. Weaver)     Do you know how the

18     decision was made that Facebook would require users

19     to opt out, rather than opt in, to interest

20     categories of detailed targeted advertising?                       10:17:26

21                  MR. BENJAMIN:     Objection to form.         Vague

22     and scope.

23                  THE DEPONENT:     The product was built

24     because we knew these -- or because these were

25     areas that people had already engaged with.               And we   10:17:44

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1      knew that they were interested within them.            And so   10:17:46

2      the control reflects that by giving them the

3      ability to remove themself from it.        It was by

4      design.

5           Q.   (By Ms. Weaver)     So in the beginning, do           10:17:56

6      you know how many users reviewed the hundreds of

7      thousands of interest categories and deselected

8      themselves?

9                MR. BENJAMIN:     Objection to form.

10               THE DEPONENT:     Just to be clear, each              10:18:13

11     user was not associated with all the interest

12     categories.     They wouldn't -- there -- it wouldn't

13     have been that they had hundreds of thousands of

14     their interests.

15               Once we rolled out ad preferences, I -- I             10:18:26

16     don't know the exact number of users who -- who

17     chose to remove themself from an interest when that

18     was rolled out.

19          Q.   (By Ms. Weaver)     Can you identify anyone

20     you're aware of who has ever chosen to engage in                10:18:40

21     that process?

22               MR. BENJAMIN:     Objection to form and

23     scope.

24               THE DEPONENT:     Do you mean specifically

25     to remove themself from an interest?                            10:18:56

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1              Q.   (By Ms. Weaver)     Yeah.    Yes.            10:18:58

2              A.

3              Q.




5                   MR. BENJAMIN:     Objection to form and      10:19:08

6      scope.

7                   THE DEPONENT:




13             Q.   (By Ms. Weaver)     Does Facebook maintain

14     statistics on how many users have gone to the "why

15     am I seeing this page"?                                   10:19:31

16             A.   Yes.

17             Q.   And where are those statistics?

18                  MR. BENJAMIN:     Objection to form.

19                  THE DEPONENT:     We would log those

                                                                 10:19:48

21             Q.   (By Ms. Weaver)     And when you say "We

22     would                        " what do you mean?

23             A.   I mean when someone uses one of the

24     drop-down menus such as a hide ad, or why am I

25     seeing this, we know -- or we log that that action        10:20:04

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1      has been taken.                                                    10:20:08

2           Q.     And for what time period has that

3      activity been

4                  MR. BENJAMIN:      Objection to form.         Vague.

5                  THE DEPONENT:      Over -- we -- we log --             10:20:25

6      have logged that activity -- that's -- I -- since

7      WAIST launched.

8                  Did -- is that -- does that answer your

9      question?

10                 Is that what you were asking?                          10:20:37

11          Q.     (By Ms. Weaver)      When you say "since we

12     launched," you mean 2007 or 2014?

13          A.     WAIST launched in 2014.        Why Am I Seeing

14     This was launched in 2014.

15          Q.     Oh.                                                    10:20:53

16          A.     And so once it became a product, we began

17     to log when -- when someone would access it.

18          Q.     So for the record, you're using an

19     acronym, WAIST, which stands for Why Am I Seeing

20     This; is that right?                                               10:21:06

21          A.     Yes.    Correct.

22                 Apologies.    I thought I defined it

23     earlier.    That's my mistake.

24          Q.     Perhaps I missed it.

25                 Okay.    Are there other activities that               10:21:16

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1      users engage in that affect whether or not they are             10:21:25

2      targeted by certain interests that are




4                   MR. BENJAMIN:     Objection to form.

5                   THE DEPONENT:     Interests are based on           10:21:41

6      people's activity.      So for example, if they

7      consistently engage with a page or ad, or any form

8      of like aggregated continuous engagement with a

9      topic is what adds someone to an interest.            If they

10     weren't doing that, then they wouldn't be added to              10:21:57

11     it.

12                  So the people's page -- page likes are

13     logged              And that's an example of activity

14     that would also contribute to an interest.

15             Q.   (By Ms. Weaver)     In addition to page            10:22:17

16     likes, what other kinds of activities are

               about users that you're aware of?

18             A.   For interests?

19             Q.   In general.     For interest.     And, yes, in

20     general.                                                        10:22:30

21             A.   Again, people's activity on the platform

22     is                  .   So if I had a friend or if I

23     add something to my profile, that's something we

24     store

25             Q.   Do you count Facebook Messenger activity           10:22:48

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1      as activity on the platform in your answers?              10:22:52

2           A.    Yes.

3           Q.    Are -- where are users' Facebook

4      Messenger messages logged?

5                 MR. BENJAMIN:     Objection to form and        10:23:04

6      scope.

7                 THE DEPONENT:     This is pretty far outside

8      of ad specific.

9                 The fact that someone uses Messenger is

10                       I think that that's what you're         10:23:17

11     getting at.   And if they initiate threads, it would

12     be logged there, too.

13          Q.    (By Ms. Weaver)     And when you say "they

14     initiate threads," what do you mean?

15          A.    If I create --                                 10:23:30

16                MR. BENJAMIN:     Objection to scope.

17                THE DEPONENT:     Creating a thread with

18     Matt, for example, would be something that we log.

19          Q.    (By Ms. Weaver)     And so what does the log

20     reflect?                                                  10:23:40

21                Does it reflect the whole thread or just

22     the fact that a thread was initiated at a certain

23     time with certain users?

24                MR. BENJAMIN:     Objection to form and

25     scope.                                                    10:23:52

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1                      THE DEPONENT:     This is something I don't   10:23:54

2      know.        This is pretty far outside ads.

3              Q.      (By Ms. Weaver)     So this activity for

4      Facebook Messenger is used to create interests

5      in -- used in any form of advertising, not just               10:24:05

6      limited to detailed interests but in general?

7                      MR. BENJAMIN:     Objection to form.

8                      THE DEPONENT:     To separate out the

9      portions of that question, interests are based on

10     activity on the platform.           But page and ad           10:24:21

11     activity, Messenger is not part of that for

12     interests.

13                     Generally, across ad delivery, we use

14     information about how people use Facebook to inform

15     what ad to show them.           So if we know that someone    10:24:37

16     has consistently messaged pages, we might be more

17     likely to show them an ad that is -- has a message

18     objective.

19                     So I think that answer -- is that what

20     you're getting at?                                            10:24:55

21             Q.      (By Ms. Weaver)     Yes, that's exactly it.

22                     Does Facebook also look at the content of

23     Messenger messages to determine what interests

24     users might have to target them?

25             A.      No.                                           10:25:07

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1              Q.   And has Facebook ever done that?                 10:25:08

2              A.   No.

3              Q.   But if they message about a page, or a

4      group, would that information be used to target

5      them?                                                         10:25:21

6              A.   Would you mind clarifying what you mean

7      by "message about."

8              Q.   Well, you testified -- so if we know that

9      somebody has consistently messaged -- messaged

10     pages, what did you mean?                                     10:25:35

11             A.   I meant specifically reached out to a

12     page via Messenger.

13             Q.   Okay.   And would that also -- is that

14     also true for groups?

15             A.   You can't message a group --                     10:25:46

16             Q.   Okay.

17             A.   -- or the -- let me make sure that

18     we're -- we're kind of talking this -- about the

19     same thing.

20                  So the group product, which is this is a         10:25:55

21     group on Facebook and I join it, that isn't

22     connected in -- in the -- I think in the way that

23     you're thinking about it with Messenger.          You don't

24     message into a group in the same way.         And we don't

25     use message content from like between friends to              10:26:15

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1      inform an ad.                                               10:26:17

2           Q.      What if you're -- so if you referenced a

3      page in the Messenger communication, Facebook will

4      use that information, correct?

5           A.      Between -- no.     It is specifically if I,    10:26:30

6      Bella, choose to message Nike's page, we would know

7      that I interacted with that page.          And that is

8      something that can inform my ads because it's an

9      interaction with a page.

10          Q.      Understood.                                    10:26:46

11                  Does Facebook use information in Facebook

12     messages to calculate users' desire to be targeted

13     with a certain kind of ad?

14                  MR. BENJAMIN:     Objection to form.

15                  THE DEPONENT:     The content of a message     10:27:21

16     between friends on -- through Messenger is not used

17     to inform ads.     It would not be used to predict

18     someone's interest or whether or not they want to

19     see an ad.

20          Q.      (By Ms. Weaver)     Do you know if it's used   10:27:35

21     for research?

22                  MR. BENJAMIN:     Objection to form and

23     scope.

24                  THE DEPONENT:     I do not.

25          Q.      (By Ms. Weaver)     And why isn't the          10:27:49

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1      content of a message not used to inform ads?              10:27:50

2           A.   We haven't historically used it.         It's

3      not an area we've -- we've explored.        So it's not

4      part of why we -- the signals we use for ads.

5           Q.   Does Facebook consider whether or not           10:28:10

6      Facebook Messenger messages might be considered

7      private by users in making a decision not to use it

8      to target users and ads?

9                MR. BENJAMIN:     Objection to form and

10     scope.                                                    10:28:23

11               THE DEPONENT:     That's not the framing

12     we've used.   We haven't used Messenger content.

13     It's not something that we've explored for -- to --

14     to incorporate into ads.

15               Like I said, we use interactions with           10:28:38

16     pages and ad content to inform ads interests and

17     then activity generally on the platform.

18          Q.   (By Ms. Weaver)     And I'm trying to

19     understand why Facebook does not use Messenger

20     messages to frame interest-based targeting of             10:28:53

21     users.

22               MR. BENJAMIN:     Objection to form and

23     scope.

24               MS. WEAVER:     I'll reask the question.

25          Q.   (By Ms. Weaver)     So can you explain why      10:29:08

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1      Facebook does not use Facebook Messenger                        10:29:09

2      information to target users with ads?

3                 MR. BENJAMIN:     Objection to form.         Asked

4      and answered.   And outside the scope.

5                 THE DEPONENT:     It -- it hasn't been an            10:29:20

6      area that we've built out.      It hasn't been proven

7      to be something that we want to do or is valuable.

8                 We have so far built our interests off of

9      engagements -- engagement and interactions with

10     pages and ads, and the information people provide               10:29:36

11     us.

12           Q.   (By Ms. Weaver)     When you say "It hasn't

13     been proven to be something that we want to do or

14     is valuable," how did Facebook prove that?

15           A.   Like I said, we haven't.                             10:29:49

16           Q.   Is -- has Facebook engaged in any

17     analysis as to whether or not using information

18     shared by users in Facebook Messenger would be

19     valuable in identifying their interests?

20           A.   No, not that I'm aware of.                           10:30:07

21           Q.   Do you think a consideration that

22     Facebook might engage in is whether or not using

23     information from Facebook Messenger messages would

24     invade users' privacy expectations?

25                MR. BENJAMIN:     Objection to --                    10:30:33

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1                 THE DEPONENT:      You said --                        10:30:33

2                 MR. BENJAMIN:      Objection to form.         Calls

3      for speculation.     Vague.    Outside the scope.

4                 THE DEPONENT:      Across the board, we think

5      about whether people have specific expectations,                 10:30:47

6      whether or not this is something that they would

7      understand or not.     That -- that's a consideration

8      always.

9           Q.    (By Ms. Weaver)      And I'm asking

10     specifically about Facebook Messenger and whether                10:30:59

11     you believe that Facebook considered whether or not

12     allowing information communicated in Facebook

13     Messenger messages to be used for advertising or

14     other purposes would invade users' expectations of

15     privacy?                                                         10:31:18

16                MR. BENJAMIN:      Objection to form.

17                THE DEPONENT:      We haven't speculated

18     about any specific users and whether or not they

19     would find that to be an invasion of privacy.

20                We use activity on the platform, like                 10:31:31

21     pages and ads, to inform interests, and the ads

22     people see.   And -- and that -- and that's what

23     we're transparent about to users.

24          Q.    (By Ms. Weaver)      I'm still not just

25     getting an answer to the specific question.                      10:31:50

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1                Can you state one way or another whether          10:31:52

2      or not Facebook considered users' expectations of

3      privacy in Facebook Messenger messages in

4      determining whether or not to use information

5      contained in them to target users with ads?                 10:32:03

6           A.   What I'm struggling with is this assumes

7      that there was a specific decision.        And my point

8      is that it has -- this is -- the content of ads --

9      of -- of messages is not used in ads.        We use other

10     activity on the platform.                                   10:32:21

11          Q.   And how does Facebook decide what

12     activity on the platform it is using for ads?

13          A.   There are a number -- I mean, we're --

14     we're trying to build a system that delivers ads

15     that people are interested in.                              10:32:43

16               One of the things we've seen that -- that

17     is useful and that we use are people's engagement

18     with pages and ads, and their activity that shows

19     what they might want to see more content of.

20               And so when we introduce interests, as an         10:32:58

21     example, that explored aggregating that engagement

22     to be a topic-based and -- and similarly, like as

23     product -- as -- as teams think about the future of

24     what ads look like, they would look at market and

25     industry practices and what people want to see and          10:33:18

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1      how we could help enable that.        I don't think that     10:33:21

2      there's a set framework.

3                MS. WEAVER:     Okay.     I'm going to move

4      into another topic.     We could take a break now or

5      we can continue.                                             10:33:41

6                It's up to you, Ms. Leone.         I don't know

7      how you're feeling.

8                THE DEPONENT:     I'm happy to keep going.

9                MS. WEAVER:     Okay.

10               THE DEPONENT:     And I might ask for a            10:33:50

11     break in like 20 minutes, but -- so I don't know

12     what everyone's time zones are --

13               MS. WEAVER:     Let's break now.

14               THE DEPONENT:     Okay.

15               MS. WEAVER:     Let's break now and then           10:33:55

16     we'll come back.

17               THE DEPONENT:     Cool.

18               MS. WEAVER:     Great.     Thank you.

19               THE VIDEOGRAPHER:        Okay.   Off the record.

20     It's 10:34 a.m.                                              10:34:02

21               (Recess taken.)

22               THE VIDEOGRAPHER:        Okay.   We're back on

23     the record.   It's 10:49 a.m.

24          Q.   (By Ms. Weaver)     Ms. Leone, you're still

25     under oath, correct?                                         10:49:45

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1           A.      Correct.                                        10:49:46

2           Q.      A quick question about WAIST, or the Why

3      Am I Seeing This tool.

4                   Is it your testimony that it lists

5      interests for which you have been targeted and then          10:50:00

6      you can opt out?

7           A.      WAIST shows you the criteria that you

8      matched from the audience selections that the

9      advertiser made.        So it will show you for that

10     specific ad what you matched.         And if one of those    10:50:14

11     are interests, it would show there.           And then you

12     would be able to also remove yourself from that

13     interest.

14          Q.      So you can only remove yourself if you've

15     already been matched, correct?                               10:50:26

16                  MR. BENJAMIN:     Objection to form.

17     Misstates.

18                  THE DEPONENT:     For Why Am I Seeing This,

19     the goal of that tool is to provide people an

20     understanding of how the advertiser reached them.            10:50:38

21     And so there it is based on -- in that interface,

22     it's based on that interest that was matched.

23                  In ad preferences, we provide people with

24     the interest they are targetable through.            And

25     those are -- it's not based on any one specific              10:50:54

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1      advertiser using it.                                      10:50:57

2           Q.   (By Ms. Weaver)     So a user would have to

3      go to those two different locations.        One to

4      disable when they have already been matched, and

5      then go to a different location to say general            10:51:08

6      categories, I maybe don't want to be targeted for;

7      is that right?

8                MR. BENJAMIN:     Objection to form.

9                THE DEPONENT:     The -- the tools are

10     for -- provide different purposes because a user          10:51:21

11     might want transparency and control for different

12     reasons at different times.

13               When someone sees an ad, they might look

14     at the ad and say, literally, why am I seeing this,

15     hence, the name of the -- the -- the menu that            10:51:34

16     explains that to them, and then the relevant

17     control for that transparency.

18               Ad preferences is a central hub where

19     someone can manage their ad settings.        And that

20     includes the interest they can be reached through         10:51:47

21     and then the ability to remove themselves from it.

22               So they're serving different purposes,

23     which is why they look different and their entry

24     points to both of them from the ad, from WAIST or

25     from our settings and other menus.                        10:52:02

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1           Q.     (By Ms. Weaver)     Right.    So I wasn't          10:52:05

2      asking about the purpose.

3                  My question is, if a person wanted to

4      prevent receiving any kinds of ads, they would

5      have -- at a minimum, to go to these two different             10:52:14

6      locations and review at WAIST what had already

7      occurred to stop it from happening again.           And then

8      in ad preferences make selections to prevent other

9      kinds of advertising; is that fair?

10                 MR. BENJAMIN:     Objection --                     10:52:32

11                 THE DEPONENT:     No.

12                 MR. BENJAMIN:     -- to form.     Misstates.

13                 THE DEPONENT:     No, that -- that's not

14     quite what I said.

15          Q.     (By Ms. Weaver)     I -- I know it's not           10:52:38

16     what you said.     But I'm asking a different question

17     than your last answer.

18                 Is it true that to prevent the kind of

19     targeting we've been discussing, at a minimum, a

20     user would have to go to both of these sites?                  10:52:48

21          A.     No.   They could -- they -- first and

22     foremost, there's no way to turn off ads on

23     Facebook.    That's not a setting anywhere.         We

24     don't -- we -- we show ads in order to provide a

25     free service.                                                  10:53:06

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1                   Users can manage their ad experience         10:53:08

2      through ad preferences, and that can be a starting

3      point for managing their ad experience.

4                   The reason the purpose for each interface

5      is important is because WAIST is solving -- Why Am        10:53:20

6      I Seeing This -- is solving a very specific user

7      need, which is, when they see an ad, they want to

8      understand how they were reached.

9                   They don't have to wait to see an ad and

10     click on Why Am I Seeing This in order to access          10:53:34

11     their ad preferences, which are available to them

12     and where they can manage their -- the settings for

13     their ads as a central hub.

14          Q.      Does the --

15          A.      So they do not need to access both.          10:53:46

16          Q.      Does the ad settings list all of the

17     60,000 interest categories used for detailed

18     targeting?

19          A.      No --

20                  MR. BENJAMIN:     Objection to form.         10:53:56

21                  THE DEPONENT:     -- because --

22                  MR. BENJAMIN:     Objection to form.

23                  THE DEPONENT:     No, because they are not

24     all associated with any individual user.

25          Q.      (By Ms. Weaver)     Yes, but in order to     10:54:06

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1      proactively say I do not want to receive this ad,           10:54:07

2      wouldn't a user have to be able to opt out of it?

3                   MR. BENJAMIN:     Objection to form.

4                   THE DEPONENT:     An interest -- for -- just

5      to -- to underline, the removal from an interest is         10:54:22

6      not about seeing an ad or not.         It's about the way

7      that an advertiser could reach you through that

8      interest.

9                   I think we discussed before that is

10     something that you're in the interest and you can           10:54:35

11     remove yourself.     It's not a -- an opt in -- or a

12     future -- looking for future things that you engage

13     with.

14                  Once you've engaged with content and you

15     become associated with an interest, someone can go          10:54:49

16     and remove themselves from it.

17             Q.   (By Ms. Weaver)     Is there anywhere on the

18     platform that -- well, strike that.

19                  Let's move on.

20                  You identified two subcategories of            10:55:08

21     detailed targeted advertising.

22                  One was interests and the second was

23     behavioral, correct?

24             A.   Behaviors, yes.

25             Q.   Behaviors.                                     10:55:18

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1                  What do you mean by behaviors?                    10:55:19

2           A.     Behaviors are -- are targeting options

3      based on activity on Facebook that indicate -- that

4      are -- are closer to things like people's intent to

5      purchase.    Their -- the way they interact with              10:55:33

6      commercial entities.    So are they often -- are they

7      game -- gamers.

8                  And so behavior clusters are -- are just

9      slightly different from interests which are more

10     topic-based.                                                  10:55:46

11          Q.     And how does Facebook infer intent?

12          A.     Similar to -- to interest.        It's based on

13     activity.

14                 So as an example, if I consistently click

15     on an ad, I am more likely to click on future ads.            10:56:00

16     We would consider my behavior to be different from

17     someone who never engages with one.

18          Q.     Can you explain the difference between a

19     behavior and an interest, in terms of --

20                 MR. BENJAMIN:     Objection --                    10:56:23

21          Q.     (By Ms. Weaver)     -- how Facebook makes

22     the determination for a user?

23                 MR. BENJAMIN:     Objection to form.

24                 THE DEPONENT:     I think what you're asking

25     is how do we wire these two separate things; is               10:56:35

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1      that --                                                     10:56:40

2           Q.     (By Ms. Weaver)     I'm just asking what the

3      difference is between them.

4           A.     So the difference is that interests are

5      topic-based; whereas, behaviors are more                    10:56:46

6      activity-based and we're categorizing the activity

7      more so than the topic of the engagement.

8           Q.     Aren't the topics derived from activity?

9           A.     Yes, they -- they are derived from

10     activity, but our -- how we have categorized it.            10:57:01

11                 So as an example here, an interest could

12     be that I engaged with many pages about interior

13     design.    We'll use that example again, which I'm --

14     is a silly one.    And so I -- I'm interested in

15     interior design because I consistently engaged with         10:57:21

16     pages about it.

17                 A behavior could be that I have -- I

18     often will buy something online.         So I click and I

19     buy something.    And so I have an intent to buy

20     things, regardless of what the topic was of what I          10:57:38

21     was buying.

22                 It's how we've tried to distinguish

23     those.    They represent different dimensions of

24     people's activity and also different dimensions of

25     what -- how an advertiser might want to define              10:57:50

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1      their audience topic-based and behavior-based.                   10:57:53

2           Q.      And are there categories of behaviors

3      that Facebook uses to define users to make

4      available for advertising?

5                   MR. BENJAMIN:     Objection to form.                10:58:07

6      Misstates.

7                   THE DEPONENT:     There's the -- the

8      targeting options are our categories of behaviors.

9           Q.      (By Ms. Weaver)     And what are those

10     targeting options?                                               10:58:20

11          A.      There's a number.     So I think I used a

12     gamers example.     They're all available in ads

13     manager as behaviors.

14          Q.      And currently, how many behaviors are

15     there?                                                           10:58:34

16          A.      There's several hundred.

17          Q.      And when were behavior targeting options

18     first implemented at Facebook?

19          A.      I think a clarification here, which is

20     that the categorization, like those have been how                10:58:52

21     we've bucketed these over time.          Any individual

22     option may have been added later or earlier.              So I

23     think these came to be kind of this type of

24     targeting about 2010, perhaps a little bit earlier.

25          Q.      And who specifically was involved in the            10:59:14

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1      development of behavior targeting?                            10:59:17

2           A.      Our ad product teams and their

3      cross-functional team.

4           Q.      Can you identify anyone by name who was

5      involved in the development of behavior targeting?            10:59:29

6                   MR. BENJAMIN:     Objection to form and

7      scope.

8                   THE DEPONENT:     Not any one individual.

9                   This is something -- again, it's like

10     been -- been iterated on and evolved over many                10:59:41

11     years by a very large product team.

12          Q.      (By Ms. Weaver)     And who's responsible

13     for it today?

14          A.      Our ads product team.

15          Q.      And who by name in ads products is               10:59:52

16     responsible for the development of behavior

17     targeting?

18          A.      The head of our ad targeting team is

19     George Kamps.

20          Q.      And how long has he held that position?          11:00:07

21          A.      Several years.     I -- I don't know the

22     exact date.

23          Q.      And do you know who held the position

24     before him?

25          A.      He's been involved for a while.         I -- I   11:00:20

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1      don't know the predecessor before.          I'm not sure if   11:00:24

2      there was a specific one team or if it was ads

3      product, which is an org that does this.

4              Q.   How does Facebook create the targeting

5      opt in options in behavior targeting?                         11:00:41

6                   MR. BENJAMIN:     Objection to form.

7      Misstates.

8                   THE DEPONENT:     We create those based on

9      people's activity.

10             Q.   (By Ms. Weaver)     Can you explain what you     11:00:59

11     mean?

12             A.   I mean that when someone -- specific

13     activity on the platform will associate someone

14     with one of those defined behavior clusters.

15             Q.   You previously testified that for                11:01:13

16     interest-based advertising a component was demand

17     for the -- the interest.

18                  Do you recall that?

19             A.   Are you being specific to advertiser

20     demand or the --                                              11:01:25

21             Q.   Yes.

22             A.   -- fact that we've seen users engage with

23     that content --

24             Q.   Right.

25             A.   -- because --                                    11:01:29

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1           Q.   I'm trying to distinguish both.                 11:01:30

2                So the question is, for behavior

3      targeting options, did Facebook also consider

4      whether demand by advertisers was high?

5                MR. BENJAMIN:     Objection to form.            11:01:43

6                THE DEPONENT:     Across the board, we would

7      look at things like the market demand and industry

8      standards to indicate what are areas that would be

9      useful tools.

10          Q.   (By Ms. Weaver)     How does Facebook assess    11:01:57

11     market demand and industry standards?

12          A.   We can look at other ad products and

13     understand how those function and what they offer.

14     We had -- we can discuss with -- we can have

15     discussions with people who use our tools and             11:02:14

16     understand where there's a gap.

17          Q.   And when you say "discussions with people

18     who use our tools," you mean advertisers?

19          A.   Advertisers.    Ad agencies.

20          Q.   And just for the record, what is --             11:02:27

21     strike that.

22               You've defined what an advertiser is, as

23     somebody who places an ad essentially on Facebook;

24     is that fair?

25          A.   Uh-huh.                                         11:02:40

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1           Q.   So an advertiser could also be an app or        11:02:41

2      an app developer, or even Facebook, under that

3      definition, as long as it's somebody who placed an

4      ad on Facebook, right?

5                MR. BENJAMIN:     Objection to form.            11:02:54

6                THE DEPONENT:     So if -- if a developer

7      has an app and they want to advertise, and they

8      create and buy an ad, I would consider them an

9      advertiser.

10          Q.   (By Ms. Weaver)     Have you used or heard      11:03:11

11     use of the word "partner" at Facebook?

12               THE DEPONENT:     Like a capital P partner

13     in a sense of --

14          Q.   (By Ms. Weaver)     Yes.

15          A.   -- like a designated title --                   11:03:23

16          Q.   Yeah.

17          A.   -- or what do you mean?

18          Q.   Like facebook partners.       If somebody

19     said, "Oh, this is one of Facebook's partners,"

20     would you know what that means?                           11:03:29

21          A.   Yeah.    Colloquially that often means --

22     like when we're using it, it often means that

23     someone is an advertiser.

24          Q.   Okay.    When targeting options for

25     behavioral advertising was launched, on or around         11:03:52

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1      2010, how many categories were there?                          11:03:55

2              A.    I don't know the initial size.

3              Q.    Do you know -- again, can you describe

4      the growth over time or decrease over time?

5              A.    It -- it would have been several hundred         11:04:06

6      thousand -- oh, sorry.

7                    Specific to behaviors?

8              Q.    Yeah.

9              A.    That would have been several hundred,

10     maybe -- maybe a couple thousand.           It was a smaller   11:04:16

11     number.      And that's -- that's -- it -- it is

12     similar now as several hundred.

13                   But, again, both with like -- as we've

14     iterated our product, we have both added in and

15     removed.                                                       11:04:31

16             Q.    And how would one create a summary or

17     overview of the kinds of behavioral targeting

18     options that have been available at Facebook over

19     time?

20                   MR. BENJAMIN:     Objection to form.             11:04:47

21                   THE DEPONENT:     There would be -- do you

22     mean at like -- a category-by-category type of --

23                   (Simultaneously speaking.)

24             Q.    (By Ms. Weaver)     Just -- yeah, an

25     identification of, you know, roughly from years                11:05:03

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1      2010 to 2014, here's a list of behavioral targeting            11:05:05

2      options that existed at some point.

3              A.   Yeah.    As I was saying, because the

4      system has evolved over time, I don't think that

5      there is a high accurate -- or high accuracy way               11:05:18

6      to -- to reconstruct that.

7                   It would have to be an effort to

8      understand maybe like this launched at this point

9      so we generally understand that these were the

10     types of segments that were available or were                  11:05:32

11     deprecated.     So as an example when partner

12     categories were deprecated, we know they weren't

13     available in 2019 because they were deprecated in

14     2018.

15             Q.   What did you mean by the word "segment"           11:05:45

16     when you said it?

17             A.   That -- so apologies.

18                  Interchangeable with a specific cluster

19     or option within behaviors.

20             Q.   What's a cluster or an option?                    11:05:55

21             A.   And I can choose a specific word here

22     whatever -- and I'll stick with that one.           But it's

23     for -- when you -- an advertiser goes in and

24     selects within the menu of options the one they

25     have selected.       So I'll -- I'll use option moving         11:06:13

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1      forward.   And it's the same thing as a specific                 11:06:16

2      interest is one option.      A specific behavior

3      segment is one option.

4           Q.    And what are the specific kinds of

5      behaviors that are the data points used to create                11:06:31

6      targeting options?

7           A.    So we take -- to clarify, we take

8      activity on Facebook.      The information people

9      provide us.   And that can associate -- and that is

10     how they become associated with a behavior option                11:06:50

11     that then is also a targeting parameter for

12     advertisers to select.

13          Q.    And what specific activity on Facebook?

14          A.    Like I was saying, it could be page or

15     ads interactions.    Information they provide us on              11:07:05

16     their profile.   The way they engage with specific

17     types of content.    So if they consistently click,

18     as an example, or if they're -- they don't click.

19     If they're -- those are some examples of activity.

20     But it's how people interact on the platform.                    11:07:22

21          Q.    Does it include how they interact with

22     their friends?

23                MR. BENJAMIN:     Objection to form.         Vague.

24                THE DEPONENT:     I'll give an example

25     because I think that might help ground.          And you         11:07:42

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1      can let me know if that's close to what you're --            11:07:44

2      what you mean.

3                 We -- an example of something people

4      provide us in their profile is their hometown and

5      they -- we also -- they also can say their                   11:07:55

6      family -- a relationship.      So they can say I am

7      a -- I'm engaged or I'm in a relationship.

8                 We could know from that information that

9      they are in a relationship.      And that would be

10     what -- a type of targeting we offer.         So that's an   11:08:13

11     example.

12                I'm not sure if that gets quite at what

13     you meant by friends interactions, where if you say

14     I am engaged, you might also list who you're

15     engaged to.     That is a connection between people          11:08:23

16     and is something we use for ads.

17          Q.    (By Ms. Weaver)     Yeah.    So you identified

18     two categories.     You said one activity and two info

19     they provide.     I wasn't asking about info they

20     provide.   You just discussed it so set that aside.          11:08:39

21                I'm asking very specifically, what

22     activity on Facebook does Facebook use to create

23     the targeting options for behavioral advertising?

24                MR. BENJAMIN:     Objection to form.

25     Argumentative.                                               11:08:56

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1           Q.   (By Ms. Weaver)     It's not just limited to          11:08:58

2      groups or pages, is it?

3           A.   It's not.   And I --

4                MR. BENJAMIN:     Sorry, Bella.

5                Objection to form.                                    11:09:04

6                THE DEPONENT:     It's not.    Another example

7      and another type of activity is how someone engages

8      on the platform.   For example, they set a -- a life

9      event or they update their relationship status.

10          Q.   (By Ms. Weaver)     Does it include whether           11:09:24

11     or not, for example, they respond to certain kinds

12     of content posted by friends?

13               MR. BENJAMIN:     Objection to form.         Vague.

14               THE DEPONENT:     Yes.

15          Q.   (By Ms. Weaver)     Does it include, for              11:09:40

16     example, how often they use Facebook Messenger?

17          A.   The -- the -- again, similar to whether

18     or not -- like if you have ever used Facebook

19     Messenger, yes, could be something we use for ads.

20          Q.   Does it include the content of users'                 11:10:01

21     posts?

22          A.   In Messenger or generally?

23          Q.   Both.

24          A.   Like I said before --

25               MR. BENJAMIN:     Objection to form.                  11:10:15

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1                   THE DEPONENT:     -- we don't use content in         11:10:16

2      message threads for ads.        On posts, the content --

3      for example, if I -- if I post to a page that could

4      be used, if I engage with posts and the content of

5      those posts could be used, yes.                                   11:10:36

6              Q.   (By Ms. Weaver)     And that's without

7      regard to whether or not that content was marked

8      private or public, correct?

9                   MR. BENJAMIN:     Objection to form.         Asked

10     and answered.     Vague.                                          11:10:46

11                  THE DEPONENT:     We don't have a

12     distinction in that manner of public versus

13     private.     That's not -- that doesn't quite

14     translate into our product in that manner.

15             Q.   (By Ms. Weaver)     And that's true for the          11:11:00

16     class period for the target options for behavioral

17     advertising, correct?

18                  MR. BENJAMIN:     Objection to form.

19                  THE DEPONENT:     Yes.

20             Q.   (By Ms. Weaver)     And you've identified            11:11:15

21     two categories.     Users' activity -- well, strike

22     that.

23                  Other than the content of Facebook

24     Messenger, is there any other activity on Facebook

25     that users engage in that is not used for the                     11:11:29

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1      creation of targeting options for behavioral               11:11:33

2      targeting?

3                   MR. BENJAMIN:     Objection to form.

4                   THE DEPONENT:     I -- I -- I'm not sure

5      there's a way to categorize all of the data we             11:11:50

6      don't use.     I -- I'm -- we can -- like discussing

7      the activity that is used, I don't know the full

8      extent of our entire product and all the data we

9      have to define what we don't use.

10            Q.    (By Ms. Weaver)     But as you sit here       11:12:10

11     today, you can't think of another category, other

12     than the content of Facebook messages, that is

13     categorically not used for behavioral targeting; is

14     that fair?

15                  MR. BENJAMIN:     Objection to form.          11:12:23

16                  THE DEPONENT:     No.   Another example is

17     when someone enters a security phone number, we do

18     not use that for ads.

19            Q.    (By Ms. Weaver)     Okay.    Anything else?

20            A.    Not that I can come up with off -- off        11:12:37

21     the cuff.     Again, like it's tough to think of

22     all -- potentially all activity and then carve it

23     out.    I know what we do use for ads, which I've

24     described.

25            Q.    Now, you've described -- so other than        11:12:52

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1      activity, and other than the information that users       11:12:54

2      provide in sign-up, for example, is there any other

3      data that Facebook uses to create behavioral

4      targeting options?

5           A.     So over this period -- I think we're          11:13:12

6      familiar with partner categories.       That's -- those

7      were created with data broker information.

8                  We -- there's also activity off of

9      Facebook.    So for -- from apps and websites, which

10     could be used for -- could be used in a -- a              11:13:30

11     targeting option.

12          Q.     Anything else you can think of?

13          A.     No.   I mean, those are the classes of

14     data that -- or the categories of data that we use.

15          Q.     How does Facebook use users' activity off     11:13:44

16     of Facebook to create targeting options used to

17     target users by third parties?

18          A.     When we were discussing custom audiences,

19     this is an example of that.     So an -- our business

20     tools, a website owner and an app owner can use           11:14:04

21     those tools to send information to Facebook about a

22     visit to their website.     That information can help

23     them then reach back out to people who've already

24     visited their website.     And we use it also to

25     personalize ads.                                          11:14:24

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1           Q.     Okay.   That's custom audiences.                11:14:25

2                  You said behavioral targeting is in a

3      different bucket, right?

4           A.     Apologies.

5                  Behaviors are a specific targeting option       11:14:33

6      we provide.    Behavioral targeting is often used as

7      a way to describe overall personalization.           It

8      sounds like -- I was responding to the second.

9                  For behaviors, we also have used offsite

10     engagement in those.     That -- over -- over the           11:14:47

11     course of this period.      It could be very similar to

12     the options -- to -- to what I was saying about if

13     you consistently purchase on -- online, that could

14     be something that informs one of those options.

15          Q.     And does Facebook collect the information       11:15:05

16     about users' off-platform activity through the use

17     of cookies or other trackers?

18                 MR. BENJAMIN:     Objection to form and

19     scope.

20                 THE DEPONENT:     For -- for ad use, we base    11:15:27

21     it off of the use of our business tools.           So our

22     Pixel and app SDK.

23          Q.     (By Ms. Weaver)     And for the record, what

24     is Pixel?

25          A.     Pixel is a cookie that is placed on a           11:15:42

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1      website that communicates information back to              11:15:45

2      Facebook by the website owner.

3              Q.   And when was Pixel first in use?

4              A.   20- -- for ads, 2014.

5              Q.   Was it in use not for ads prior to that?      11:15:59

6              A.   It was.   It was something --

7                   MR. BENJAMIN:     Objection -- objection to

8      form and scope.

9                   THE DEPONENT:     It was something that

10     launched prior to that.        But use for ads was in      11:16:10

11     2014.

12             Q.   (By Ms. Weaver)     And do you know what it

13     was used for prior to being used for ads?

14                  MR. BENJAMIN:     Objection to scope.

15                  THE DEPONENT:     It was used for website     11:16:25

16     owners to do analytics and understand more about

17     how their website was functioning.

18                  I don't know more generally how -- or --

19     or in other specifics of how it was used.

20             Q.   (By Ms. Weaver)     And Pixel is in use       11:16:44

21     today; is that right?

22             A.   Yes.   Correct.

23             Q.   And you referred to app SDK; is that

24     right?

25             A.   Yes.                                          11:16:56

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1           Q.      What is that?                                       11:16:57

2           A.      Similar.   It's a way for a developer or

3      an app owner to provide information back to

4      Facebook about specific events in their app.

5           Q.      And what specific kinds of information do           11:17:19

6      Pixel and app SDK communicate about users'

7      off-platform activity that is then used to target

8      them in behavior part of the options?

9                   MR. BENJAMIN:     Objection to form.

10                  THE DEPONENT:     So a -- a -- it -- the --         11:17:39

11     I'm going to answer this in terms of how Pixel

12     functions.     And I think that is --

13          Q.      (By Ms. Weaver)     Okay.

14          A.      -- is probably what we're getting to.

15                  The -- when -- the way a Pixel works is             11:17:58

16     that the business tool -- or the -- the person

17     who's using our business tool.           So the website

18     owner sets it up and they translate back to us

19     contact information and event data.

20                  The contact information is an identifier            11:18:14

21     which helps us understand who took that action and

22     we hash and match that on our platform.

23                  The event is about a check-out, like

24     they -- they choose what -- what event they're

25     hoping to -- to have the Pixel transmit back.             That   11:18:29

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1      could be something like they went to our menu.                 11:18:34

2      They looked at our hours of operation.           They

3      added -- added something to the cart, checked out.

4                   We would receive both of those.         And the

5      event information is what helps us understand the              11:18:46

6      activity and could help personalize an ad.

7           Q.      So for example, if somebody goes onto a

8      website and puts something in a cart but doesn't

9      check out, does Facebook still receive the

10     information about what was sitting in the cart?                11:19:00

11                  MR. BENJAMIN:     Objection to form.

12                  THE DEPONENT:     There are different

13     concepts.     The website owner has sent us

14     specifically an add-to-cart event.          They could

15     separately send us a check-out event.           Those are --   11:19:15

16     are distinct.

17          Q.      (By Ms. Weaver)     Okay.    But the answer

18     is, yes, Facebook could receive the information

19     about what was sitting in the cart but not

20     purchased; is that right?                                      11:19:25

21                  MR. BENJAMIN:     Objection to form.

22     Misstates.

23                  THE DEPONENT:     It is not about

24     understanding the -- the -- the flow, and all of

25     the purchases.     It's about the event that the               11:19:38

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1      website owner chooses to send back and the                        11:19:40

2      information they include and sending that back to

3      us.

4              Q.      (By Ms. Weaver)     Okay.    And I'm being

5      very granular.          But one of the events that                11:19:48

6      advertisers choose to send back is whether or not

7      something is sitting in a cart, but did not check

8      out; isn't that true?

9                      MR. BENJAMIN:     Objection to form.

10                     THE DEPONENT:     It's -- it's not that           11:20:03

11     they're sending us back didn't check out.               They're

12     sending us back that someone added something to the

13     cart.        It's a moment -- an event that is triggered,

14     not a subtraction of then whether or not check-out

15     happened.                                                         11:20:18

16             Q.      (By Ms. Weaver)     I understand.      We're

17     getting lost a little bit in semantics.

18             A.      Okay.

19             Q.      Let me ask it this way.

20                     If I looked up my profile at Facebook and         11:20:24

21     had the internal tools, could I see instances of

22     where I had items in my cart but they weren't

23     purchased?

24                     MR. BENJAMIN:     Objection to form.

25                     THE DEPONENT:     Can you clarify what you        11:20:38

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1      mean your -- your profile and internal tools.                     11:20:39

2              Q.      (By Ms. Weaver)     Okay.    For -- let me

3      just ask this.

4                      Does Facebook possess information about

5      users that would reflect instances where something                11:20:53

6      was sitting in their cart but not purchased?

7                      MR. BENJAMIN:     Objection to form.

8                      THE DEPONENT:     Not in the way that I

9      think you've conceptualized it --

10             Q.      (By Ms. Weaver)     Okay.                         11:21:07

11             A.      -- which is that there is a -- this item

12     was or was not purchased on a website.

13                     We know if someone specifically -- if --

14     if a website owner passed us back Pixel, that the

15     check-out Pixel was fired, we would know that.                    11:21:20

16                     If the information passed back to us was

17     that the add-to-cart Pixel was fired, we would know

18     that.        It's --

19             Q.      Okay.   That's all I was asking.        Like --

20     okay.        That's good.                                         11:21:34

21                     Does Facebook inform users which third

22     parties are collecting information about them of

23     their off-platform activity through Pixel and app

24     SDK?

25                     MR. BENJAMIN:     Objection to form and           11:22:10

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1      scope.                                                          11:22:10

2                   THE DEPONENT:     The Pixel and app SDK and

3      the -- and the -- the -- and the websites and apps

4      that use those are shown to people in OFA, which is

5      our off Facebook activity tool.                                 11:22:29

6           Q.      (By Ms. Weaver)     Are all of them in OFA?

7           A.      This is a little bit outside of ads.         So

8      yes, my understanding is that they are.            But not my

9      expertise.

10          Q.      And how long has OFA been functional?              11:22:46

11                  MR. BENJAMIN:     Objection to form.

12                  THE DEPONENT:     I -- I believe we launched

13     OFA -- my personal recollection is that we launched

14     it between 2016 and 2018.        But, again, somewhat

15     outside the scope of ads.                                       11:23:12

16          Q.      (By Ms. Weaver)     Okay.    So we've now

17     identified three categories of data that can be

18     used to create the targeting categor- -- or options

19     in behavior advertising and that is, activity on

20     Facebook, information users provide and                         11:23:27

21     off-platform activity.

22                  Is there any other category of data not

23     included that we should be discussing?

24          A.      No.

25          Q.      Okay.   Once Facebook has the data, how            11:23:39

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1      does it create the inference of an intent or a            11:23:45

2      behavior?

3                  MR. BENJAMIN:     Objection to form.

4                  THE DEPONENT:     So I think what's

5      important to understand here is what we're trying         11:24:03

6      to do is understand if someone's previous

7      engagement or interest or behavior would predict

8      their future engagement or interest in behavior.

9                  So to draw that out, that line pretty

10     clearly, if I consistently click on ads, we said          11:24:19

11     that would be an indication to us that I am likely

12     to click on ads.

13                 So that is an example of where we are

14     taking someone's previous behavior to -- to

15     understand their future behavior.         It --           11:24:36

16     it's based -- it -- I think that answers your

17     question, just in terms of, it's not that it's like

18     a labeling exercise.    It is a question of you --

19     you've previously engaged in this way and that

20     helps us understand how you might engage in the           11:24:53

21     future.

22          Q.     (By Ms. Weaver)     Is Facebook using

23     algorithms to predict the future behavior?

24                 MR. BENJAMIN:     Objection to form.

25                 THE DEPONENT:     Our ad delivery does        11:25:05

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1      include algorithms.     They are machine learning          11:25:06

2      classifiers that help us estimate people's future

3      behavior.

4           Q.      (By Ms. Weaver)     What is --

5                   (Court Reporter asks for clarification.)      11:25:20

6           Q.      (By Ms. Weaver)     What is machine

7      learning?

8           A.      Machine learning is a form of

9      programmatically -- at least in the context of

10     ads -- of programmatically creating this                   11:25:31

11     prediction.     So within our ad delivery, we base it

12     on people's activity to understand their future

13     potential engagement.

14          Q.      And is this kind of analysis logged at

15     Facebook with regard to users?                             11:25:47

16          A.      Can you explain what you mean by "this

17     analysis."

18          Q.      Right.

19                  You engage in a purchase and the

20     algorithm says it means that you're likely to              11:26:03

21     engage in a different kind of purchase in ten

22     minutes.

23                  Is that logged somewhere, that

24     prediction?

25                  MR. BENJAMIN:     Objection -- objection to   11:26:13

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1      form.                                                          11:26:14

2                   THE DEPONENT:     We -- so I think there are

3      a few -- a few important pieces.

4                   Machine learning takes into account --

5      it's not a one-to-one deterministic rule, which is             11:26:25

6      why it's machine learning.

7                   And so it's taking into account your

8      activity and -- and that helps us develop the -- in

9      this example, let's -- we call it the estimated

10     action rate, which is whether or not you will                  11:26:42

11     engage in the way -- in -- in an ad.

12                  We log the -- the activity that's feeding

13     into it, because that's just the activity that we

14     have anyway and we -- we know which ad we showed

15     someone.     So we know the output.                            11:27:07

16             Q.   (By Ms. Weaver)     Let's talk about the

17     output.

18                  Facebook makes a prediction.        What does

19     it do with that prediction?

20                  MR. BENJAMIN:     Objection -- objection to       11:27:31

21     form.

22                  THE DEPONENT:     I think it's helpful to

23     maybe expand to ads.

24                  So advertiser creates the ad.         They give

25     us the content.     They set the parameters for their          11:27:39

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1      audience and their bid.       The bid is how much they        11:27:42

2      are willing to pay to show that ad.

3                  We then move it into our ad ranking or

4      the optimization portion where we take the eligible

5      audience and we say who -- which ad should Bella              11:27:55

6      see.

7                  In order to determine that, we're --

8      we're using the total value equation and that is

9      the bid from the advertiser, the estimated action

10     rate that I will actually want to see this and                11:28:10

11     engage with this ad and the ad quality.           Those are

12     the machine learning components.

13                 And then the output is whether -- which

14     ad we -- they -- I'm shown of all the ads that I'm

15     eligible to see in that moment.                               11:28:24

16            Q.   (By Ms. Weaver)     So does Facebook log

17     which ads a specific user is shown?

18            A.   Yes.

19            Q.   And when did Facebook start logging what

20     ads a specific user is shown?                                 11:28:39

21            A.   I believe that we have -- have -- we

22     have -- in -- we have logged that since we started

23     to show ads.

24            Q.   Which was in 2007, right?

25            A.   Yes.                                              11:29:01

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1              Q.   And does Facebook link the advertisement           11:29:02

2      shown to a specific user and also log the behavior

3      that triggered the ad?

4                   MR. BENJAMIN:     Objection to form.

5                   THE DEPONENT:     What I was saying before         11:29:17

6      is, it's not a one-to-one relationship.            It's not a

7      singular behavior.     And so there wouldn't be a one

8      trigger to log with that.

9              Q.   (By Ms. Weaver)     Is there -- are there

10     logs that reflect series of activities that also                11:29:31

11     correlate in time to the ads Facebook is showing

12     them?

13                  MR. BENJAMIN:     Objection to form.

14                  THE DEPONENT:     Again, the assumption is

15     that there's like a -- a separate set of activity               11:29:44

16     from what just -- what we use for ads as people's

17     activity.     And then that is how our machine

18     learning determines if this would be of interest

19     and then determines the ad to show.

20                  It's not that there is like cherry-picked          11:30:02

21     activity that would -- is a one-to-one relationship

22     with showing any given ads.        So that's not -- that

23     doesn't reflect how machine learning works in order

24     to log it in that manner.

25             Q.   (By Ms. Weaver)     Right.    I understand.        11:30:17

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1                  I mean, what I'm trying understand,           11:30:18

2      though, at some point machine learning is learning

3      and it's saying this activity predicts X, right?

4                  MR. BENJAMIN:     Objection to form and

5      scope.                                                    11:30:30

6                  THE DEPONENT:     Do you mean a specific

7      activity or Bella has -- has -- this is -- these

8      are Bella's interactions over time, and we think it

9      means that this would be an ad of interest.

10          Q.     (By Ms. Weaver)     Exactly.                  11:30:43

11          A.     Right.

12                 So, again, we know activity that is

13     logged.    We know which ads I -- I have -- we know

14     the targeting of ads.       And then we know the ad I'm

15     shown.    So we know the output.                          11:30:54

16          Q.     So the question is, does Facebook

17     maintain any kind of record -- record or log of, in

18     a given time period, these are the activities and

19     these are the ads?

20          A.     We maintain records of people's activity      11:31:09

21     and we maintain records of -- or we -- we store the

22     ads people are shown.

23          Q.     And doesn't Facebook also maintain some

24     kind of record of the special sauce that gets them

25     from A to B?                                              11:31:24

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1                   MR. BENJAMIN:     Objection to form.                  11:31:27

2                   THE DEPONENT:     I think that is what I

3      described.     There isn't a way to -- like there

4      isn't storage of a specific trigger because that's

5      not how machine learning works.                                    11:31:40

6              Q.   (By Ms. Weaver)     Right.    I understand

7      what you're saying.

8                   I'll come back to that.

9                   Where are the logs that you just

10     described with regard to the activity in the ads                   11:31:52

11     maintained?

12             A.   Ads people see is something that we store

13                  People's activity is also something we

14     store

15             Q.   Is it stored anywhere else?                           11:32:06

16                  MR. BENJAMIN:     Objection to form.         Vague.

17     Compound.

18                  THE DEPONENT:     The ads information is

19     stored           .   That's the database that -- that

20     holds it.     And that's the same for the activity.                11:32:21

21     There -- other -- other systems might read from it.

22                  So for example, to render ads reporting.

23     In ads manager, we would read from -- from those

24     databases.

25             Q.   (By Ms. Weaver)     Are you familiar with             11:32:40

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1      the Download Your Information tool?                             11:32:40

2              A.    I'm familiar that it exists, and we

3      provide access to information there.

4              Q.    Does it read from these tables               ,

5      do you know?                                                    11:32:55

6              A.    I --

7                    MR. BENJAMIN:     Objection -- objection to

8      form and scope.

9                    THE DEPONENT:     Unfortunately, I don't

10     know that as part of -- of my ads expertise.                    11:33:02

11                   MS. WEAVER:     Okay.    I think we can

12     take our -- a break now.

13                   Let's go off the record.

14                   THE VIDEOGRAPHER:       Okay.   We're off the

15     record.      It's 11:33 a.m.                                    11:33:28

16                   (Recess taken.)

17                   THE VIDEOGRAPHER:       We're back on the

18     record.      It's 12:24 p.m.

19             Q.    (By Ms. Weaver)     Hi, Ms. Leone.      Did you

20     have a good lunch?                                              12:24:23

21             A.    I did.   Thank you.

22             Q.    Or lunch equivalent.

23                   I'm going to show you what we've marked

24     as -- uh-oh -- Exhibit -- give me a moment -- 656.

25     /////

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1                (Exhibit 656 was marked for                     12:24:39

2      identification by the court reporter and is

3      attached hereto.)

4           Q.   (By Ms. Weaver)      And while we're waiting

5      for it to load, do you recall when ad preferences         12:24:43

6      was created, so that users could see what -- or try

7      to control what ads were presented to them?

8           A.   Ad preferences launched in 2014.

9           Q.   Okay.     I see.

10               Okay.     Do we have Exhibit 656 up?            12:25:17

11          A.   Yes, I have it up.

12          Q.   And looking at Exhibit 656, do you know

13     what it is?

14          A.   It is a Newsroom blog post from 2019

15     announcing additions to some of our transparency          12:25:38

16     interfaces.

17          Q.   So what is a Newsroom blog post?

18          A.   A Newsroom blog post -- Newsroom is what

19     we call the portion of our website where anyone can

20     navigate on the Internet that we make                     12:25:57

21     announcements.

22          Q.   And looking at Exhibit 656, you see that

23     it bears a date of July 11th, 2019?

24          A.   Yes.

25          Q.   Why did you review this particular              12:26:13

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1      document?                                                   12:26:16

2                   MR. BENJAMIN:     Objection to form.

3                   THE DEPONENT:     This is part of our

4      evolution of the tools around ads targeting and ads

5      ranking.     In this case, the transparency tools.          12:26:29

6      And so I wanted to be sure that I understood what

7      had changed in this moment.

8                   And if I -- do you mind if I take a

9      moment and --

10          Q.      (By Ms. Weaver)     Of course.                 12:26:40

11          A.      -- make sure that --

12          Q.      Yeah.

13          A.      Sorry.

14                  Yeah, this was -- these were updates to

15     WAIST.     And as part of prep, I was reviewing many        12:27:02

16     of the updates we've made and -- and generally

17     understanding where -- when those were.

18          Q.      So this disclosure does not relate to ads

19     sent to users because of behavioral targeting

20     actions, right?                                             12:27:24

21                  MR. BENJAMIN:     Objection to form.

22                  THE DEPONENT:     Can you clarify when you

23     say "behavioral," what -- what you mean?

24          Q.      (By Ms. Weaver)     Okay.    With respect to

25     data sources that are bases of the information              12:27:36

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1      that's used for ad interest, and then there's a              12:27:40

2      different dataset that is the source for behaviors,

3      correct?

4                   MR. BENJAMIN:     Objection to form.

5      Misstates.                                                   12:27:55

6                   THE DEPONENT:     It sounds like you're

7      differentiating the activity more so than the fact

8      that it's just a separate set of options in the UI

9      for advertisers.       And that's meant to reflect how

10     they organize and how they can select their                  12:28:10

11     audience.     And that's really the big distinction

12     between the two.

13           Q.     (By Ms. Weaver)     Okay.    Well, looking at

14     Exhibit 656 and turning to the page that's at --

15     ending in -945.                                              12:28:42

16           A.     Yes, I'm there.

17           Q.     And do you see it says "We're updating Ad

18     Preferences to show you more about businesses that

19     upload lists with your information."

20                  Do you see that?                                12:28:58

21           A.     Yes.    Sorry.   I'm not sure if this is for

22     others as well.       That's actually on the -- -944 for

23     me.

24           Q.     I'm so sorry.     That --

25           A.     Okay.    I -- I just want to be sure I'm at     12:29:14

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1      the right spot.                                               12:29:17

2                   Yes, I see that.

3              Q.   So does Facebook provide businesses with

4      lists that they can upload with information about

5      users?                                                        12:29:25

6              A.   No.

7              Q.   So what does this mean when it says

8      "We're also updating Ad Preferences to show you

9      more about businesses that upload lists with your

10     information"?                                                 12:29:35

11             A.   This refers to custom audiences.         The

12     customer list form of custom audiences.

13             Q.   Okay.   And -- and so looking at

14     Exhibit 656, is this meant -- what -- what is the

15     purpose of this blog?                                         12:29:49

16             A.   This was to --

17                  MR. BENJAMIN:     Objection -- objection to

18     form.

19                  THE DEPONENT:     This was to announce

20     updates to WAIST and ad preferences that would help           12:29:57

21     users understand when an advertiser has uploaded a

22     customer list in order to reach them with an ad.

23             Q.   (By Ms. Weaver)     Okay.    Well, look at the

24     page ending -943 --

25             A.   Yes.                                             12:30:13

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1           Q.     -- where it says "First, we'll show                   12:30:14

2      people more reasons why they're seeing an ad on

3      Facebook.    In the past, 'Why am I seeing this ad?'

4      highlighted one or two of the most relevant

5      reasons, such as demographic information or that                  12:30:24

6      you may have visited a website.         Now, you'll see

7      more detailed targeting, including the interests or

8      categories that matched you with a specific ad.              It

9      will also be clearer where that information came

10     from (e.g. the website you may have visited or Page               12:30:38

11     you may have liked), and we'll highlight controls

12     you can use to easily adjust your experience."

13                 Do you see that?

14          A.     Yes.

15          Q.     So when it's referring to interest or                 12:30:48

16     categories that match you with a specific ad, that

17     is referring to interest advertising, right?

18                 MR. BENJAMIN:     Objection to form.         Vague.

19                 THE DEPONENT:     So reading this blog post,

20     it's referring to the targeting options that are                  12:31:06

21     under detailed targeting.       So interests targeting

22     options and -- and other categories which are the

23     other options within detailed targeting.

24          Q.     (By Ms. Weaver)     Okay.    And then a little

25     later, you've said that what -- on the next page,                 12:31:20

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1      pages 4 and 5 of the document -- it discusses               12:31:24

2      custom advertising; is that right?

3                   MR. BENJAMIN:     Objection to form.

4      Misstates.

5                   THE DEPONENT:     It also notes that we're     12:31:34

6      making an additional update to ad preferences, and

7      that is related to customer lists.

8              Q.   (By Ms. Weaver)     And why doesn't this

9      document discuss the behavioral targeting -- the --

10     the targeting for behaviors that we spent so much           12:31:48

11     time discussing before the break?

12                  MR. BENJAMIN:     Objection to form.

13     Mischaracterizes.

14                  THE DEPONENT:     The -- so I didn't write

15     this blog post.     So the wording here -- I think          12:32:02

16     it's hard to speculate exactly how they drafted

17     this.

18                  But that is what is meant by the more --

19     "you'll see more detailed targeting, including the

20     interests or categories that matched you with a             12:32:15

21     specific ad."

22                  That includes those behaviors and

23     specifically the behaviors that the advertiser

24     chose when creating their desired audience.

25             Q.   (By Ms. Weaver)     Do you know why the word   12:32:31

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1      "behaviors" is not used in this disclosure?                   12:32:31

2                   MR. BENJAMIN:     Objection to form and

3      scope.

4                   THE DEPONENT:     I -- I can't tell you how

5      it was drafted this way.        But detailed targeting        12:32:44

6      interests or categories, we often talk about

7      targeting as categories and this -- this aligns

8      with that.     It doesn't use the -- the exact same

9      nomenclature, but...

10          Q.      (By Ms. Weaver)     Or the word "behavior."      12:33:00

11                  Do you know if Facebook uses the word

12     "behavior" in its privacy policy or data use

13     policy?

14                  MR. BENJAMIN:     Objection.

15          Q.      (By Ms. Weaver)     The -- the kinds of          12:33:09

16     inferences drawn about them based on their activity

17     on and off the platform?

18                  MR. BENJAMIN:     Excuse me.     I didn't mean

19     to interrupt.     I'm sorry.

20                  Objection to form and scope.                     12:33:17

21                  THE DEPONENT:     I don't know if the

22     specific word is used.       But we do use that word.

23     It's in our ad product when someone goes to create

24     an ad.

25          Q.      (By Ms. Weaver)     So you use it facing         12:33:29

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1      advertisers, but not facing users; is that right?           12:33:30

2           A.   Again --

3                MR. BENJAMIN:     Objection to form.

4                THE DEPONENT:     -- that's not quite right.

5      I said I -- I don't know for certain if it's in our         12:33:38

6      policy -- our -- our data policy.       But it is

7      displayed to users in other transparency interfaces

8      such as ad preferences.

9           Q.   (By Ms. Weaver)     You're the -- you're a

10     privacy and policy manager -- is that right? -- and         12:33:52

11     you have been since 2019?

12          A.   Correct.

13          Q.   And what are your duties and

14     responsibilities?

15          A.   I work with our --                                12:34:00

16               MR. BENJAMIN:     Objection -- sorry.

17               THE DEPONENT:     Sorry.    That was my fault.

18               MR. BENJAMIN:     Objection to form and

19     scope.

20               You can answer.                                   12:34:10

21               THE DEPONENT:     I work with our product

22     teams as they develop new products.        And we work to

23     ensure that those would -- would be in line with

24     what we think our privacy principles should be.

25     And also conversations we have with external groups         12:34:25

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1      and feedback generally about the products.                    12:34:28

2           Q.      (By Ms. Weaver)     And does that include --

3      do the products include behavior targeting?

4           A.      I cover ad targeting, yes.

5           Q.      Earlier you indicated that there might be        12:34:41

6      a difference in your mind between behavioral

7      advertising targeting and behavior targeting; is

8      that fair?

9           A.      I -- I think there's -- there's the

10     product of behavior operations that are in our                12:34:56

11     targeting tools.      So what we provide to advertiser.

12     I think there can be -- people use behavioral

13     targeting to speak generally about both

14     personalization, about the use of specifically

15     offsite data.                                                 12:35:13

16                  And so I think -- it's like capital B,

17     behavior, a thing we produce or we provide in our

18     tool versus the concept of behavioral targeting.

19     And that's the distinction I see.          But when we were

20     discussing it earlier, I think those got a little             12:35:29

21     bit mixed probably.

22          Q.      Okay.   And -- and what is OBA?

23          A.      OBA is closer to that, the second, it's

24     online behavioral advertising.         It is commonly

25     meant to mean use of -- of activity off of the                12:35:44

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1      platform to inform advertising.                                  12:35:49

2           Q.      So is it fair to say that like OBA or

3      behavioral -- behavioral advertising is an industry

4      term of art.

5                   And when you've been talking about                  12:35:59

6      behavior, it's a specific Facebook product?

7           A.      Yes.    It is a industry term of art.        When

8      we were specifically talking about behaviors, the

9      targeting options, I addressed those.           When we were

10     talking about how we use activity generally, it                  12:36:15

11     would also relate to the industry term of online

12     behavioral advertising.

13          Q.      Okay.    And then what is political

14     targeting?

15                  MR. BENJAMIN:     Objection to form.                12:36:33

16                  THE DEPONENT:     Political targeting is

17     just the -- I guess I'm -- I might need to put that

18     back to you.

19                  Are you thinking in the context of our

20     tools?                                                           12:36:49

21          Q.      (By Ms. Weaver)     I'm just thinking, in

22     general, do you know what political targeting

23     means?

24                  MR. BENJAMIN:     Objection to form and

25     scope.                                                           12:36:57

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1                THE DEPONENT:     To me, that means the         12:36:59

2      options we provide for advertisers to create their

3      audience that are related to politics.

4                MS. WEAVER:     Okay.    Well, why don't we

5      mark Exhibit 3, because of the scope objection.           12:37:10

6                And for the record, Exhibit 3 [sic] is a

7      letter sent to me from Mr. Benjamin on

8      July 29th, 2022.

9                (Exhibit 657 was marked for

10     identification by the court reporter and is               12:37:27

11     attached hereto.)

12               MS. WEAVER:     And when it's up, I'll ask

13     you to turn to the second page, and I'll read into

14     the record when you have it up.

15               Do you have it available, Counsel?              12:37:38

16               MR. BENJAMIN:     Yes.

17          Q.   (By Ms. Weaver)     It says "Ms. Leone will

18     be prepared to discuss: The targeting and audience

19     selection options available to advertisers,

20     including with respect to political targeting             12:37:53

21     segments, which we understand to be of interest to

22     Plaintiffs."

23               Do you see that?

24          A.   Yes.

25               Sorry.                                          12:38:08

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1           Q.     Okay.   So what are political targeting            12:38:08

2      segment -- segments?

3           A.     It's what I was describing as the options

4      that we provide an advertiser to define their

5      audience.                                                      12:38:18

6                  MS. WEAVER:   Okay.     So the scope

7      objection was meritless.

8           Q.     (By Ms. Weaver)     The -- what -- is there

9      a subset of political segmentation that Facebook

10     provides to advertisers?                                       12:38:31

11          A.     We've provided specific targeting

12     options.    And those are when -- I think maybe

13     segmentation here is interchangeable with options.

14     So there are a number of political targeting

15     options that we've provided to advertisers.                    12:38:50

16          Q.     And what are they and how have they

17     changed over time?

18          A.     There were several phases.        So the

19     initial phase, from 2014 to 2018, was five

20     targeting options that were based -- that work --              12:39:07

21     were called like very liberal to very conservative.

22     And then we've had multiple phases since then.           One

23     phase which segmented those five into smaller or --

24     or more defined groups.

25                 And then the latest phase that was -- we           12:39:27

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1      introduced in 2018, which went back to five top               12:39:32

2      level groups, and those were deprecated in 20- --

3      2022.

4              Q.   So going back to the segments from 2014

5      to 2018, what were those five targeting options?              12:39:44

6              A.   Very liberal, liberal, moderate,

7      conservative and very conservative.

8              Q.   And then you said there were -- there was

9      a phase from 2018 to 2020; is that fair?

10             A.   Sorry.   I -- I think my -- I said 2022,         12:40:05

11     but -- so it was 2018 to 2022.       And it was the same

12     naming except it was likely to engage with.             And

13     there were new segments, likely to engage with,

14     very liberal content.      And then similar, likely to

15     engage with, liberal content.       Likely to engage          12:40:24

16     with, moderate content.      Likely to engage with,

17     conservative content.      Likely to engage with, very

18     conservative content.      And those were 2018 to 2022.

19             Q.   And why were the words "likely to engage

20     with" added to the segments?                                  12:40:38

21             A.   It was a representation of how those

22     segments changed.      The naming was to reflect how we

23     developed those.

24             Q.   How did the segments change?

25             A.                                                    12:40:53

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1




15          Q.     And you said it was deprecated this year;     12:41:49

16     is that correct?

17          A.     In 2022, yes, March.

18          Q.     In March.

19                 Why?

20          A.     We announced last year that we were           12:41:57

21     deprecating a series of targeting options including

22     these.    That we were -- we had had many discussions

23     over multiple years, and we felt that these no

24     longer met people's evolving expectations.

25                 It was something that we did with -- work     12:42:14

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1      with advocacy groups and others to identify and               12:42:16

2      then phase out from our targeting system.

3              Q.   What expectations did it not meet?

4              A.   From our conversations, these -- these

5      were areas that people may perceive to be sensitive           12:42:33

6      and weren't ones that we wanted to continue to

7      support.

8              Q.   And when you say "sensitive," what do you

9      mean?

10             A.   I'm -- I'm using the words of -- of many         12:42:45

11     of the groups we spoke to.     They found that these

12     were areas that people found sensitive and --

13     and -- and we decided those -- those targeting

14     options would no longer meet people's expectations.

15     I can't tell you exactly what they meant by                   12:43:04

16     sensitive.

17             Q.   But I'm just asking what Facebook means

18     by sensitive?

19             A.   We don't take that as a definition.       It's

20     that we understood people perceived these to be               12:43:16

21     sensitive and -- and choose to -- to not support

22     them any longer.

23             Q.   Did Facebook suffer a loss in revenue by

24     deprecating the use of those political targeting

25     segments?                                                     12:43:35

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1                  MR. BENJAMIN:     Objection to form and         12:43:39

2      scope.

3                  THE DEPONENT:     Advertisers don't have

4      these segments any longer.       I can't tell you if

5      that means that they stopped advertising or not.            12:43:48

6           Q.     (By Ms. Weaver)     Did Facebook take any

7      steps to track, before or after making the

8      decision, the impact to revenue of deprecating

9      these political targeting segments?

10          A.     Okay.   What I explained --                     12:44:03

11                 MR. BENJAMIN:     Objection to form.

12     Compound.

13                 THE DEPONENT:     What I explained earlier

14     is relevant here, too, where there isn't a before

15     and after snapshot because revenue isn't associated         12:44:14

16     with any one targeting option.

17          Q.     (By Ms. Weaver)     Okay.    But the question

18     was, did Facebook take any steps to track, before

19     or after making this decision, the impact to

20     revenue of deprecating political targeting                  12:44:30

21     segments?

22                 MR. BENJAMIN:     Objection --

23                 THE DEPONENT:     My point is that --

24                 MR. BENJAMIN:     Objection to form.

25                 THE DEPONENT:     My point is that there        12:44:39

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1      isn't a one-to-one way to track that.           And so we      12:44:40

2      did not take steps to track explicitly the revenue

3      loss from removing these -- these segments.

4           Q.    (By Ms. Weaver)       Does Facebook, in

5      general, track revenue loss when it deprecates a               12:44:52

6      product?

7                 MR. BENJAMIN:       Objection to form and

8      scope.

9                 THE DEPONENT:       Can I clarify, do you mean

10     understanding what our revenue was before something            12:45:07

11     and then after?

12          Q.    (By Ms. Weaver)       Yes.

13          A.    We track our revenue.         There are lots of

14     factors that influence our revenue.           And we do not

15     associate a change in revenue specifically with the            12:45:20

16     removal of targeting because it is not a one-to-one

17     relationship.      And as --

18          Q.    And --

19          A.    Yeah.

20          Q.    I understand the point.                             12:45:31

21                But here Facebook deprecated a product,

22     correct?

23          A.    We deprecated targeting options.           And as

24     I clarified, I call those products.

25          Q.    And -- and products have budget, don't              12:45:40

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1      they?                                                          12:45:42

2                   MR. BENJAMIN:     Objection to form and

3      scope.

4                   THE DEPONENT:     Budgets in the sense of

5      the amount of money Facebook uses to build those               12:45:49

6      products?

7              Q.   (By Ms. Weaver)     Yes.

8                   And, again, we're talking about

9      advertising products.

10             A.   We -- we do fund our product teams and            12:46:00

11     the resources to build a product.          That is pretty

12     separate from a revenue calculation.

13             Q.   Does Facebook provide or -- strike that.

14                  Does Facebook track the revenue that

15     certain products generate?                                     12:46:17

16                  MR. BENJAMIN:     Objection to scope.

17                  THE DEPONENT:     For ads, it is not a

18     one-to-one relationship because there are multiple

19     targeting options involved in any ad.           And so there

20     isn't a way to track it directly back to a                     12:46:37

21     targeting option -- to track revenue directly back

22     to a targeting option.

23             Q.   (By Ms. Weaver)     Are you saying that this

24     product was a targeting option in your answer?

25                  MR. BENJAMIN:     Objection to form.              12:46:54

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1                  THE DEPONENT:     The political --                   12:46:54

2           Q.     (By Ms. Weaver)     The reason I'm asking

3      is, you're -- you keep answering in generalities,

4      and I'm talking about these political targeting

5      segments that you just discussed, did Facebook's                 12:47:05

6      revenue decrease when it deprecated them?

7                  MR. BENJAMIN:     Objection to scope.

8                  THE DEPONENT:     These targeting

9      products -- the specific political segments were

10     deprecated.     There is not a one-to-one way to                 12:47:24

11     measure if any increase or decrease in revenue is

12     related to that deprecation.

13          Q.     (By Ms. Weaver)     I'm not asking about a

14     one-to-one ratio.

15                 I'm just asking, after Facebook                      12:47:31

16     deprecated these products, did its targeting

17     revenue decrease?

18                 MR. BENJAMIN:     Objection to form.         Asked

19     and answered.     Vague.    And outside the scope.

20                 THE DEPONENT:     I think the issue is the           12:47:45

21     question assumes causality.       If revenue changed in

22     the last six months, there could be many reasons

23     for that.

24          Q.     (By Ms. Weaver)     Okay.    But as you sit

25     here -- I'll worry with my experts about causation.              12:47:58

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1      I'm simply trying to get the facts.                                  12:48:01

2                   As you sit here, do you know if

3      Facebook's revenue decreased after it deprecated

4      political targeted advertising segments?

5                   MR. BENJAMIN:        Objection to form.         Asked   12:48:12

6      and answered.        Vague.     Argumentative.     And outside

7      the scope.

8                   THE DEPONENT:        I do not know that our

9      revenue decreased because of a removal of these

10     targeting options.        That is not something that we              12:48:25

11     can measure.

12          Q.      (By Ms. Weaver)        That's not what I'm

13     asking.

14                  Facebook deprecated political targeting

15     segments in March 2020, correct?                                     12:48:32

16          A.      2022.

17          Q.      Sorry.     2022.

18                  Did Facebook's revenue for targeted

19     advertising decrease in April 2022?

20                  MR. BENJAMIN:        Objection to form.         Asked   12:48:46

21     and answered repeatedly.           Argumentative.      Outside

22     the scope.

23                  THE DEPONENT:        I don't know how else to

24     answer the question than to help disassociate these

25     because if our -- our -- our -- I would say our                      12:49:01

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1      like quarterly statements represent what our                     12:49:06

2      revenue is doing and those are not directly related

3      in one-to-one fashion with any one product

4      deprecation.

5           Q.     (By Ms. Weaver)     I was just asking if             12:49:16

6      revenue decreased.

7                  Do you know the answer?

8                  MR. BENJAMIN:     Same objections as the

9      prior two questions.

10                 THE DEPONENT:     I -- I would --                    12:49:24

11                 MS. WEAVER:     It's not.    I don't have an

12     answer.

13          Q.     (By Ms. Weaver)     And I'm entitled to a

14     direct either you know or you don't know.           This is

15     the question.                                                    12:49:31

16                 Between March of 2022 and April of 2022,

17     did Facebook's targeted advertising revenue

18     decrease?

19                 MR. BENJAMIN:     Objection to form.         Asked

20     and answered.    Argumentative.      Vague.    Outside the       12:49:45

21     scope.

22                 THE DEPONENT:     I would have to reference

23     our quarterly earning statements to answer that.

24     And I don't know it more granularly.

25          Q.     (By Ms. Weaver)     Do you receive reports           12:49:59

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1      of Facebook's targeted advertising revenue on a                12:50:00

2      weekly or monthly basis?

3                  MR. BENJAMIN:     Objection to form.

4      Compound.

5                  THE DEPONENT:     I personally do not              12:50:16

6      receive a continuous update of our revenue.              No.

7           Q.     (By Ms. Weaver)     Do you know if one

8      exists at Facebook?

9                  I wasn't asking you personally.         I was

10     asking Facebook, the deponent.                                 12:50:29

11                 So does Facebook prepare and circulate

12     weekly or monthly snapshots of targeted advertising

13     revenue?

14                 MR. BENJAMIN:     Objection to form and

15     scope.                                                         12:50:42

16                 THE DEPONENT:     Can I ask a clarifying

17     question, are you specifically -- when you say

18     "targeted advertising revenue," do you just mean

19     our ads business?

20          Q.     (By Ms. Weaver)     What is targeting --           12:50:54

21          A.     Those are one and the same in my mind.

22     But I want to --

23          Q.     Okay.

24          A.     -- make sure that's also the case in

25     your -- what you're saying.                                    12:51:00

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1             Q.   Yes.    Fine.   Ads business, but broken out   12:51:01

2      by -- with some granularity, as opposed to the

3      public facing documents.       So let me ask it again.

4                  Does Facebook prepare and circulate

5      weekly or monthly snapshots of targeted advertising        12:51:16

6      revenue?

7                  MR. BENJAMIN:     Objection to form.

8                  THE DEPONENT:     We track revenue from our

9      ads business.      The -- it is not broken out by

10     targeting -- by targeting option.         That is not a    12:51:37

11     granularity, that we break it out, because it is

12     not a measurement of revenue.

13            Q.   (By Ms. Weaver)     Does it break it out by

14     core audience, behavior and custom audience?

15                 MR. BENJAMIN:     Objection to form.           12:51:55

16                 THE DEPONENT:     No.

17            Q.   (By Ms. Weaver)     How does it break it

18     out?

19            A.   It breaks it out by region, in the sense

20     of where are we making this money and where --             12:52:03

21     advertisers spending on our platform.          And it

22     breaks it out by -- usually by size of advertisers.

23     So is this an advertiser we consider a small,

24     medium business or a large advertiser.

25            Q.   And how often are these reports                12:52:22

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1      circulated?                                               12:52:24

2                MR. BENJAMIN:     Objection to form and

3      scope.

4                THE DEPONENT:     Our ads leadership teams

5      might get these once a week.                              12:52:38

6           Q.   (By Ms. Weaver)     What are they called?

7           A.   I honestly don't know what the name of

8      the report or -- might be.     I don't know.

9           Q.   Do you know who would know?

10               MR. BENJAMIN:     Objection to scope.           12:52:54

11               THE DEPONENT:     Part of our analytics team

12     would know.   But I don't know a specific name.

13               As I said, I -- I -- these -- those --

14     well, yeah.

15          Q.   (By Ms. Weaver)     Who were the main           12:53:14

16     advertisers who were paying for political targeting

17     segments between the time period 2014 to 2022?

18          A.   To clarify --

19               MR. BENJAMIN:     Objection to form.

20               THE DEPONENT:     To clarify, when you say      12:53:28

21     "paying for political targeting segments," you mean

22     choosing to run an ad with those as part of their

23     desired audience"?

24          Q.   (By Ms. Weaver)     Yes.

25          A.   Okay.   I don't know the -- the advertiser      12:53:37

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1      entity breakdown for those over -- over seven              12:53:44

2      years.     That -- that's not something I know off the

3      top of my head.

4            Q.     I didn't ask for the advertising entity

5      breakdown.                                                 12:53:55

6                   But can you name any companies who paid

7      for political targeted advertising from the time

8      period 2014 to 2022?

9                   MR. BENJAMIN:     Objection to form.

10     Argumentative.     And scope.                              12:54:08

11                  THE DEPONENT:     This -- I would be

12     speculating without looking at that specifically.

13     That would be something that we would look up more

14     so than know generally.

15           Q.     (By Ms. Weaver)     So the name               12:54:25

16     Cambridge Analytica doesn't come to mind?

17                  MR. BENJAMIN:     Objection to form.

18     Argumentative.

19                  THE DEPONENT:     It didn't come to mind,

20     no.                                                        12:54:36

21           Q.     (By Ms. Weaver)     Was Cambridge Analytica

22     one of the companies that paid Facebook for

23     targeted political advertising during the time

24     period 2014 to 2022?

25           A.     And, again, specifically meaning did          12:54:47

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1      Cambridge Analytica create an ad using those                 12:54:49

2      targeting options?

3           Q.   Yeah.

4           A.   I -- I don't know.

5           Q.   Do you know whether or not                         12:55:00

6      Cambridge Analytica paid Facebook $100 million for

7      advertising of a political nature in 2016?

8           A.   I do know that --

9                MR. BENJAMIN:     Objection to form.

10               THE DEPONENT:     -- that                          12:55:15

11     Cambridge Analytica advertised on our platform.

12          Q.   (By Ms. Weaver)     But you don't know the

13     amount and what for?

14          A.   I don't know the --

15               MR. BENJAMIN:     Objection -- objection to        12:55:24

16     form and scope.

17               THE DEPONENT:     I do not know the exact

18     amount or the exact targeting options that they

19     choose for their desired audience.

20          Q.   (By Ms. Weaver)     What do you know about         12:55:37

21     that topic?

22               MR. BENJAMIN:     Objection to form.

23     Argumentative and scope.

24               THE DEPONENT:     About ad targeting?        I'm

25     happy to chat through more on the segments and               12:55:52

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1      how -- anything about those.       I don't -- I'm -- I'm   12:55:54

2      not sure if that's what you meant or if you mean

3      specifically Cambridge.

4           Q.    (By Ms. Weaver)     I mean

5      Cambridge Analytica, which is the trigger for this         12:56:02

6      lawsuit, and what Cambridge Analytica paid Facebook

7      for targeted political advertising.

8           A.    I do not know details about the -- the

9      Cambridge Analytica spend, specifically.

10          Q.    Do you know anything else about what --         12:56:26

11     why Cambridge Analytica was paying Facebook for

12     advertising in 2016?

13                MR. BENJAMIN:     Objection to both form and

14     scope.

15                THE DEPONENT:     I think you're indicating     12:56:42

16     if there were other reasons they -- they paid us.

17     I do not know of those.

18          Q.    (By Ms. Weaver)     Did Facebook make

19     changes to the political targeting segments in

20     2018, as a result of the Cambridge Analytica               12:57:05

21     scandal?

22          A.    No.

23          Q.    And how do you know that?

24                MR. BENJAMIN:     Objection to form.

25                THE DEPONENT:     I was part of the team.       12:57:24

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1      But also from speaking to some of the -- throughout           12:57:26

2      my prep, in understanding how we evolved these

3      segments, and it was not linked to

4      Cambridge Analytica.

5           Q.   (By Ms. Weaver)     When you said you were          12:57:39

6      part of the team, which team do you mean?

7           A.   I worked on ads as part of the policy

8      team and -- at Meta working on ads.

9           Q.   And so what was the reason for making the

10     changes to targeted advertising in 2018?                      12:57:53

11          A.   Specifically, the segments, we evolved

12     the way we were creating them.




17          Q.   Right.   You described that earlier.

18               The question I asked you was why.            What

19     is the reason?

20          A.   Those were updated models that -- that              12:58:32

21     would function better to show people relevant ads.

22          Q.   How would they function better and how

23     did you determine that?

24               MR. BENJAMIN:     Objection to form.

25               THE DEPONENT:     When those were -- options        12:58:52

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1      are added in, we found -- like those options                12:58:54

2      were -- performed better to show people relevant

3      ads.

4             Q.   (By Ms. Weaver)     How do you know they

5      performed better?                                           12:59:03

6             A.   We saw advertisers using them, and we saw

7      people engaging with those ads.

8             Q.   Were there reports generated that

9      reflected data to you that indicated that these ads

10     were performing better prior to making the change?          12:59:19

11            A.   Meaning specifically was there a live

12     test for this?

13            Q.   I'm trying to understand the information

14     that you use when you decided to make this change.

15                 Just -- just telling me that you made the       12:59:35

16     change doesn't explain why.       So --

17            A.   Yeah.

18            Q.   -- I'm trying to understand the

19     information that you used to make this change.

20                 Were there studies?      Were there analyses?   12:59:44

21                 MR. BENJAMIN:     Objection to form.

22            Q.   (By Ms. Weaver)     I'll ask the question

23     again.

24                 Were there reports generated that

25     reflected data that indicated these ads were                12:59:54

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1      performing better, prior to making the change?                12:59:56

2           A.     Not in the form of a before and after

3      snapshot.    Our teams build new targeting options

4      because they want to evolve the platform and evolve

5      the tools we offer.                                           01:00:20

6                  This is an example of that, where the

7      2014 to 2018 method of creating those segments

8      wasn't what our -- what the team felt was like the

9      best way to do it.    And so they created the next

10     version which was an updated way that used content            01:00:39

11     engagement and performed well for those ads.             In

12     that when we launched those, advertisers used them

13     and people saw and engaged with the ads.

14          Q.     Did Facebook make any changes to how it

15     conducted political targeted advertising as a                 01:00:58

16     result of the Cambridge Analytica scandal?

17                 MR. BENJAMIN:     Objection to form.

18                 THE DEPONENT:     No.

19          Q.     (By Ms. Weaver)     Okay.    So Facebook

20     provides metrics to advertisers about their                   01:01:35

21     advertisements, correct?

22          A.     Yes.

23          Q.     What metrics does Facebook provide?

24          A.     We provide performance metrics to

25     advertisers.                                                  01:01:46

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1              Q.   Do you do those through the ad manager         01:01:50

2      tool?

3              A.   That is an example place where -- where

4      most advertisers reference and get those, yes.

5              Q.   And what is the ad manager tool?               01:02:00

6              A.   Ads manager is the UI that advertisers

7      can both place their ads.        So create the ad, upload

8      the content for it.        And then also come back to, to

9      understand how the ad is performing.

10             Q.   And what is ads -- does -- does Facebook       01:02:18

11     also provide metrics through ads APIs?

12             A.   Yes.

13             Q.   And what are those and what information

14     does it provides through them?

15             A.   An API --                                      01:02:33

16                  MR. BENJAMIN:     Objection to form.

17                  THE DEPONENT:     An API is a -- is a way to

18     programmatically call information instead of using

19     our -- our built interface.        The API includes the

20     same information.        So for an ad, it would include     01:02:51

21     the impressions and clicks, and the performance

22     metrics that -- for any given ad.

23             Q.   (By Ms. Weaver)     And does Facebook also

24     perform an analysis of the quality of the ad?

25                  MR. BENJAMIN:     Objection to form.           01:03:14

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1                   THE DEPONENT:     I want to be sure this is      01:03:17

2      in the context that you're thinking of.

3              Q.   (By Ms. Weaver)     Okay.

4              A.   As part of ad delivery, our -- as part of

5      our total value equation that I was talking about             01:03:25

6      earlier, we do include ad quality.          And that is our

7      prediction of -- of the -- the type of ad and

8      whether it is sensational or -- or "click-baity,"

9      or the quality of the images of the ad.

10             Q.   When you say "sensational," what do you          01:03:45

11     mean?

12             A.   Similar to click bait.       It's when like

13     the text is -- is "Ten great tips for" is an

14     example of sensational click bait text.

15             Q.   So what do you mean by -- sorry -- but           01:04:05

16     for the record, what do you mean by click bait?

17             A.   Click bait is -- and I will -- I'll -- is

18     like an industry concept around ads, which is

19     usually that the ad does not provide the actual

20     message.     It is meant to entice someone to click.          01:04:21

21     So it's a catchy headline in order to get to the

22     content somewhere else.

23             Q.   And do advertisers pay more for click

24     bait?

25                  MR. BENJAMIN:     Objection to form and          01:04:41

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1      scope.                                                          01:04:42

2                 THE DEPONENT:     So the importance of ad

3      quality in our -- in our delivery system is to help

4      us ensure that we're taking into consideration

5      different parts of the ad in order to determine who             01:04:51

6      should see it.

7                 So the advertiser bid is part of it.           The

8      estimated action rate, which represents like

9      people's interest, and the ad quality.         An ad of

10     lower quality is less likely to be delivered.           An      01:05:06

11     ad of higher quality that doesn't have click-baity

12     content in it is more likely to be delivered.

13           Q.   (By Ms. Weaver)     So how does Facebook

14     analyze ad quality?

15           A.   By analyze, we -- we look -- as part of              01:05:23

16     our ad delivery, it's -- the machine-learning

17     models also look at the text of the ad, the images.

18     And whether it's been -- whether people have hidden

19     it.   And kind of user feedback on it as well to

20     establish if it -- the -- a prediction of ad                    01:05:41

21     quality.

22           Q.   And what are the factors that tend to

23     cause people to take action about an ad which

24     increases its ad quality?

25           A.   Sorry.   Can you clarify.      People take           01:05:58

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1      action on an ad that increases its ad quality?              01:06:00

2           Q.   Okay.     Well, you described that one of

3      the components is, for example, whether people have

4      hidden an ad, as well as user feedback, right?

5           A.   Yes.                                              01:06:12

6           Q.   Would you describe people hiding an ad as

7      taking action?

8           A.   I would.     It doesn't increase ad quality.

9           Q.   Okay.     Are there actions that people take

10     that do increase ad quality?                                01:06:22

11          A.   No.     We use it as a way to understand if

12     people are seeing something problematic.         So it is

13     an indication of someone not wanting to seek

14     content and that's what feeds into ad quality.

15          Q.   And how do you infer that people do not           01:06:41

16     want to see content?

17          A.   By choosing to hide the ad, which is a

18     choice on -- on an ad for people.

19          Q.   And so does Facebook take steps to try to

20     identify what ad users do not want to see?                  01:06:55

21               MR. BENJAMIN:     Objection to form.

22               THE DEPONENT:     Can you clarify if you

23     mean generally as part of ad quality --

24          Q.   (By Ms. Weaver)     Yes.

25          A.   -- or on a more individual level?                 01:07:11

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1           Q.   Generally, as part of ad quality.               01:07:14

2           A.   That's precisely why we include ad

3      quality in our ad delivery is so that there is

4      part -- a feedback loop from someone potentially

5      not wanting to see something that feeds into our --       01:07:24

6      our ad delivery.   Because the goal of that delivery

7      is to show people ads they want to see.

8           Q.   And what is the purpose of an ad quality

9      score in providing it to advertisers?

10          A.   It provides advertisers with transparency       01:07:40

11     into how the -- part of their ad performance.

12          Q.   Is it true that advertisers will pay more

13     for ads with a higher ad quality score?

14               MR. BENJAMIN:     Objection to scope.

15               THE DEPONENT:     Can you clarify what you      01:08:04

16     mean "pay more for."

17          Q.   (By Ms. Weaver)     Yes.

18               How is Facebook compensated for

19     advertising?

20          A.   Advertisers create the ad and they pay          01:08:14

21     for the -- the delivery of that ad for -- for

22     the -- the -- every time the ad is shown.

23          Q.   And if advertisers don't buy ads on

24     Facebook, Facebook doesn't earn money from them,

25     right?                                                    01:08:34

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1              A.    We would not have ad spend from them,            01:08:37

2      correct.

3              Q.    And is ad spend affected by increasing ad

4      quality scores at Facebook?

5              A.    So to clari- --                                  01:08:52

6                    MR. BENJAMIN:     Objection to form.

7                    THE DEPONENT:     To clarify, ad spend is

8      based on how often -- or the fact that we've shown

9      the ad.      So it is separate from ad score.

10                   Ad score is part of the delivery to              01:09:06

11     determine who sees the ad.            It's not that they are

12     paying for ad score.

13             Q.    (By Ms. Weaver)     Right.     I understand

14     that.

15             A.    Okay.                                            01:09:17

16             Q.    This is not very complicated, and I'm

17     just trying to get something basic established,

18     right.

19                   Facebook creates ad scores so -- as a

20     marketing tool to encourage people to advertise on             01:09:25

21     Facebook because you're saying, look, these are

22     high-quality ads and you're getting responses.

23                   Is that fair?

24                   MR. BENJAMIN:     Objection to form.

25                   THE DEPONENT:     No.     It's our assessment    01:09:34

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1      of the quality of their ads so that they understand        01:09:36

2      if they had low performance, if it's due to a low

3      quality ad, or if they need to increase their

4      performance -- or increase the quality of their ads

5      in order to see better performance, because people         01:09:49

6      like better ads than bad ads.

7           Q.   (By Ms. Weaver)     Right.    And when ads are

8      performing ing better, advertisers buy more of them

9      as opposed to less of them because they're not

10     performing better, right?                                  01:09:59

11               MR. BENJAMIN:     Objection to form and

12     scope.

13               THE DEPONENT:     I think the courts --

14          Q.   (By Ms. Weaver)     Do advertisers like to

15     pay for low performing ads or high performing ads?         01:10:14

16          A.   Advertisers wouldn't be paying if the ad

17     isn't performing.   Their spend is based on the ad

18     actually being shown and the action being taken.

19          Q.   So increasing the performance of the ad

20     increases the advertiser's ad spend, correct?              01:10:31

21               MR. BENJAMIN:     Objection to form.

22               THE DEPONENT:     I think we're using the --

23     the words differently here.

24               It's -- it's that -- their spend is

25     proportional to people taking the action on their          01:10:48

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1      ad.   People taking that action is because they want      01:10:52

2      to state -- this was an ad that was relevant and so

3      they might click on it.      And then an advertiser

4      pays for that.

5                 If an ad score is low, the people are          01:11:02

6      less likely to take that action.        And it is a way

7      for advertisers to understand how to create a

8      better ad, if they want to.      There is no

9      requirement to.   But if they want to create a

10     better ad and then see better performance, because        01:11:19

11     that ad is a better ad, they will then pay for the

12     better performance.

13           Q.   (By Ms. Weaver)     Exactly.

14                And so it's in Facebook's financial

15     interest to identify the kinds of ads people do not       01:11:32

16     want to see because they will not take action and

17     the advertiser will not pay Facebook, because it's

18     not a higher performing ad, right?

19                MR. BENJAMIN:     Objection to form.

20                THE DEPONENT:     I think what you've          01:11:51

21     identified is the fact that we should want to show

22     good ads because it's better for both people who

23     want to see better ads and don't want terrible ads

24     in their newsfeed and for advertisers because now

25     they're connected in with a user.                         01:12:04

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1                   That is very different than a marketing          01:12:06

2      play that I think is being described here.            It is

3      simply that we want better ads on the platform and

4      this is an example of that.

5           Q.      (By Ms. Weaver)     Why does Facebook want       01:12:17

6      better ads on the platform?

7           A.      To provide a free service to people.

8           Q.      It's not because Facebook wants to make

9      more money?

10                  You remember that you're under oath.             01:12:26

11          A.      We make money to provide a free service

12     to people.

13          Q.      Okay.   Does Facebook --

14                  MR. BENJAMIN:     An objection to the last

15     question.                                                     01:12:34

16          Q.      (By Ms. Weaver)     Does Facebook make more

17     money when people take more actions on ads?

18                  MR. BENJAMIN:     Objection to form.

19                  THE DEPONENT:     Yes.

20          Q.      (By Ms. Weaver)     Thank you.                   01:12:51

21                  In preparing for your deposition, did you

22     review any reports that Facebook provides to

23     advertisers that reflects the metrics of their

24     advertising campaigns?

25          A.      I -- I didn't review any specific                01:13:18

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1      reports.                                                  01:13:20

2           Q.     Do you review them on a daily basis?

3           A.     Through the course of my job, no.

4           Q.     Are they -- did you at one point when you

5      were in ads integrity?                                    01:13:31

6                  MR. BENJAMIN:     Objection --

7                  THE DEPONENT:     Review --

8                  MR. BENJAMIN:     Objection to scope.

9                  THE DEPONENT:     Review reports about

10     advertisers?                                              01:13:41

11          Q.     (By Ms. Weaver)     Let me rephrase the

12     question.

13                 Facebook provides --

14          A.     Yes.

15          Q.     -- provides analytics to advertisers          01:13:45

16     through at least two kinds of tools, right?

17          A.     Yes.

18          Q.     What do those reports look like?

19                 MR. BENJAMIN:     Objection --

20                 THE DEPONENT:     In --                       01:13:56

21                 MR. BENJAMIN:     -- to form.

22                 THE DEPONENT:     In ads manager, it will

23     show for that ad, as an example, the aggregate

24     count of impressions or clicks it received and the

25     amount spent.      The same information would be          01:14:07

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1      provided in the API for someone to call if they              01:14:10

2      wanted outside of the UI.

3              Q.      (By Ms. Weaver)     And did you, in

4      preparing for this deposition today, review any

5      such reports?                                                01:14:20

6              A.      I did not go and specifically look up an

7      ads report, no.

8              Q.      Can you identify the -- all of the exact

9      metrics that are provided to advertisers?

10                     MR. BENJAMIN:     Objection to form and      01:14:37

11     scope.

12                     THE DEPONENT:     Not off the top of my

13     head.        I can explain the buckets of performance

14     metrics that we provide.

15             Q.      (By Ms. Weaver)     Okay.    What are the    01:14:52

16     buckets?

17             A.      As I said, they're -- those center around

18     the -- the performance of the ad.             So how many

19     impressions has it shown.           How many clicks has it

20     generated.        How many people have taken the action      01:15:06

21     that the advertiser, the -- that objective.

22                     Ad score is also included and the amount

23     spend.        So that an advertiser understands how their

24     ad is delivering on Facebook.

25             Q.      And just to address again an out-of-scope    01:15:21

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1      objection, at the bottom of page 2 of Exhibit 657,          01:15:26

2      it says, "Ms. Leone will be prepared to discuss:

3      The metrics Facebook provides advertisers about

4      their advertisements, which Facebook provides

5      through its Ad Manager tool and Ads APIs."                  01:15:39

6                   So you can describe the buckets, but you

7      can't identify all of the specific metrics; is that

8      right?

9              A.   I don't have memorized line item every

10     single metric.     But, yes, the purpose and the fact       01:15:55

11     that we provide how the ad is delivering, the

12     actions people have taken, and the ad score and ad

13     spend.

14             Q.   And has that changed over time from 2007

15     to the present?                                             01:16:10

16             A.   Our UIs have changed over time and so the

17     format of those has changed, yes.

18             Q.   And what has changed?

19             A.   The way we display those has changed.     As

20     we add in a new objectives, also the type of metric         01:16:28

21     that relates to it would have been added in as

22     well.

23             Q.   When you say "type of metric that relates

24     to it," what do you mean?

25             A.   For example, a click, or if you run a --       01:16:39

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1      a page like ad, we will show you how many people                 01:16:42

2      actually liked the page from that ad, which is

3      different from if you run a website click ad, how

4      many people clicked because the action they took is

5      different.     So the metric would -- would be related           01:16:59

6      to the action taken.

7             Q.    How does Facebook decide what to charge

8      for the ads that it serves for advertisers?

9             A.    Our -- there are two parts to this,

10     primarily.     There's the advertiser sets a bid.           So   01:17:23

11     they decide how much they want to pay to show the

12     ad to their desired audience.

13                  And then in our ad auction, we take that

14     into account.     We know for a given user all of the

15     ads they're eligible to see and the bids for those               01:17:42

16     ads.     And out of the total value equation, we

17     determine which ads should win the auction.            At

18     that point they are charged the second highest bid.

19            Q.    And when you say you take into account an

20     ads a given user can see, does Facebook perform a                01:18:02

21     calculation of the revenue that has been associated

22     with given users?

23            A.    Can you -- can you clarify what you mean

24     there?

25            Q.    Does Facebook perform a calculation of              01:18:19

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1      revenue that has been associated with ads served to       01:18:21

2      a given user?

3           A.   I understand you to mean whether we

4      calculate the total amount of -- that we were paid

5      for an impression to show a specific user?                01:18:35

6           Q.   Yes.

7           A.   No.

8           Q.   Facebook does and can identify all the

9      ads that were shown to a specific user, right?

10          A.   Yes.                                            01:18:48

11          Q.   And Facebook can also calculate how much

12     it was paid for a given ad campaign in which those

13     ads were shown, right?

14          A.   The total spend, yes.

15          Q.   And so you would calculate the total            01:18:59

16     spend by the number of users who received that ad,

17     if you wanted to calculate the average revenue per

18     user, right?

19               MR. BENJAMIN:   Objection to form.

20               THE DEPONENT:   So calculating the total        01:19:13

21     spend of an ad would not get me to the individual

22     revenue from showing an ad to one user.

23          Q.   (By Mr. Benjamin)   If you divided the

24     number of users by the total spend, why wouldn't

25     that give you an average revenue per user?                01:19:28

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1           A.      For that one ad?                             01:19:31

2           Q.      Or campaign, or for an ad, sure.

3           A.      Sorry.

4                   So to clarify, if you have the total

5      spend from a specific ad, and you know the 200            01:19:39

6      people who saw that ad, yes, you could divide the

7      total spend by the 200 impressions, and then say

8      there's a cost per impression.

9           Q.      And does Facebook calculate whether

10     certain Facebook users generate more revenue for          01:19:58

11     Facebook than others --

12          A.      No.

13          Q.      -- based on their responses to

14     advertising?

15          A.      No.                                          01:20:09

16          Q.      So, in fact, all Facebook users are

17     viewed equally by Facebook with regard to the

18     amount of revenue that they generate for Facebook;

19     is that fair?

20                  MR. BENJAMIN:     Objection to form.         01:20:20

21     Misstates.

22                  THE DEPONENT:     I -- we just -- we don't

23     have an assessment of user by user revenue

24     associated with them.

25          Q.      (By Ms. Weaver)     Great.                   01:20:38

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1                Did Facebook at some time engage in             01:20:39

2      efforts to restrict advertisers' use of

3      advertising-related data?

4                MR. BENJAMIN:     Objection to form.

5                THE DEPONENT:     For advertising-related       01:21:08

6      data, do you mind clarifying kind of what you're --

7      what you're thinking of there --

8           Q.   (By Ms. Weaver)     Sure.

9           A.   -- just so that I'm --

10          Q.   Sure.                                           01:21:15

11               I'm -- I'm reading actually from your

12     counsel's letter ad page 3, and it says "Ms. Leone

13     will be prepared to discuss: Facebook's policies

14     restricting advertisers' use of advertising-related

15     data (i.e. limiting it to its 'use case')."               01:21:28

16          A.   Yes.

17          Q.   What is --

18          A.   So --

19          Q.   Go ahead -- let me ask the question.

20          A.   Yeah.     Yeah, please.                         01:21:41

21          Q.   What does advertising-related data mean

22     in that sentence?

23          A.   I'm not 100 percent sure exactly what it

24     means here.   But this is meant to indicate that we

25     have terms and policies around the use of data            01:21:57

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1      that's related to ads, and this references that.               01:22:03

2                  So as an example, we have custom audience

3      terms, and we have business tool terms.

4           Q.     So what are the custom audience terms?

5           A.     When someone uploads a customer list,              01:22:25

6      they agree to those terms.       And those are the

7      policies that -- in order to use that product.

8           Q.     What is a customer list?

9           A.     A customer list is one of the types of

10     custom audiences.       It's a targeting option that an        01:22:44

11     advertiser can use.

12          Q.     Okay.     Let's talk about custom audiences

13     for a minute and take a pause.

14                 What are custom audiences?

15          A.     Custom audiences was one of that -- that           01:22:59

16     kind of like third bucket of targeting tool types.

17     Within it, customer list is one where an advertiser

18     uploads a -- a list of their existing customers.

19          Q.     And does Facebook then possess the

20     customer list?                                                 01:23:20

21          A.     No.     We hash the list when an advertiser

22     uploads it, the identifiers in that list.           And then

23     we compare it to our hash data to understand a

24     match.    And then we delete the advertiser list.

25     And we do not send them back information about the             01:23:40

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1      users who matched.                                         01:23:44

2           Q.     So what analytics does Facebook provide

3      advertisers who advertise through custom audiences?

4           A.     When an advertiser creates a custom

5      audience -- or the customer list, specifically,            01:23:56

6      here -- they would understand within ranges the

7      size of it.    And when they then use it for their

8      audience, they would get the same reporting metrics

9      that we -- or performance metrics that we provide

10     for any ad.                                                01:24:14

11          Q.     And over time has the size of the -- of a

12     custom audience that an advertiser collects change?

13                 MR. BENJAMIN:     Objection to form.

14                 THE DEPONENT:     Can you clarify what you

15     mean by "advertiser collect" here?                         01:24:28

16          Q.     (By Ms. Weaver)     Sorry.

17                 Over time has the size of a custom

18     audience targeted by an advertiser changed?

19                 MR. BENJAMIN:     Objection to form.

20                 THE DEPONENT:     The customer list is         01:24:47

21     provided by the advertiser.       That is something that

22     they decide.     The size of and -- and bringing --

23     and uploading.     So really this is -- is independent

24     of us.    They -- they make that choice based on

25     their existing customers and their desired                 01:25:04

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1      audience.                                                       01:25:07

2           Q.      (By Ms. Weaver)     Does Facebook also

3      create custom audiences not from customer lists but

4      through other characteristics?

5           A.      There were the two other types of custom           01:25:17

6      audiences.     One is based on our business tools, so

7      website custom audiences or an app custom audience.

8      And then the other category was based on engagement

9      custom audiences, which is engagement with people

10     who have interacted with your page on Facebook.                 01:25:37

11          Q.      So what are website or app custom

12     audiences?

13          A.      Website and app custom audiences are

14     reengagement through our business tools.            So when a

15     website owner or an app developer has our business              01:25:58

16     tools, as an example, a website could say, "I'll

17     put the Pixel on the check-out."

18                  They would then be able to use the

19     targeting tool to -- or the targeting option of

20     website custom audiences to reengage with people                01:26:15

21     who have taken that action on their website.

22                  THE DEPONENT:     And apologies.      Is my

23     video jumpy to anyone else?        It's a little bit --

24                  Okay.

25                  MS. WEAVER:     We can go off the record, if       01:26:26

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1      you're having an issue.                                       01:26:27

2                   THE DEPONENT:     No, we're good.

3              Q.   (By Ms. Weaver)     Okay.    And the second is

4      engagement audiences; is that correct?

5              A.   Engagement custom audiences, yes.                01:26:50

6              Q.   And what are those?

7              A.   Those are based on on-site engagement.

8      So a Facebook page, the followers of that Facebook

9      page, the advertiser for that page would be able to

10     reengage with that group of users by saying "I want           01:27:03

11     to reach back to people who've engaged with my" --

12     "or followed my page."

13             Q.   And with regard to any of these three

14     kinds of audiences, has Facebook imposed

15     restriction on the size of the audiences that                 01:27:20

16     advertisers may target from 2007 to the present?

17             A.   Yes.

18             Q.   Why?

19             A.   We've -- we have a minimum of the

20     audience size we'll deliver to help ensure that               01:27:35

21     advertisers aren't distilling information from --

22     from that delivery.

23             Q.   And how has it changed specifically over

24     time?

25                  MR. BENJAMIN:     Objection to form.             01:27:49

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1                   THE DEPONENT:     Those thresholds have --       01:27:52

2      have changed -- they've increased.          So for example,

3      it increased -- I know like for customer lists, it

4      is 100.     We have to have 100 match in order to use

5      that audience.                                                01:28:12

6           Q.      (By Ms. Weaver)     This is as of 2022?

7           A.      It is current, yes.      And over time

8      that -- that was increased.        There was always a

9      minimum, and I believe -- I don't know exactly what

10     that was.     But it -- we've seen -- we have                 01:28:29

11     revisited those thresholds.        And we increased them,

12     I believe, in 2018.

13          Q.      Do you know generally what range they

14     were in prior to 2018?

15                  MR. BENJAMIN:     Objection to form.             01:28:54

16                  THE DEPONENT:     I don't.    I don't recall

17     specifically what they were.

18          Q.      (By Ms. Weaver)     Was it less than 20?

19          A.      No.   No.

20          Q.      Was there any point in time in which             01:29:10

21     in -- from 2007 to the present, at which

22     advertisers could target custom audiences of

23     20 people or fewer?

24                  MR. BENJAMIN:     Objection to form.

25                  THE DEPONENT:     No, fewer than 20 people       01:29:28

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1      is not allowed and it has not been allowed in a                    01:29:29

2      custom audience.     And we don't enable an advertiser

3      to target singular users.        That's -- that's been --

4      that's partly why we have this protection in place.

5              Q.   (By Ms. Weaver)     And why is that?                  01:29:41

6                   Why won't Facebook allow advertisers to

7      target singular users?

8              A.   That's not the way we've built our

9      targeting system.     One of our core areas is that we

10     don't tell an advertiser who you are or provide                    01:29:56

11     information to them for that purpose.           And a -- a

12     protection to do that is to ensure that there is an

13     audience minimum.

14             Q.   And I'm under- -- I understand you're

15     saying what.                                                       01:30:09

16                  But I'm asking again, why doesn't

17     Facebook allow individual users to be targeted?

18             A.   Because we -- we don't want an advertiser

19     to have information about an individual user.               That

20     is the way we've set up our system.                                01:30:23

21             Q.   And why doesn't Facebook want an

22     advertiser to have information about an individual

23     user?

24                  MR. BENJAMIN:     Objection to form.         Asked

25     and answered.                                                      01:30:33

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1                   THE DEPONENT:     We -- we specifically tell         01:30:38

2      users that we don't tell an advertiser about them.

3      And we've consistently maintained that.            And that's

4      also why we build our products to ensure that --

5      with the protection so that that's not the outcome.               01:30:49

6              Q.   (By Ms. Weaver)     And why does Facebook

7      specifically tell users that it will not allow

8      advertisers to individually identify them?

9                   MR. BENJAMIN:     Objection to form.

10                  THE DEPONENT:     I'm not sure how to answer         01:31:07

11     this differently.

12                  But it's -- our system -- we -- we built

13     our system with that as a guiding principle because

14     we think that's an important part of being on

15     Facebook and so we've maintained that.           And these        01:31:18

16     are some of the protections that help to maintain

17     that.

18             Q.   (By Ms. Weaver)     Is it because Facebook

19     has promised users privacy?

20                  MR. BENJAMIN:     Objection to form.         Asked   01:31:30

21     and answered.

22                  THE DEPONENT:     I -- I think -- we're very

23     up front with users that we show ads and how our

24     system works, including this portion of it.               And

25     this helps us ensure that that's the case.                        01:31:47

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1                   I don't think we've -- we relate it to a        01:31:50

2      nondefined concept of privacy in the way that we're

3      talking about it right now.

4           Q.      (By Ms. Weaver)     So Facebook is not

5      preventing advertisers from targeting individual             01:32:05

6      users because of privacy concerns; is that your

7      testimony?

8           A.      That is not my testimony.

9                   MR. BENJAMIN:     Objection.     Yeah, and

10     objection --                                                 01:32:16

11                  MS. WEAVER:     I'm just trying to get --

12                  MR. BENJAMIN:     I'm sorry.

13                  MS. WEAVER:     I'm sorry.

14                  MR. BENJAMIN:     We went out of order.

15     Sorry.                                                       01:32:20

16                  Objection to form.      Misstates.

17     Argumentative.

18                  You can answer.

19                  THE DEPONENT:     It's not my testimony.

20          Q.      (By Ms. Weaver)     I'm going to ask you        01:32:26

21     again, is Facebook preventing advertisers from

22     targeting individual users to protect users'

23     privacy?

24          A.      We do not want -- we don't allow an

25     advertiser to target an individual user.            And we   01:32:45

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1      don't tell advertisers who saw their ad so that           01:32:48

2      they learn about individual users.       And we -- we

3      state that to users.

4           Q.   I just -- this is -- this is getting very

5      frustrating in this deposition because you're just        01:33:00

6      repeating the facts and I am trying to ask why.

7                So what is the reason that Facebook built

8      its platform so that in -- advertisers could not

9      target individual users?

10               MR. BENJAMIN:     Objection to form.            01:33:19

11     Argumentative.    Asked and answered.

12               You can answer.

13               THE DEPONENT:     This is one of our guiding

14     principles for our ad system.      It's part of how

15     we've built it and how we help users understand and       01:33:32

16     maintain their trust with Facebook.

17          Q.   (By Ms. Weaver)     Can you confirm that one

18     of the reasons Facebook did that was to protect

19     users' privacy?

20               MR. BENJAMIN:     Objection to form.            01:33:47

21               THE DEPONENT:     Can you provide an example

22     of what it is you mean by users' privacy and

23     protecting it?

24          Q.   (By Ms. Weaver)     Well, let me go back to,

25     you said it was a guiding principle of Facebook,          01:33:57

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1      right?                                                      01:34:00

2           A.      For building our ad system, yes.

3           Q.      Why is it a guiding principle?

4           A.      Because we wanted to ensure that people

5      both like trust the information they provide us and         01:34:14

6      continue to use our platform.         And this was one of

7      the areas where that was important.

8                   MS. WEAVER:     Thank you.

9                   MR. BENJAMIN:     Ms. Weaver, we've been --

10     we've been going for a good time, over an hour.             01:34:29

11                  Would -- would now be a good time for a

12     break?

13                  MS. WEAVER:     Just give me a moment.

14                  MR. BENJAMIN:     Of course.

15          Q.      (By Ms. Weaver)     You said that Facebook     01:34:43

16     at no time allowed advertisers to target a custom

17     audience of 20 or fewer.

18                  Do you recall that?

19          A.      Fewer than 20.

20                  MR. BENJAMIN:     Objection.     Misstates     01:34:54

21     testimony.

22          Q.      (By Ms. Weaver)     Right.

23                  What is the -- what is the lowest number

24     that Facebook has permitted advertisers to target

25     in terms of the size of a custom audience?                  01:35:04

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1           A.    I believe the customer list is 20.                 01:35:08

2           Q.    And what is the lowest number for the

3      other two kinds of audiences?

4           A.    I believe also 20.

5                 MS. WEAVER:     Great.                             01:35:27

6                 We can take a break.

7                 THE VIDEOGRAPHER:        Okay.     We're off the

8      record.   It's 1:35 p.m.

9                 (Recess taken.)

10                THE VIDEOGRAPHER:        We're back on the         01:55:02

11     record.   It's 1:55 p.m.

12                (Exhibit 658 was marked for

13     identification by the court reporter and is

14     attached hereto.)

15                MS. WEAVER:     I'm going to show you what         01:55:09

16     has been marked -- or will be marked Exhibit 658.

17                And for the record, it bears

18     Bates numbers FB-CA-MDL-03969899 through -907.

19                And I think it's up.

20                THE DEPONENT:     I have it up.                    01:55:33

21          Q.    (By Ms. Weaver)     Okay.        Great.

22                When you have a moment, please just tell

23     me what it is.

24          A.    This was similar -- like a blog post that

25     we put on our business blog that explains machine             01:55:54

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1      learning in ad delivery.                                  01:55:57

2           Q.    And looking to the second page of the

3      document ending in Bates number -- -900 are the

4      last three digits.

5           A.    Yup.                                           01:56:08

6           Q.    Do you see where it says -- first, "How

7      does Facebook decide which ads to show people," and

8      then there's an answer below the question, right?

9           A.    Yes.

10          Q.    And the second paragraph begins -- or          01:56:18

11     second paragraph begins "First, advertisers choose

12     their target audience through our self-service

13     tools."

14                Do you see that?

15          A.    Yes.                                           01:56:30

16          Q.    So specifically, which target audience is

17     this document referring to here?

18          A.    This refers to the audience selection

19     tools that an advertiser has in ads -- in something

20     like ads manager.                                         01:56:47

21                I don't know if you mean specifically

22     what does the hyperlink go to.

23          Q.    Well, that would be helpful, too.

24          A.    Okay.    That I don't know off the top of

25     my head.   So that might be -- yeah.                      01:56:59

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1              Q.   Earlier you described different kinds of     01:57:02

2      custom audiences.

3                   Do you recall that?

4              A.   Yes.

5              Q.   So which audiences are being described       01:57:07

6      here?

7              A.   This paragraph describes the totality of

8      the way an advertiser can select their audience.

9      It's not specific to custom audiences.

10             Q.   So when, for example, an advertiser wants    01:57:21

11     to use behaviors to target, they first start here

12     with this target audience; is the right?

13             A.   What this sentence refers to is in ads

14     manager when someone goes in to select their

15     desired audience, it's talking about all of the           01:57:39

16     options there of which one is behaviors.          One

17     category is behaviors.      Custom audience is another

18     category.

19             Q.   Okay.   And looking at the next page

20     ending at Bates number -901, do you see a graph on        01:57:55

21     that page?

22             A.   I see the total value equation drawn out.

23             Q.   What is the total value equation?

24             A.   Total value equation is the description

25     of our ad auction in the -- in -- in ad delivery.         01:58:13

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1           Q.   I'm sorry.                                      01:58:20

2                You said it's the "description of our ad

3      auction in ad delivery"?

4           A.   Our -- so -- sorry.

5                Our ad delivery -- choosing the ad that         01:58:35

6      we will show someone is based on our auction.

7      Total value score is how we make that

8      determination.    It's the machine learning that is

9      used in ad delivery to make the determination of

10     which ad wins the auction.                                01:58:52

11          Q.   Okay.    So the algorithm is performing an

12     analysis of the three factors below the words

13     "Total Value" in the graph to determine which ad is

14     shown; is that right?

15          A.   Multiple -- yes.     Machine learning models    01:59:06

16     are performing that, yes.

17          Q.   And even though it says "Total Value,"

18     what that actually means is the ad that is shown?

19          A.   Every ad that a person is eligible to see

20     receives a total value score, and then the ad that        01:59:19

21     has the highest total value score wins the auction.

22          Q.   And when it wins the auction --

23          A.   It doesn't show.

24          Q.   -- is Facebook then paid revenue for the

25     total value ad that's selected?                           01:59:39

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1                   MR. BENJAMIN:     Objection --                     01:59:44

2                   THE DEPONENT:     The ad that --

3                   MR. BENJAMIN:     Objection to form.

4                   THE DEPONENT:     And apologies.      I didn't

5      mean to interrupt your question there.                          01:59:50

6                   The total value score is calculated.         The

7      one with the highest total value wins the auction

8      and that is the ad we show a user.          An advertiser

9      pays for the performance of their ads and the

10     number of times an ad is shown.                                 02:00:04

11          Q.      (By Ms. Weaver)     Got it.

12                  So looking at the components of total

13     value, there's the "Advertiser Bid," which we

14     discussed, right?

15          A.      Yes.                                               02:00:15

16          Q.      And then it says "Estimated Action Rate."

17                  What is that?

18          A.      The estimated action rate is the

19     likelihood of someone taking the action that aligns

20     with the advertiser's objective.                                02:00:26

21          Q.      And this document describes that as the

22     business objective, right?

23          A.      Yes, that's the name of the -- the ad

24     objective.

25          Q.      And that could be a click or a view or an          02:00:41

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1      impression, or something else, right?                      02:00:43

2                MR. BENJAMIN:     Objection to form.

3                THE DEPONENT:     Yes.   It could be that the

4      advertiser is trying to -- has an ad with a call to

5      action to go to a website to sign up to like a page        02:00:58

6      for brand awareness.     Those are their objectives.

7      Why are they running this ad.

8           Q.   (By Ms. Weaver)     And how does Facebook

9      calculate the estimated action rate?

10          A.   The estimated action rate, which is for          02:01:16

11     the person we're thinking about showing this ad to,

12     is the likelihood that they will take that action.

13     And that's based on their activity on Facebook.

14     These are the machine-learning models that are --

15     that are involved.     And they take into                  02:01:31

16     consideration activity on Facebook.        So the pages,

17     an ad someone has interacted with.       The way they've

18     interacted with those.     And then also activity off

19     of Facebook such as on websites and apps.

20          Q.   And just to clarify testimony earlier,           02:01:49

21     for detailed targeting, the underlying activity

22     that is the basis for determining interests and

23     behaviors, are those the same set of inputs?

24               And let me just -- I'll ask a bad

25     question and then I'll ask a good one.                     02:02:28

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1                  I thought when we talked the first time       02:02:30

2      that interests were not based on off-platform

3      activity and that they were limited to maybe only

4      pages and groups.     But that behaviors -- incurred

5      behaviors are based on basically almost all the           02:02:40

6      activity on Facebook with some exemptions and

7      off-platform.

8                  MR. BENJAMIN:     Objection to form.

9           Q.     (By Ms. Weaver)     Is that roughly

10     accurate?                                                 02:02:56

11          A.     You're correct that there are distinction

12     between interests and behaviors.         Interests are

13     based on on-site page and ad interaction.

14     Behaviors are a broader set of activity on-site.

15                 Yeah, I think that clarifies kind of what     02:03:08

16     you were getting at.

17          Q.     Okay.   And -- and behavior is also

18     offsite, correct?

19                 MR. BENJAMIN:     Objection to form.

20                 THE DEPONENT:     No, I -- so behavior        02:03:28

21     targeting options are not offsite.

22                 Earlier when we were discussing

23     behavioral targeting, I was referencing the broader

24     personalization including ad delivery.

25          Q.     (By Ms. Weaver)     Okay.    Now, for the     02:03:43

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1      estimated action rate, what is the core set of             02:03:45

2      inputs and activities that help Facebook derive the

3      estimated action rate?

4                  MR. BENJAMIN:     Objection to form.

5                  THE DEPONENT:     It is on-site behavior.      02:03:58

6      So, again, people's activity on Facebook and

7      offsite based on our third -- our -- our business

8      tools and information that's shared back with us.

9             Q.   (By Ms. Weaver)     And then is an algorithm

10     performing an analysis to predict the next possible        02:04:16

11     action a user might make?

12            A.   The estimated action rate is the

13     likelihood that the user takes an action and it

14     uses those -- the -- the machine learning

15     classifiers use that activity as input.                    02:04:34

16            Q.   Okay.   And for "Ad Quality" -- I know we

17     covered this.

18                 But for the record and clarity, ad

19     quality -- what is the core set of data that

20     Facebook draws upon to determine ad quality?               02:04:48

21                 MR. BENJAMIN:     Objection to form.

22                 THE DEPONENT:     It's the content of the

23     ads.    So what an assessment, for example, of click

24     bait and our understanding of the -- the content of

25     that ad, as well as users' feedback such as X outs,        02:05:03

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1      which is reporting.                                            02:05:09

2           Q.      (By Ms. Weaver)     And the higher the ad

3      quality, and the higher the estimated action rate,

4      the better the total value for the advertising,

5      right?                                                         02:05:27

6           A.      The higher the ad quality and the higher

7      the estimated action rate, the higher the total

8      value score will be.

9           Q.      And then do higher total value scores

10     correlate with increased revenue to Facebook?                  02:05:41

11                  MR. BENJAMIN:     Objection to form and

12     scope.

13                  THE DEPONENT:     I think to -- to make this

14     very clear, the way we've built this total value

15     score helps ensure that it's not just the highest              02:05:55

16     bidder that wins the action.         Otherwise we would

17     just say whoever is highest bidding gets the spot

18     on the ad.     By including estimated action rate and

19     ad quality, we're actually taking into

20     consideration people's preferences of what they                02:06:12

21     would want to see and the quality of that ad.

22                  And it actually means that the highest

23     bidder is not always going to be the winner.              So

24     better ads that are more relevant are the ones that

25     win and then an advertiser pays for.                           02:06:27

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1           Q.   (By Ms. Weaver)     And when Facebook is             02:06:31

2      serving better ads, Facebook is more successful

3      financially, right?

4                MR. BENJAMIN:     Objection to form.         Asked

5      and answered.    Vague.   And outside of scope.                02:06:39

6                THE DEPONENT:     When we serve better ads,

7      people's experience is better.       And that is a

8      common goal of ours across the board.

9           Q.   (By Ms. Weaver)     Does Facebook's revenue

10     increase when they make -- serve better ads?                   02:06:55

11               MR. BENJAMIN:     Same objections.

12               THE DEPONENT:     As compared to when we

13     serve bad ads?

14          Q.   (By Ms. Weaver)     Yes.

15          A.   I don't think we can -- yeah.         I don't        02:07:07

16     know that that is a comparison we make because we

17     strive to show good ads.     So I don't have a

18     comparison point there.

19          Q.   Do advertisers put advertising on

20     Facebook if they feel like their advertisements are            02:07:19

21     not effective?

22               MR. BENJAMIN:     Objection to form.         Calls

23     for speculation.    Outside of scope.

24               THE DEPONENT:     If an advertiser does not

25     see performance on an ad, that -- they will use                02:07:35

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1      that information for how they then choose to spend             02:07:39

2      their money across platforms.

3           Q.   (By Ms. Weaver)     Okay.    So is it -- just

4      one last question.

5                The user activity, just for the record,              02:07:51

6      that Facebook uses to analyze and create the

7      estimated action rate and the ad quality is not

8      limited only to publicly shared activity, it

9      includes private activity as well, correct?

10               MR. BENJAMIN:     Objection to form.         Asked   02:08:11

11     and answered.

12               THE DEPONENT:     What I shared earlier is

13     relevant here as well.     We don't have a dichotomy

14     of private and public activity.       And so it's not

15     limited in that manner because it's not the way our            02:08:24

16     product works.

17               MS. WEAVER:     Okay.   Thank you.

18               (Exhibit 659 was marked for

19     identification by the court reporter and is

20     attached hereto.)                                              02:08:28

21               MS. WEAVER:     We're going to mark tab 4,

22     Josh, if you don't mind.

23               We'll mark as Exhibit 659 a document

24     bearing Bates numbers -03526129 through -133.

25          Q.   (By Ms. Weaver)     And while we're waiting          02:09:10

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1      for it to load, what is a keyword?                          02:09:11

2           A.     I'm -- I'm not sure what we're

3      referencing.

4           Q.     Okay.   Do you -- have you used the phrase

5      "keywords" in the context of advertising at                 02:09:22

6      Facebook?

7                  MR. BENJAMIN:     Objection to form.

8                  THE DEPONENT:     It is not a type of

9      targeting we offer.     It is how we describe what an

10     advertiser inputs in a search to select the                 02:09:38

11     matching interests.

12                 So as I described, an advertiser

13     selects -- creates an ad, selects their -- their

14     desired audience.     And they could input something

15     like Nike and see the interests that match that in          02:09:54

16     order to select that interest.        That's effectively

17     a search keyword.

18          Q.     (By Ms. Weaver)     And does Facebook have

19     limitations on what keywords advertisers can use?

20          A.     So, again, to be clear, it's not that           02:10:14

21     we're providing them keywords.        The keyword is what

22     an advertiser chooses to search.         They can search

23     against whatever they want.       But we've had

24     interests that we provide.       And if their keyword

25     matches, we'll render that interest.                        02:10:29

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1           Q.    Okay.     I'm sorry.                               02:10:30

2                 The question I asked was, does Facebook

3      limit what keywords advertisers can use?

4           A.    Do you mean --

5                 MR. BENJAMIN:     Objection to form.               02:10:39

6      Argumentative.      Asked and answered.

7                 THE DEPONENT:     Can you clarify what you

8      mean --

9           Q.    (By Ms. Weaver)        I'm not saying Facebook

10     is providing the keyword, right?                              02:10:47

11          A.    I understand.

12          Q.    Advertisers are using a keyword.

13                Does Facebook say you can't use these

14     kinds of keywords?

15          A.    Can you clarify what you mean by "use,"            02:10:56

16     for -- from the advertiser perspective?

17          Q.    You said a keyword can be used to search

18     against whatever the advertiser is looking for,

19     right?

20          A.    So an advertiser can input a word, a               02:11:11

21     keyword.

22          Q.    Right.

23          A.    We don't limit what they search for, but

24     we limit what we will return to our interests.          And

25     we don't provide anything as an interest.                     02:11:24

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1                  So there is a limitation on what an           02:11:27

2      advertiser could use for targeting.        They could

3      choose to search any number of words, but those

4      won't all have a matching interest that's actually

5      used for targeting.                                       02:11:41

6           Q.     Okay.   I -- I think I understand the

7      distinction you're making, but I'm not sure because

8      it's one of two things.

9                  Can an advertiser search for a word, but

10     then it just won't be used in the advertisement; is       02:11:55

11     that what you're saying, because I don't understand

12     the difference?

13          A.     I'm saying -- the difference is we have

14     the interests that we provide as part of the

15     selection of the target or -- or the desired              02:12:12

16     audience.    And in order for an advertiser to find

17     which interests they want to use for targeting,

18     they can input a search term.

19                 If that search term has no matches, then

20     there won't be anything that's added as part of the       02:12:28

21     criteria for their targeting.

22                 If it has a match, they can then select

23     from those matches to say I want -- if I type in

24     shoes, as an advertiser, and there is an interest

25     that matches that keyword search, then we'll show         02:12:42

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1      them shoes and they can select that interest in                  02:12:45

2      order to -- to find their target audience.

3           Q.     Right.

4                  And so if the -- are there any

5      limitations on the search terms that will actually               02:12:55

6      be employed by Facebook, other than it's not one of

7      the interests?

8                  MR. BENJAMIN:     Objection.

9                  THE DEPONENT:     The only --

10                 MR. BENJAMIN:     Objection to form.                 02:13:06

11                 THE DEPONENT:     The way we use those

12     search terms is to render an interest for the

13     advertiser to choose from.       If it doesn't have a

14     match, there's no other use for that keyword search

15     term they've inputted.                                           02:13:22

16          Q.     (By Ms. Weaver)     Does Facebook have any

17     restrictions on what search terms advertisers can

18     use as --

19                 MR. BENJAMIN:     Objection.

20          Q.     (By Ms. Weaver)     -- as a matter of                02:13:31

21     policy?

22                 MR. BENJAMIN:     Objection to form.         Asked

23     and answered.    Scope.

24                 THE DEPONENT:     There isn't a limit for

25     what an advertiser can type into the search box.                 02:13:42

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1      It has to actually match -- in order to be used for           02:13:47

2      targeting, they have to select an interest from

3      those search results.

4           Q.      (By Ms. Weaver)     But you're not aware of,

5      for example, certain words being blacklisted -- or            02:13:56

6      I hear the new phrases -- deny listed by Facebook

7      for use in keyword searches?

8                   MR. BENJAMIN:     Objection to form.

9                   THE DEPONENT:     No.

10          Q.      (By Ms. Weaver)     Okay.    Well, let's take    02:14:16

11     a look at Exhibit 658 -- oh, no.          Sorry 659.

12     Apologies.

13          A.      I have it up.

14          Q.      And the first question is, have you seen

15     this document before?                                         02:14:33

16          A.      Yes.    I saw it as part of prep for this

17     deposition.

18          Q.      Okay.    In the second sentence -- well,

19     let's start, do you see where the first -- the

20     email on top says, "Hi John, As a technical matter,           02:14:45

21     you can target based on specific keywords in a

22     status update or group membership.          However, our Ad

23     Guidelines prohibit advertisers from 'imply[ing] by

24     targeting...a user's personal characteristics

25     within the following categories," and then it lists           02:15:02

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1      "race or ethnic origin; religion or philosophical         02:15:04

2      belief; age; sexual orientation or sexual life;

3      gender identity; disability or medical condition;

4      financial status or information; membership in a

5      trade union; and criminal record."                        02:15:18

6                  Do you see that?

7           A.     Yes.

8           Q.     And so is it true that Facebook prohibits

9      advertisers from using the keywords relating to the

10     topics described there?                                   02:15:30

11          A.     This policy --

12                 MR. BENJAMIN:     Objection.

13                 THE DEPONENT:     This policy prohibits

14     advertisers -- this is one of our content

15     policies -- and it disallows advertisers from             02:15:44

16     calling out any of these attributes in the content

17     of their ad.

18          Q.     (By Ms. Weaver)     And what -- why does

19     Facebook have that policy?

20          A.     This policy exists because we understand      02:15:59

21     that people don't want their attributes called out

22     in an ad.

23          Q.     And how long has this policy been in

24     effect?

25          A.     Many years.     This is like pre 2008         02:16:13

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1      policy.                                                        02:16:16

2              Q.   And among the attributes that users don't

3      want called out in an ad is age and gender

4      identity, right?

5              A.   Correct.                                          02:16:28

6              Q.   Now, when we talked about core audiences,

7      you said that for core audiences Facebook targets

8      age and gender, right?

9              A.   Yes.

10             Q.   Why is there a distinction?                       02:16:38

11             A.   Again, this is about the ad content.         An

12     ad content cannot call out people's specific

13     attributes.

14             Q.   What does -- how does core audience

15     function?                                                      02:16:54

16             A.   It's not about the content --

17                  MR. BENJAMIN:     Object -- objection to

18     form.

19                  THE DEPONENT:     It's not about the content

20     of an ad.                                                      02:17:00

21             Q.   (By Ms. Weaver)     Meaning people are being

22     targeted by their age or gender, but the content of

23     the ad doesn't reveal it?

24             A.   We -- we don't allow content of the ad to

25     call out these attributes.        That is completely           02:17:13

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1      separate from the audience selection by the                      02:17:18

2      advertiser.

3           Q.      So people can be targeted by their age or

4      gender, but Facebook just doesn't want the ad

5      itself to reveal to the user that they are being                 02:17:31

6      targeted by their age or gender, among other

7      things; is that right?

8                   MR. BENJAMIN:     Objection to form.

9      Argumentative.     Mischaracterizes.

10                  THE DEPONENT:     We provide transparency           02:17:45

11     into the targeting options so a user has "Why Am I

12     Seeing This," and they would be able to understand

13     the targeting options.       So that's not the

14     rationale.     They still have that information.          This

15     is a content policy.                                             02:17:59

16          Q.      (By Ms. Weaver)     When people receive an

17     ad, do they know in the moment that they receive it

18     that they're being targeted because of their age or

19     gender, especially if the ad hides that fact by not

20     referencing it?                                                  02:18:18

21                  MR. BENJAMIN:     Objection to form.

22                  THE DEPONENT:     I think that assumes that

23     all ads would reference it.        But the -- the user

24     would see an ad, they know that ads are sponsored

25     content and involve targeting.         They also have the        02:18:30

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1      tool to see those specific parameters.                          02:18:33

2           Q.   (By Ms. Weaver)     Okay.    Let me ask this,

3      why is it that Facebook concluded that people don't

4      want to see ads that, on their face, target them by

5      "race or ethnic origin; religion or philosophical               02:18:50

6      belief; age; sexual orientation or sexual life;

7      gender identity; disability or medical condition

8      (including physical or mental health); financial

9      status or information; membership in a trade union;

10     and criminal record"?                                           02:19:06

11               MR. BENJAMIN:     Objection to form and

12     scope.

13               THE DEPONENT:     We understood that people

14     did not like those ads, and we made it a policy to

15     not allow that -- the content to call out people's              02:19:17

16     attributes.

17          Q.   (By Ms. Weaver)     How did Facebook decide

18     that people do not like the ads that focus on the

19     attributes that I just described?

20               MR. BENJAMIN:     Objection to form.         Scope.   02:19:31

21               THE DEPONENT:     In the content -- this is

22     from my personal experience, because it -- not

23     related to ad targeting.     We understand from my --

24     the way I've understood this policy, we measure

25     X outs, et cetera.   And so we know which ads have              02:19:50

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1      an X out, and this is an example of where that can         02:19:53

2      inform our policies.

3              Q.   (By Ms. Weaver)     For the record, what do

4      you mean by "X out"?

5              A.   Oh, apologies.     Reports.                   02:20:01

6              Q.   I'm sorry.   What's that --

7              A.   When -- when someone sees an ad, they

8      have the ability to say, "I don't want to see this

9      ad."     That is one way that we understand ads that

10     people do and don't want to see as -- and from my          02:20:14

11     understanding, that's how we develop policies like

12     this.

13             Q.   And for this policy, which you said was

14     developed in pre 2008, what was the information

15     that Facebook relied on in determining that people         02:20:28

16     don't want to see ads that, in their content,

17     target them for these characteristics?

18             A.   I'm not an expert in our ad content

19     policies and their early development.           That's

20     outside of ad targeting.        The -- but, in general,    02:20:47

21     we use feedback signals.        X outs is an example of

22     that.

23             Q.   So, in fact, Facebook may target users

24     because of "race or ethnic origin; religion or

25     philosophical belief; age; sexual orientation or           02:21:05

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1      sexual life; gender identity; disability or medical            02:21:08

2      condition (including or physical or mental health);

3      financial status or information; membership in a

4      trade union; and criminal record," but Facebook's

5      policy is just not to make it apparent in the                  02:21:22

6      content of the ad; is that fair?

7                   MR. BENJAMIN:     Objection.     Argumentative.

8      Misstates.     Asked and answered.       Outside the scope.

9                   THE DEPONENT:     No, that's not accurate.

10     We don't provide targeting options based on this               02:21:39

11     data on many -- a lot of the data you read out.

12     And this is specifically a content policy.            It is

13     distinct from the targeting options we provide.

14             Q.   (By Ms. Weaver)     Facebook does target

15     people based on age and gender, correct?                       02:21:55

16             A.   Correct.   The rest of the list, no.

17             Q.   Does Facebook draw inferences about

18     users' financial status or information to determine

19     what action they might next take?

20             A.   No.                                               02:22:12

21                  MR. BENJAMIN:     Objection -- objection to

22     form.

23             Q.   (By Ms. Weaver)     Does Facebook use any of

24     the categories identified in Exhibit 659 in its

25     analyses about estimated actions?                              02:22:21

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1           A.   These categories -- we don't have all of           02:22:31

2      these categories.     Like we do not collect race or

3      ethnic origin.     We don't collect disability or

4      medical condition, financial status, trade union

5      membership and criminal record.                              02:22:44

6                And we don't create inferences about

7      these -- any of these to determine the attribute or

8      predict someone's attribute.

9           Q.   Is it your testimony, on behalf of

10     Facebook, that at no point in time did Facebook              02:22:59

11     infer ethnic origin or race about users?

12          A.   Yes, we did not infer people's

13     characteristic, their ethnic or racial origin.         And

14     maybe I should -- I was -- no, we did not.         I was

15     saying "yes" to your question to clarify.                    02:23:21

16          Q.   Do you see a reference here to the

17     minimum cluster size in this document under

18     there -- there's a box here that says "Redacted -

19     Privileged."

20          A.   Yes, I see the reference.                          02:23:41

21          Q.   What is "minimum cluster size"?

22          A.   This is similar to what we discussed

23     about the minimum audience size we will allow for

24     an ad to run -- or we require.

25          Q.   Sorry.                                             02:23:55

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1                What's the difference between minimum           02:23:55

2      cluster size and minimum audience size?

3           A.   I understand those to be the same.

4           Q.   Okay.   So a little bit lower on this

5      page, the last full paragraph, do you see where           02:24:17

6      John Patten wrote to Rob Sherman, "So under the

7      idea that if you provide info on FB even if it is

8      medically sensitive, it is ad targetable."

9                Do you see that?

10          A.   I see it.                                       02:24:35

11          Q.   And you disagree with that statement?

12          A.   Yes.

13          Q.   So what does Facebook do to prevent

14     information that is medically sensitive being used

15     to create inferences about users?                         02:24:49

16               MR. BENJAMIN:     Objection.     Form.

17               THE DEPONENT:     We don't collect medical

18     information, and we also separately do not infer

19     someone's medical condition.

20          Q.   (By Ms. Weaver)     When you say you don't      02:25:10

21     collect it, what do you mean?

22          A.   I mean that there isn't like a place

23     where someone says -- similar -- as an example, to

24     reference gender, we have -- part of profile is

25     gender or age and someone provides that, there is         02:25:25

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1      not a similar medical condition field that people         02:25:29

2      fill out or provide.

3           Q.   Right.

4                But if there are conditions, for example,

5      that -- you know, asthma, or something like that,         02:25:40

6      does -- does Facebook infer things about users

7      based on that information?

8                MR. BENJAMIN:     Objection.

9                THE DEPONENT:     We don't -- we don't have

10     that information.                                         02:25:55

11          Q.   (By Ms. Weaver)     What if I click on a

12     page for a medical provider, what does Facebook do

13     with that information?

14               MR. BENJAMIN:     Objection --

15               THE DEPONENT:     We --                         02:26:05

16               MR. BENJAMIN:     -- to form.

17               THE DEPONENT:     We would know you clicked

18     on a page from a medical provider.        We're not

19     making an inference about your medical condition.

20          Q.   (By Ms. Weaver)     And what does Facebook      02:26:15

21     do with the information that I clicked on a page

22     for a medical provider?

23               MR. BENJAMIN:     Objection to form and

24     scope.

25               THE DEPONENT:     Within the context of ads,    02:26:27

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1      as we've discussed, page engagement can -- can                    02:26:29

2      inform the future ads people see.

3              Q.      (By Ms. Weaver)     And what if my friend

4      posts something about a cancer survivor group and I

5      like it, does that activity, which would otherwise                02:26:50

6      be included in behaviors, inform what behaviors I

7      might be included in?

8                      MR. BENJAMIN:     Objection to form.

9                      THE DEPONENT:     We don't have a behavior

10     targeting option that is about -- like cancer,                    02:27:19

11     friends of cancer survivors.            That's not a

12     targeting option.

13             Q.      (By Ms. Weaver)     Does Facebook use that

14     information in determining my estimated actions?

15             A.      We don't use the content of your friend's         02:27:45

16     post.        That's not something we use currently.

17             Q.      Did Facebook use the contents of my

18     friend's posts at any point in time from 2007 to

19     the present?

20             A.      No.                                               02:28:03

21             Q.      So why did you say "currently"?

22                     MR. BENJAMIN:     Objection.     Form.

23     Argumentative.

24                     THE DEPONENT:     I was -- I was just

25     honestly repeating the tense of the question.                It   02:28:15

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1      wasn't meant to be an exclusion.                                  02:28:18

2              Q.   (By Ms. Weaver)     Do you understand how

3      the algorithms work and what inputs they use to

4      create estimated actions?

5                   MR. BENJAMIN:     Objection to form.                 02:28:39

6      Compound.     Vague.

7                   THE DEPONENT:     I understand the machine

8      learning that -- that is how we generate the

9      estimated action rate and the inputs that they use.

10             Q.   (By Ms. Weaver)     And what are the inputs          02:28:54

11     for the machine learning that you just mentioned?

12             A.   On-site activity and offsite activity

13     through our business tools.

14             Q.   And specifically what on-site activity?

15                  MR. BENJAMIN:     Objection to form.         Asked   02:29:09

16     and answered.

17                  THE DEPONENT:     The ad engagement, page

18     engagement, people's activity.         The info they

19     provide to us.     Those are all parts of that

20     estimated action rate.                                            02:29:18

21             Q.   (By Ms. Weaver)     Does it consider what

22     actions I take with regard to content my friends

23     post?

24             A.   No.

25             Q.   Does it consider the contents of what I              02:29:43

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1      post?                                                            02:29:45

2              A.   No.

3              Q.   Okay.    I'm going to return to a topic we

4      began a while ago on page 3 of Exhibit 656.

5                   We were discussing "Facebook's policies             02:30:21

6      restricting advertisers' use of advertising-related

7      data (i.e. limiting it to its 'use case')."

8                   Do you recall that?

9              A.   I'm sorry.    On 656?

10             Q.   I'm sorry.    Let me make sure I have the           02:30:36

11     right -- 657.

12                  I'm -- I'm sorry.       That's my fault.

13             A.   Yes, I have it up.

14             Q.   So do you recall the bullet point on

15     page 3 that we began discussing but did not                      02:30:47

16     complete?

17             A.   Yes.

18                  Sorry.    I'm trying to find the exact

19     wording on here.

20             Q.   No problem.                                         02:30:56

21             A.   Yes.

22             Q.   So what does -- what are Facebook's

23     policies restricting advertisers' use of

24     advertising-related data?

25             A.   There are a few relevant policies.          As an   02:31:18

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1      example, our customer list policies limits the way          02:31:21

2      people can use that information.       Our business

3      tools do as well.

4                And we also require -- do not allow

5      advertisers to use information that they understand         02:31:34

6      from the ad for purposes other than understanding

7      the performance of their ad.

8           Q.   What policies in particular are you

9      referring to?

10               MR. BENJAMIN:     Objection.                      02:31:50

11               THE DEPONENT:     I don't -- I -- I can look

12     up the exact like policy number, the -- do you mean

13     like in those terms which number?

14          Q.   (By Ms. Weaver)     Just descriptively, what

15     policies are you referring to?                              02:32:02

16          A.   All of those terms have policies that

17     restrict how an advertiser -- and the requirements

18     for that data and disallow an advertiser from

19     taking specific actions with it.

20               So as an example, our policy -- our ad            02:32:19

21     guidelines, ad policies disallow an advertiser from

22     using ad targeting to harass or provoke people.        It

23     also disallows advertisers from taking information

24     to -- for purposes other than understanding the

25     performance of their ad.                                    02:32:38

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1           Q.     Okay.   What we're talking about here are     02:32:40

2      the advertising of -- using advertising-related

3      data beyond a use case, right?

4           A.     Yes.

5           Q.     What is a use case?                           02:32:52

6           A.     To place the ad --

7           Q.     You're saying --

8           A.     -- in this context.

9           Q.     -- for advertisers, the use case should

10     be limited solely to placing an ad; is that right?        02:33:02

11          A.     Placing the ad and the -- the performance

12     of that ad.

13          Q.     And what does advertising-related data

14     mean in this context?

15          A.     Related to ad targeting and ad delivery,      02:33:23

16     it means the way an advertiser sets up their --

17     their ad and the performance of that ad.

18          Q.     Does that exclude information about who

19     receives the ad and the engagement or action rate?

20                 MR. BENJAMIN:   Objection to form.            02:33:52

21                 THE DEPONENT:   Let me know if this

22     answers your question.

23                 We -- we don't provide advertisers

24     with -- who has seen their ad at an individual user

25     level.    That's not something we give them.              02:34:03

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1                 They understand -- they are provided                 02:34:05

2      performance metrics that are aggregated, and those

3      are for the purpose of understanding the

4      performance of that ad.      That's the use case.

5            Q.   (By Ms. Weaver)     So at some point in              02:34:17

6      time, when the audience -- minimum audience number

7      was 20, an advertiser could identify 20 people from

8      its customer list, run an ad, and then Facebook

9      would provide aggregated -- meaning aggregated for

10     those 20 people -- how many people took action, for             02:34:36

11     example; is that right?

12                MR. BENJAMIN:     Objection to form.         Calls

13     for speculation.

14                THE DEPONENT:     An advertiser could create

15     a custom customer list.      It would have to have at           02:34:49

16     least 20 matches in order for it to be used in an

17     ad.   They could then run that ad.       And we would

18     show the reporting metrics related to that ad,

19     again, in an aggregated form.

20           Q.   (By Ms. Weaver)     And what are the                 02:35:05

21     reporting metrics that Facebook would provide for

22     that ad?

23           A.   These were the metrics categories that --

24     that I covered earlier of impressions -- so number

25     of impressions.    Number of clicks.      Ad spend.             02:35:17

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1      Ad score.                                                    02:35:21

2              Q.      And for these 20 people, how many

3      categories of interests could an advertiser seek?

4                      MR. BENJAMIN:     Objection to form.

5      Misstates.                                                   02:35:38

6                      THE DEPONENT:     Can you clarify what you

7      mean by an advertiser could seek interests?

8              Q.      (By Ms. Weaver)     Sure.

9                      So I'm -- here's my audience of 20, and I

10     want to identify the following 10 categories of              02:35:47

11     interests.

12                     Was there a cap on the number of

13     interests or behaviors that an advertiser could

14     identify to target the 20 people?

15             A.      An advertiser can use a customer list and    02:36:07

16     they can use additional targeting options with that

17     list.        But an ad cannot add audience, cannot be

18     narrowed be- -- below the threshold in order for us

19     to deliver it.

20             Q.      I'm not talking about the audience now.      02:36:22

21     I'm talking about the characteristics that are

22     being focused on, right, the interests or the

23     behaviors.

24                     Was there a cap on the behaviors that

25     could be used to target the audience?                        02:36:33

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1           A.     There is not a cap in the number of            02:36:37

2      behaviors someone can choose.        But if choosing

3      those behaviors drops the audience below a certain

4      level, we will not deliver that ad.

5           Q.     And what is the level below which it may       02:36:49

6      not drop?

7           A.     It is 100 people.

8           Q.     And why is the limit 100 people?

9           A.     When we've done assessments of -- across

10     our system to ensure that people aren't able to            02:37:11

11     reidentify, that was one of the -- that was a

12     threshold that we felt comfortable with as a

13     prevention.

14          Q.     When was the 100 people threshold

15     established?                                               02:37:24

16          A.     I believe it was 2018.       And before that

17     there was a threshold.      It was lower, but there's

18     always been a threshold.

19          Q.     What was the lowest threshold that has

20     existed?                                                   02:37:39

21                 MR. BENJAMIN:     Objection to form.

22                 THE DEPONENT:     20, I believe.

23          Q.     (By Ms. Weaver)     And when -- for what

24     years was the 20 threshold operative?

25          A.     I believe up until between 2016 and 2018.      02:38:12

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1      I'm not sure if we went straight to 100 or -- or in       02:38:17

2      between.

3           Q.    And when the threshold was 20, could

4      advertisers use geo location as a target?

5           A.    Advertisers can use location targeting.        02:38:41

6      If the ad audience, after any targeting selection,

7      drops below the threshold of 100, it would then not

8      deliver.   We won't deliver that ad.

9           Q.    That's the current policy, correct?

10          A.    And -- yes.                                    02:39:06

11          Q.    But if the threshold was 20, could an

12     advertiser use location targeting?

13          A.    Yes.   Again, they can select location.

14     And if it ever drops below 20, that ad would not

15     deliver.                                                  02:39:21

16          Q.    And when the threshold was 20, an

17     advertiser could use geo location in combination

18     with an unlimited number of interests or behaviors

19     if they were within Facebook's roster of them,

20     correct?                                                  02:39:39

21                MR. BENJAMIN:   Objection to form.

22                THE DEPONENT:   They can use any number to

23     set up their targeting audience.      If it ever drops

24     below the threshold, it will not deliver,

25     regardless of how many options they've selected.          02:39:50

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1              Q.   (By Ms. Weaver)     So to be clear, until         02:39:55

2      2016 or 2018, when the threshold was raised to 100,

3      an advertiser could identify its audience of up to

4      20.     It could identify geo location.        Then it could

5      identify interests or behaviors, and as many as                02:40:13

6      possible, but no restriction.

7                   And then Facebook would run and return --

8      would run the ad and return metrics to the

9      advertiser, assuming they did not go below the

10     threshold, and provide information about                       02:40:31

11     engagement, views, clicks, et cetera, right?

12             A.   Can we clarify --

13                  MR. BENJAMIN:     Objection -- objection to

14     form.

15                  THE DEPONENT:     At the top there when you       02:40:42

16     were reading through or -- or -- top of your

17     question, identify -- I think the first part was

18     you said identify 20.

19                  What -- what did you mean there?

20             Q.   (By Ms. Weaver)     So let's assume the --        02:40:55

21     in this first scenario, it's a user list.

22             A.   So a custom audience.

23             Q.   Yes.

24             A.   A customer list.     I see.

25                  So an advertiser could upload a customer          02:41:04

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1      list, and they could use the other targeting               02:41:07

2      options to create their ad -- desired audience for

3      their ad.    If it did not drop below the threshold,

4      we would deliver that ad.       And we would provide

5      performance metrics, but those performance metrics         02:41:20

6      do not include who saw the ad.        Regardless of how

7      big the audience is or isn't, we don't provide who

8      saw the ad to an advertiser.

9           Q.     And in addition to user list, there were

10     two other kinds of audiences, right?                       02:41:38

11          A.     Within --

12                 MR. BENJAMIN:     Objection.     Form.

13          Q.     (By Ms. Weaver)     There's the website app

14     custom audience and there's also engagement custom

15     audience, right?                                           02:41:51

16          A.     Those are two other types of custom

17     audience, yes.

18          Q.     And so the same would apply for those

19     kinds of audience as well.       The 20 cap, maybe 100

20     cap for now.     Unlimited interests and behaviors can     02:42:01

21     be targeted including geo location, right?

22          A.     Those don't have the same upload

23     functionality as a customer list.          But they also

24     had an audience minimum.       And to be clear, the

25     audience minimum is of the total targeting option          02:42:16

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1      selected.                                                 02:42:20

2                  So it could be website custom audience

3      with a number of interests or with no interests.

4      In either scenario, there is -- it has to be above

5      a minimum threshold in order to run the ad.               02:42:31

6           Q.     What's the minimum threshold?

7           A.     100.

8           Q.     And it used to be 20?

9           A.     Yes.

10          Q.     Until 2016 or 2018?                           02:42:43

11          A.     Correct.

12          Q.     You said they don't have the same upload

13     functionality.

14                 What do you mean?

15          A.     I meant for customer list, the advertiser     02:42:55

16     is uploading a list of their existing customers.

17     That's distinct from engagement custom audience or

18     a website custom audience.      They don't -- they're

19     not based on a customer list that the advertiser

20     provides.                                                 02:43:10

21          Q.     Is a Facebook user ID a unique

22     identifier?

23                 MR. BENJAMIN:   Objection to form.

24                 THE DEPONENT:   Yes, every user has their

25     own unique UID.                                           02:43:33

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1           Q.    (By Ms. Weaver)     And Facebook doesn't       02:43:35

2      provide Facebook user IDs in this process of

3      targeted advertising through custom audiences,

4      right?

5           A.    We do not provide UIDs to advertisers.         02:43:45

6           Q.    Does Facebook take any steps to ensure

7      that the advertiser who are identifying their

8      target audiences do not possess Facebook user IDs?

9           A.    Let me know if this gets at what your

10     question is asking.                                       02:44:05

11                When an advertiser uploads a customer

12     list, we hash their information so we don't

13     actually know exactly what their -- the -- the

14     identifier.    We're not learning anything through

15     that upload.     And after we match it to users, we       02:44:15

16     don't provide anything back to the advertiser about

17     those users, including -- and definitely not their

18     user ID.

19          Q.    Facebook is aware that data brokers

20     already have Facebook user IDs, right?                    02:44:33

21                MR. BENJAMIN:     Objection to form and

22     scope.

23                THE DEPONENT:     I can't speak to that.

24     I'm not aware.

25          Q.    (By Ms. Weaver)     So the --                  02:44:42

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1           A.   In my personally capacity, I don't know.              02:44:42

2           Q.   So the representation here is that

3      Facebook is not providing any personally

4      identifiable information through the targeted

5      advertising process, right?                                     02:44:52

6                MR. BENJAMIN:     Objection to form.         Vague.

7                THE DEPONENT:     We don't provide

8      advertisers information about the users who -- or

9      who saw their ad and how to identify those users.

10          Q.   (By Ms. Weaver)     Okay.    Well, let's go           02:45:06

11     back to Exhibit 658 and turn to page 5.         And I'll

12     read into the record at Bates number -903.

13               "We don't share information with

14     advertisers that personally identifies individuals

15     unless they've given us permission."                            02:45:28

16               Do you see that?

17          A.   Yes.

18          Q.   And -- and that's a core promise that

19     Facebook has made to users from 2007 to the

20     present, right?                                                 02:45:39

21          A.   Correct.

22          Q.   And what does it mean in your

23     understanding to personally identify an individual?

24          A.   To tell an advertiser who saw their ad.

25          Q.   So to you, it just would be saying                    02:45:55

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1      Lesley Weaver saw this ad, and that would be                   02:45:57

2      compliant with this policy?

3                   MR. BENJAMIN:     Objection to form.

4                   THE DEPONENT:     I'm sorry.     I don't follow

5      what you mean.                                                 02:46:05

6           Q.      (By Ms. Weaver)     You're saying it -- to

7      tell an advertiser who saw their ad would be

8      providing personally identifiable information,

9      right?

10          A.      Yes.   And we do not do that.                     02:46:20

11          Q.      And what do you mean when you say to tell

12     a user who saw an ad -- I'm sorry.

13                  What do you mean by "To tell an

14     advertiser who saw their ad"?

15          A.      We don't tell them individual user level          02:46:33

16     information about who saw their -- about the users

17     who saw their ad.

18          Q.      But when the limit was 20 people, you

19     would tell them that 20 people saw their ad, and

20     they would have already targeted certain data                  02:46:52

21     points like geo location and other attributes,

22     correct?

23                  MR. BENJAMIN:     Objection to form.

24     Misstates.

25                  THE DEPONENT:     After they've created           02:47:06

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1      their audience, they would know how many people saw        02:47:07

2      their ad.    But that would have to be, again, in

3      order to deliver that audience, it had to be above

4      the threshold.

5           Q.     (By Ms. Weaver)     Which was 20 people for    02:47:21

6      most of the class period, right?

7                  MR. BENJAMIN:     Objection to form.

8                  THE DEPONENT:     Through the years, yes,

9      until 2016 or 2018.

10          Q.     (By Ms. Weaver)     So a separate question I   02:47:34

11     was asking is, is Facebook aware that, in fact,

12     many third parties have data that associates users'

13     Facebook IDs with individuals?

14                 MR. BENJAMIN:     Objection to form and

15     scope.                                                     02:47:54

16                 THE DEPONENT:     I don't know about whether

17     third parties have UIDs.

18          Q.     (By Ms. Weaver)     Is that a concern of the

19     Facebook targeted advertising policy team?

20                 MR. BENJAMIN:     Objection to form and        02:48:08

21     scope.

22                 THE DEPONENT:     We don't provide UIDs

23     through our ad system and do -- we do -- we don't

24     provide it purposefully, so that it's not available

25     to an advertiser.     That's what this statement           02:48:21

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1      indicates.                                                      02:48:25

2                      So it would -- yes, but it's not

3      something we do.        And we purposely don't do it.

4              Q.      (By Ms. Weaver)     And why is that?

5              A.      If we provided a UID, they would be able        02:48:38

6      to tie that back to an individual.             And we

7      specifically state that we don't give information

8      to advertisers about who saw the ad -- specifically

9      about the individual who saw the ad.

10             Q.      What steps did Facebook take to ensure          02:48:58

11     that third parties who were conducting targeting

12     advertising in groups of 20 did not possess

13     Facebook user IDs or a way to reidentify users?

14                     MR. BENJAMIN:     Objection to form.

15                     THE DEPONENT:     I think we have to            02:49:22

16     differentiate -- and I'm -- I might be missing the

17     link here, the possessing UIDs.

18                     Within our ad system, we don't provide

19     UIDs.        An advertiser has to meet a minimum

20     threshold in order to run the ad.             And the metrics   02:49:37

21     we provide them, performance metrics are

22     aggregated.

23                     So we don't tell them information about

24     who saw the ad specifically.            And so there wouldn't

25     be something to relate back to a UID, whether they              02:49:48

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1      possess it or not.     And they wouldn't gain access              02:49:52

2      to the UID through our ad delivery.

3             Q.    (By Ms. Weaver)     I understand you're

4      saying that Facebook did not directly provide

5      Facebook users IDs.                                               02:50:01

6                   Wasn't Facebook aware that during the

7      class period, at multiple points, third parties who

8      advertised on Facebook had obtained Facebook user

9      IDs?

10                  MR. BENJAMIN:     Objection to form.         Asked   02:50:16

11     and answered.     Foundation.

12                  THE DEPONENT:     I'm just not sure what

13     the -- one, I don't know the scenarios we're

14     talking about.     They're outside of the ads -- my

15     expertise on ads.                                                 02:50:32

16                  And I'm not certain the significance of

17     how the UID plays into what we provide from ads,

18     where it is -- has to a meet a minimum threshold,

19     and we only provide aggregated performance metrics.

20            Q.    (By Ms. Weaver)     So as you sit here               02:50:54

21     today, you're not aware that anybody outside of

22     Facebook scraped or obtained Facebook user IDs; is

23     that true?

24                  MR. BENJAMIN:     Objection to form.

25                  THE DEPONENT:     I am not an expert on all          02:51:09

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1      of the scraping or nonscraping that's occurred at          02:51:11

2      Facebook.    That's --

3           Q.     (By Ms. Weaver)     I didn't -- I didn't ask

4      that, whether you were an expert.

5                  I asked whether you are aware, under           02:51:18

6      oath, as you sit here today, that third parties had

7      scraped Facebook user IDs off the platform and

8      possessed them?

9                  MR. BENJAMIN:     Objection to form and

10     scope.                                                     02:51:32

11                 THE DEPONENT:     I could not identify from

12     my personal capacity examples of what you're

13     talking about in any form of -- that I could speak

14     to or -- or am aware of.

15          Q.     (By Ms. Weaver)     As you sit here today,     02:51:50

16     you are saying you are unaware that users scraped

17     Facebook user IDs off the platform?

18                 You're under oath.

19                 MR. BENJAMIN:     Objection to form.

20     Argumentative.    Asked and answered.        Beyond the    02:51:58

21     scope.

22                 THE DEPONENT:     I'm truly -- I am not able

23     to speak to, and I don't know scenarios of user ID

24     scraping.

25          Q.     (By Ms. Weaver)     And you are part of the    02:52:16

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1      privacy policy team for advertising, right?                       02:52:17

2           A.      Yes.

3           Q.      How many people are on that team?

4           A.      For advertising, specifically?

5           Q.      Yes.                                                 02:52:30

6           A.      There -- I believe there are currently

7      ten of us.

8           Q.      And who's the lead on that team?

9           A.      Andrew Howard.

10          Q.      And to whom do you report?                           02:52:46

11          A.      Andrew Howard.

12          Q.      And you're not aware of any instances of

13     third parties obtaining Facebook user IDs; is that

14     right?

15                  MR. BENJAMIN:     Objection to form.         Asked   02:53:00

16     and answered.       And to scope.

17                  THE DEPONENT:     I -- I do not cover

18     scraping.     It is -- and I don't know of instances

19     that I could speak to here or in really any

20     capacity about whether this -- whether there has                  02:53:14

21     been scraping of UIDs.

22          Q.      (By Ms. Weaver)     Is there anyone on the

23     policy team for advertising who is in charge of

24     ensuring that advertising is not permitted by users

25     who are in the possession of Facebook user IDs?                   02:53:31

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1            A.     Again, I'm -- I'm missing the connection      02:53:38

2      here between the possession of UIDs and whether

3      someone advertises.

4            Q.     Okay.   Let's say Amazon has enough data

5      and information to be able to engineer or comes            02:53:52

6      into the possession of Facebook user IDs.            And

7      Amazon runs campaigns, millions of them, with the

8      bare minimum, 20 or 100 people, to learn

9      information about users.

10                  Does Facebook have any enforcement            02:54:10

11     mechanism to prevent advertisers, who Facebook

12     knows or has reason to believe has Facebook user

13     IDs, from running that kind of campaign?

14                  MR. BENJAMIN:     Yeah.   Objection to form

15     and scope.                                                 02:54:26

16                  THE DEPONENT:     Our protections are that

17     we don't provide information to the advertiser when

18     they -- on the performance of their ad, or who has

19     seen their ad, for it to be identifiable back to a

20     user ID.                                                   02:54:46

21           Q.     (By Ms. Weaver)     Is that the only

22     protection, that Facebook itself does not provide

23     it?

24           A.     In addition to the protections of our

25     audience minimum sizes and our policies in terms           02:55:01

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1      that disallow different use.                                 02:55:05

2           Q.      Yes.

3                   The only protection that Facebook engages

4      in to ensure that third parties who are conducting

5      targeted advertising with the minimum threshold for          02:55:16

6      which for much of the period was 20 people, was

7      that Facebook itself did not provide the Facebook

8      user ID to the advertiser, correct?

9           A.      No.

10                  MR. BENJAMIN:     Objection -- yeah,            02:55:30

11     objection to form.     Misstates.

12                  THE DEPONENT:     No.   Our audience minimums

13     are a form of protection.        Our aggregated metrics

14     are a form of protection.        Our policies and our --

15     the terms that advertisers have to agree with are a          02:55:43

16     form of protection.

17                  And, again, this is not where I'm an

18     expert in.     But the efforts we go also on the

19     scraping front and protection there, are additional

20     areas that we ensure this doesn't happen.                    02:55:56

21          Q.      (By Ms. Weaver)     So the efforts to

22     prevent future scraping doesn't address paths

23     scraping, right?

24                  MR. BENJAMIN:     Objection to form and

25     scope.                                                       02:56:09

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1                THE DEPONENT:     If someone has a UID,          02:56:15

2      our pre- -- preventing future scraping does not

3      remove that UID from them.

4           Q.   (By Ms. Weaver)     And when you talk about

5      the terms, you mean the third parties promise that         02:56:23

6      they will not -- well, I don't know what you mean.

7                In terms of the terms, what do you mean

8      in terms of providing protection to users whose

9      Facebook IDs have been taken by advertiser who

10     Facebook then allows to advertise on their platform        02:56:40

11     in groups as small as 20, for the majority of the

12     class period?

13               MR. BENJAMIN:     Objection to form.

14               THE DEPONENT:     I -- I think I have to

15     clarify a question here.                                   02:56:53

16               Is there an assumption that the UID is

17     specifically being used for the audience?

18          Q.   (By Ms. Weaver)     I -- I don't think

19     there's an assumption there.

20          A.   Again, we have the audience size minimums        02:57:18

21     and we provide only aggregated metrics.         And this

22     helps ensure that we do not provide identifiable

23     information about who sees an ad to the advertiser,

24     regardless of any other information they have.

25          Q.   You referenced terms as also another             02:57:33

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1      mechanism to prevent reidentification of users,              02:57:37

2      correct?

3           A.     Yes.

4           Q.     What terms are you referring to?

5           A.     Our customer list policies and our               02:57:45

6      advertising terms -- or advertising guidelines.

7           Q.     Are those -- those enforcement mechanisms

8      or are they just agreements?

9           A.     Those are agreements.       Those set -- those

10     are the policies for -- for running ads on our               02:58:06

11     platform.

12          Q.     Are you aware, as a member of the

13     advertising policy team of ten people, of Facebook

14     telling advertisers that they may not advertise on

15     Facebook because they have violated the terms that           02:58:21

16     you're referring to because they possess Facebook

17     user IDs?

18                 MR. BENJAMIN:     Objection to form.

19                 THE DEPONENT:     I'm not aware of an

20     advertiser breaking the policy here and in --                02:58:37

21          Q.     (By Ms. Weaver)     Are you aware of any

22     enforcement actions taken by Facebook to determine

23     if that had happened?

24                 MR. BENJAMIN:     Objection.     Asked and

25     answered.                                                    02:58:56

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1                 THE DEPONENT:     I'm not aware of -- of us          02:59:00

2      being -- of -- of there being a case where this --

3      like where an advertiser did this that we enforced

4      on, or that we had to enforce on.        We -- I -- I am

5      not aware of cases where there's been a violation.              02:59:15

6           Q.    (By Ms. Weaver)     What steps has Facebook

7      taken to prevent reidentification of users targeted

8      in advertising?

9                 MR. BENJAMIN:     Objection to form.         Asked

10     and answered.                                                   02:59:36

11                THE DEPONENT:     We require an audience

12     minimum.   We only provide aggregated metrics to

13     identifiers, and we don't tell them who

14     specifically saw their ad.

15          Q.    (By Ms. Weaver)     And is that the entirety         02:59:49

16     of the steps that Facebook has taken to prevent

17     reidentification of users targeted in Facebook's

18     advertising?

19          A.    Those are the foundation of how our

20     system is built to prevent exactly that.                        03:00:03

21          Q.    Are there any other steps that Facebook

22     has taken to prevent reidentification of users

23     targeted in Facebook's advertising?

24          A.    We've built our system specifically to

25     prevent it.     I'm not aware of other steps we've had          03:00:19

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1      to take.                                                        03:00:23

2                  MS. WEAVER:     Okay.     Thank you.

3                  How long have we been going?

4                  THE VIDEOGRAPHER:        Okay.     Let me look

5      that number --                                                  03:00:35

6                  MS. WEAVER:     Let's go off the record.

7                  THE VIDEOGRAPHER:        Okay.     Thanks.

8                  We're off the record.           It's 3:00 o'clock

9      p.m.

10                 (Recess taken.)                                     03:00:42

11                 THE VIDEOGRAPHER:        Okay.     We're back on

12     the record.     It's 3:16 p.m.

13            Q.   (By Ms. Weaver)        Ms. Leone, I'd like to

14     direct your attention to what is being marked right

15     now as Exhibit -- uh-oh.       670?                             03:16:56

16                 THE COURT REPORTER:        660.

17                 MS. WEAVER:     660.

18                 (Exhibit 660 was marked for

19     identification by the court reporter and is

20     attached hereto.)                                               03:17:25

21                 MS. WEAVER:     And for the record,

22     Exhibit 660 bears Bates numbers FB-CA-MDL-03969858

23     through -862.

24                 THE DEPONENT:     I have it up.

25            Q.   (By Ms. Weaver)        Great.                       03:17:43

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1                  And what is Exhibit 670 [sic]?                   03:17:43

2                  MR. BENJAMIN:     660.

3                  MS. WEAVER:     Sorry.

4                  THE DEPONENT:     Exhibit 660 is a help

5      center article published that we put in our help             03:17:58

6      center for advertisers called "Use Detailed

7      Targeting."

8           Q.     (By Ms. Weaver)     And it's true and

9      accurate, right?

10          A.     I'm going to read through it.         One sec.   03:18:14

11          Q.     Okay.

12          A.     Yes, I read through it.         And, yes, it's

13     accurate.

14          Q.     Okay.    And this document is a current

15     document, is that right, as of June 7th, 2022?               03:18:49

16          A.     Sorry.

17                 Do you mean that this is currently in our

18     help center?

19          Q.     Yes.

20          A.     I believe so, yes.       Yes.                    03:19:04

21          Q.     Okay.    And it says "Use Detailed

22     Targeting."

23                 Do you see that?

24          A.     Yes.

25          Q.     And this is in the help center for               03:19:12

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1      advertisers; is that right?                               03:19:15

2              A.   It's in what we call the business help

3      center, which is meant for an advertising audience.

4      But it's open to anyone.        Anyone can navigate to

5      this.                                                     03:19:32

6              Q.   So is this describing interest targeting

7      in the detailed targeting that we described at the

8      outset of the litigation?

9                   I mean --

10                  (Simultaneously speaking.)                   03:19:45

11                  THE DEPONENT:     Yes.

12             Q.   (By Ms. Weaver)     I'm sorry.

13             A.   Yes.   This is -- this is describing how

14     to use detailed targeting, which is the category

15     for -- for audiences to select their parameters,          03:19:55

16     which includes interests.

17             Q.   And so it says here on the first page

18     that you select your audience preferences "by

19     location, age, gender and language, then by

20     Detailed Targeting," correct?                             03:20:11

21             A.   Yes.

22             Q.   So are you required to identify age and

23     gender and language as a preliminary threshold?

24             A.   All of our ads have to have a setting for

25     those, but you can have broad settings so that it's       03:20:27

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1      all -- it captures all ranges.                               03:20:30

2                   So as an example, we need to have an age

3      range for an ad, but that age range could be the

4      full age range of people on Facebook, so 13 to 65

5      plus.                                                        03:20:43

6                   Similar for gender.      We have to have a

7      setting for it, but it could just be all.            So it

8      is -- it is something that is a toggle, but the --

9      it doesn't mean you have to have a specific --

10     something specific within those.                             03:20:56

11             Q.   And -- and then what about language?

12                  Do you have to select a language?

13             A.   No, similar.     It can be all.

14             Q.   Is it more expensive if it's all?

15             A.   No, that wouldn't be -- it -- it's not          03:21:19

16     going to be a one to one, if you switch out, to be

17     more expensive.

18             Q.   Right.

19             A.   I'm not sure what you mean.        Sorry.

20             Q.   Yeah.    That's not a good question.            03:21:30

21                  What I mean is, how many people speak all

22     languages.

23                  This is your target audience, right?

24             A.   It -- it doesn't mean that someone has to

25     speak all languages.        It means that any language --    03:21:40

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1      and perhaps the actual option is called any.             It      03:21:42

2      means that the audience can be any language.

3           Q.   I see.    Okay.

4                And does Facebook find that targeting by

5      language allows inferences of ethnicity?                         03:22:03

6                MR. BENJAMIN:      Objection to form.

7                THE DEPONENT:      No.   Language is based on

8      the -- the -- the settings people have, like how

9      they've set up their Facebook and the language

10     they've chosen.    That's not something that is -- it            03:22:24

11     is not a method of -- of targeting ethnicity.

12          Q.   (By Ms. Weaver)      Now, has Facebook found

13     that people were impermissibly targeted by gender

14     or ethnicity using its advertising platform?

15               MR. BENJAMIN:      Objection to form.         Vague.   03:22:47

16               THE DEPONENT:      Sorry.    Can you walk

17     through what you mean by "impermissibly"?

18          Q.   (By Ms. Weaver)      Illegally.

19               MR. BENJAMIN:      Objection to form.         And

20     calls for a legal conclusion.                                    03:23:01

21               THE DEPONENT:      Yeah, I can't speak to if

22     something was illegal.      I can -- I can share if

23     there's an example that you're thinking of, of how

24     those were misused.

25          Q.   (By Ms. Weaver)      As you sit here today,            03:23:18

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1      are you aware of any such examples?                         03:23:19

2                   MR. BENJAMIN:     Objection to form.

3                   THE DEPONENT:     Specifically for -- for --

4      I'm sorry.     You mentioned two.

5                   Did you say for gender?                        03:23:30

6              Q.   (By Ms. Weaver)     Uh-huh.

7              A.   No, not aware of -- of a case where it

8      was misused.     But it's worth noting that we don't

9      permit gender targeting for specific types of ads

10     to help -- specifically to prevent misuse.            We    03:23:46

11     limit that.

12                  And advertisers who are running housing,

13     employment and credit ads cannot use gender

14     targeting.     They must maintain it at all.         They

15     cannot select specific genders that's to prevent            03:23:59

16     for misuse.

17             Q.   And how long has that been the case?

18             A.   That's a policy we've had in place since

19     2018.

20             Q.   And was that a result of litigation?           03:24:09

21                  MR. BENJAMIN:     Objection to form.

22                  And to the extent you can answer without

23     disclosing privileged information or

24     communications, you can do so.

25                  THE DEPONENT:     I -- I think I need a        03:24:26

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1      quick break --                                               03:24:27

2                   MS. WEAVER:     Okay.

3                   THE DEPONENT:     -- to discuss with Matt

4      on -- on AC priv.

5                   THE VIDEOGRAPHER:       Okay.   Go off the      03:24:37

6      record, everybody?

7                   MS. WEAVER:     Yeah, that's fine.

8                   MR. BENJAMIN:     Yeah, that's fine.

9                   THE VIDEOGRAPHER:       Okay.   We're off the

10     record.     It's 3:24 p.m.                                   03:24:44

11                  (Recess taken.)

12                  THE VIDEOGRAPHER:       We're back on the

13     record.     It's 3:34 p.m.

14            Q.    (By Ms. Weaver)     There was a question

15     pending when you took a break to consult with your           03:34:25

16     counsel.

17                  Can you answer the question now?

18            A.    Do you mind repeating it.

19            Q.    Sure.

20                  I think the question was, was that a            03:34:33

21     result of litigation?

22            A.    We were discussing the limits for age --

23     gender targeting for housing, employment and credit

24     ads.

25                  We've always -- or long- -- have a              03:34:46

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1      long-standing policy that disallows discrimination,       03:34:48

2      including through our targeting tools.

3                In 2019 -- I should correct my previous

4      answer -- we launched specifically the targeting

5      limitations for those ads and the spe- -- what we         03:35:00

6      call the -- the special ad categories for -- as

7      part of a settlement with litigation.

8           Q.   And the settlement with who?

9           A.   It -- I actually don't know all the

10     parties involved in that litigation.       So I might     03:35:20

11     need to -- to refresh on that.

12          Q.   And prior to that litigation and

13     settlement, Facebook did not have a policy that

14     disallowed discrimination through the use of

15     targeting tools?                                          03:35:36

16          A.   No.   Sorry.   To clarify, we -- that's

17     what I was saying.   We've had a long-standing

18     policy on -- that disallows discrimination.

19               In 2019, as part of our settlement with

20     this litigation, we built the special ad category         03:35:48

21     that disallowed gender selection among other

22     targeting for housing, employment and credit ads.

23     And that was from conversations concerned about the

24     potential for misuse of those.

25          Q.   And does that same tool also prevent            03:36:02

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1      targeting based on race, sexual orientation,                03:36:09

2      disability and religion?

3           A.   We don't provide those targeting options

4      at all to any advertiser.

5           Q.   But was it a problem nonetheless that             03:36:18

6      Facebook's targeted advertising involved

7      discrimination against people in those

8      categories --

9                MR. BENJAMIN:     Objection.

10          Q.   (By Ms. Weaver)     -- at any point during        03:36:30

11     the class period?

12               MR. BENJAMIN:     I'm sorry.     I thought your

13     question was over.

14               Objection to form.      Misstates.

15               THE DEPONENT:     We don't offer those --         03:36:40

16     targeting based on those.     And so it -- it wasn't

17     relevant to the -- the -- how we built our special

18     ad category, which -- which restricted targeting

19     that we do offer.

20          Q.   (By Ms. Weaver)     So is it your testimony       03:36:56

21     that at no point did Facebook's advertising give

22     third-party advertisers "the ability to exclude

23     ethnic and religious minorities, immigrants, LGBTQ

24     individuals and other protected groups from seeing

25     their ads"?                                                 03:37:16

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1                MR. BENJAMIN:     Objection to form.            03:37:18

2                THE DEPONENT:     We don't offer targeting

3      based on -- I'm sorry -- race or ethnicity or

4      religious views and there -- therefore, there

5      wasn't an ability to exclude those --                     03:37:30

6           Q.   (By Ms. Weaver)     Okay.

7           A.   -- based on that.

8                MS. WEAVER:     Let's look at Exhibit 661.

9                (Exhibit 661 was marked for

10     identification by the court reporter and is               03:37:39

11     attached hereto.)

12               MS. WEAVER:     And for the record, it's an

13     announcement from the Washington State office of

14     the attorney general.     The title is "AG Ferguson

15     investigation leads to Facebook making nationwide         03:37:50

16     changes to prohibit discriminatory advertisements

17     on its platform."

18               It's dated July 24th, 2018.        And the

19     first paragraph says "Attorney General Bob Ferguson

20     today announced that Facebook signed a legally            03:38:05

21     binding agreement with his office to make

22     significant changes to its advertising platform by

23     removing the ability of third-party advertisers to

24     exclude ethnic and religious minorities,

25     immigrants, LGBTQ individuals and other protected         03:38:20

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1      groups from seeing their ads."                                   03:38:25

2                   Do you see that?

3                   THE DEPONENT:     I do.

4                   MR. BENJAMIN:     Objection.     Sorry.

5      Objection to form.                                               03:38:31

6                   And, Counsel, could you just confirm, was

7      this a document that was provided to us 72 hours

8      before the deposition?

9                   MS. WEAVER:     I don't believe so.       It's in

10     the public domain.                                               03:38:36

11                  MR. BENJAMIN:     So your position is it

12     didn't need to be identified 72 hours before?

13                  MS. WEAVER:     Yes.

14          Q.      (By Ms. Weaver)        So, Ms. Leone, do you

15     see that first paragraph --                                      03:38:58

16          A.      I do.

17          Q.      -- that I just read into the record?

18          A.      I do.

19          Q.      Is it your testimony that that is untrue?

20          A.      We did not provide the ability for                  03:39:06

21     advertisers to include, or include on the basis of

22     their ethnic, religious, immigration status.              So

23     this is -- this misrepresents the options that were

24     available.

25          Q.      I don't think it's making any                       03:39:24

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1      representation about the options that are                     03:39:26

2      available.

3                   What it is saying is that, in fact,

4      Facebook signed an agreement so that third-party

5      advertisers could not discriminate against those              03:39:35

6      parties, right?

7                   That's true; you're not disputing that?

8                   MR. BENJAMIN:     Objection to form.

9      Argumentative.       Mischaracterizes.

10                  THE DEPONENT:     We built a -- what is          03:39:50

11     called the special ad category with restricted

12     targeting options for housing, employment and

13     credit ads.

14                  It wasn't that the previous options

15     en- -- like were enabling specifically targeting or           03:40:03

16     exclusion on these protected characteristics.

17     Because as an example, we don't have people's race

18     or ethnicity.

19          Q.      (By Ms. Weaver)     Is it your testimony

20     today that there was not an ethnic affinity                   03:40:17

21     targeting option at Facebook ever?

22          A.      We had ethnic affinity clusters.         Those

23     are not based on race data or someone's race or

24     ethnicity.

25          Q.      Okay.    Is it your testimony that, in           03:40:32

                                                                     Page 262

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1      fact, individuals in these protected categories                      03:40:36

2      were not discriminated against through advertising

3      on Facebook's website?

4                      MR. BENJAMIN:     Objection to form.         Calls

5      for a legal conclusion.           And scope.                         03:40:48

6                      THE DEPONENT:     We didn't identify misuse

7      here.        And we wouldn't necessarily be able to

8      identify a discriminatory use.

9                      As an example, you could run one ad that

10     had specific targeting to women.             You could then          03:41:04

11     run another ad for men.           And overall your campaign

12     may or may not be problematic.

13                     Similar, out -- off of Facebook, you

14     could run an ad on Google for a specific group and

15     on Facebook for another.                                             03:41:18

16                     It -- there wasn't a specific case

17     here -- a -- a specific misuse that was being dealt

18     with.        It was a potential that then we correct --

19     we -- we built this special ad category

20     functionality for.                                                   03:41:37

21             Q.      (By Ms. Weaver)     How long did Facebook

22     have targeted categories for ethnic affinities,

23     African American US, Asian American US, Hispanic US

24     all, Hispanic US bilingual, Hispanic US Spanish

25     domi- -- dominant, and Hispanic US English                           03:41:54

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1      dominant?                                                  03:41:57

2                  MR. BENJAMIN:     Objection to form.

3      Compound and scope.

4                  THE DEPONENT:     Those were categories we

5      offered as targeting up until 2020.                        03:42:08

6           Q.     (By Ms. Weaver)     And when did they

7      commence?

8                  MR. BENJAMIN:     Same objection.

9                  THE DEPONENT:     I'm not sure of the exact

10     year, but between 2012 and 2014.                           03:42:28

11          Q.     (By Ms. Weaver)     And why did Facebook

12     discontinue it in 2020 -- of those categories?

13          A.     We --

14                 MR. BENJAMIN:     Same objections.

15                 THE DEPONENT:     We consistently look at      03:42:47

16     the targeting we offer and whether it's being used,

17     whether it is still relevant, if there's

18     duplicative options.

19                 And in 2020, we underwent several updates

20     across all of our targeting, and those were                03:43:02

21     deprecated as part of a simplification effort.

22          Q.     (By Ms. Weaver)     Are you aware of whether

23     or not, in 2018, Facebook agreed to take steps to

24     prevent third-party advertisers from excluding

25     persons from receiving advertisements for                  03:43:26

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1      employment, housing, credit, insurance and places          03:43:29

2      of public accommodation, to the extent it affected

3      the citizens of Washington?

4                MR. BENJAMIN:     Objection to form and

5      scope.                                                     03:43:43

6                THE DEPONENT:     I'm sorry.     I -- I missed

7      the beginning of the question.

8                It -- it was whether we took steps to

9      prevent exclusion for these ads?

10          Q.   (By Ms. Weaver)     Whether Facebook agreed      03:43:51

11     in 2018, with the State of Washington, to take

12     steps to prevent third-party advertisers from

13     receiving advertisements for employment, housing,

14     credit, insurance and places of public

15     accommodation, to the extent it discriminated              03:44:04

16     against people under those protected categories who

17     lived in the State of Washington?

18               MR. BENJAMIN:     Objection to form and

19     scope.

20               THE DEPONENT:     I -- I'm not -- I --           03:44:16

21     I'm -- I think I'm misunderstanding the question

22     because it has "exclusion" and "seeing an ad."

23               But in -- in 2018 is when we agreed to

24     build the category -- the housing, employment and

25     credit restrictions, the flow for those ads that           03:44:33

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1      limits the targeting options that they have.              03:44:37

2           Q.   (By Ms. Weaver)     So Facebook agreed to do

3      it in 2018, but it didn't happen until 2020; is

4      that right?

5           A.   No.                                             03:44:47

6                MR. BENJAMIN:     Objection.

7           Q.   (By Ms. Weaver)     Please clarify.

8           A.   In 2020, we deprecated, specifically

9      among other -- other targeting options for all

10     advertisers, the multicultural affinity options.          03:45:00

11               Separately, we launched in 2019, the

12     special ad create flow which -- which was the

13     restricted flow for housing, employment and credit

14     advertisers.

15          Q.   What about --                                   03:45:20

16          A.   Those are distinct.

17          Q.   What about insurance --

18          A.   Insurance --

19          Q.   -- was that included?

20          A.   Insurance is not included with the --           03:45:27

21     with the note.    If -- if it is housing insurance or

22     related mortgage insurance, those are included.

23          Q.   Okay.    Just for the record, in 2019, when

24     Facebook launched the special ad create flow to

25     restrict the flow, you're saying it was only for          03:45:47

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1      housing, employment and credit advertisers; is that           03:45:51

2      correct?

3           A.      Yes.

4           Q.      What about insurance or places of public

5      accommodation?                                                03:46:02

6                   MR. BENJAMIN:     Objection to form.

7                   MS. WEAVER:     I -- could I just finish the

8      question?

9                   MR. BENJAMIN:     I'm sorry.     I thought you

10     were done.                                                    03:46:09

11                  MS. WEAVER:     That's fine.

12          Q.      (By Ms. Weaver)     So what about insurance

13     or places of public accommodation, did Facebook

14     restrict the flow for advertisements relating to

15     that as well in 2019?                                         03:46:20

16                  MR. BENJAMIN:     Objection to form and

17     scope.

18                  THE DEPONENT:     No.

19          Q.      (By Ms. Weaver)     Did Facebook -- for this

20     flow that Facebook created, did it apply only to              03:46:31

21     the citizens of Washington or did it apply to all

22     citizens in the United States?

23          A.      It applies to all ads bought by an

24     advertiser based in the US where -- and any ad

25     where the audience includes the US, as well as now            03:46:49

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1      we've launched it in Canada and Europe.                        03:46:53

2           Q.   And with regard to the ethnic affinity

3      group deprecation, can you identify which ethnic

4      affinity group deprecations you're referring to,

5      which groups?                                                  03:47:12

6                MR. BENJAMIN:     Objection to form.

7                THE DEPONENT:     The -- the names of the

8      targeting options?

9           Q.   (By Ms. Weaver)     Yes.

10          A.   We deprecated African American US.           These   03:47:22

11     are all multicultural affinity options.         That's

12     what they were labeled in our -- and -- and what --

13     that I'm listing.    African American, Hispanic

14     bilingual, Hispanic Spanish, Hispanic English and

15     Asian American.                                                03:47:46

16          Q.   Anything else?

17          A.   No, unless I'm missing one.        But I

18     believe there were five.     We deprecated all of the

19     multicultural affinities in -- in 2022.

20          Q.   Did Facebook perform an economic analysis            03:48:07

21     of the impact of deprecating those affinity groups

22     as targets?

23               MR. BENJAMIN:     Objection to form and

24     scope.

25               THE DEPONENT:     Similar to -- to earlier,          03:48:20

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1      there isn't a -- an economic or revenue analysis               03:48:21

2      associated with individual targeting options.

3           Q.     (By Ms. Weaver)     I understand that.       I'm

4      just saying it's a pretty big decision to deprecate

5      these kinds of targeting group.                                03:48:37

6                  And you're saying there was no internal

7      analysis at Facebook of how it might affect revenue

8      to deprecate those products; is that what you're

9      saying?

10                 MR. BENJAMIN:     Objection to form and            03:48:49

11     scope.

12                 THE DEPONENT:     We don't measure revenue

13     on a by targeting option basis.         And so it's not

14     how we assess a targeting option or revenue.

15          Q.     (By Ms. Weaver)     Okay.    How about a cost      03:49:03

16     benefit analysis, are you aware -- aware of any

17     internal analyses at Facebook, whether it was a

18     good idea or not to deprecate multicultural

19     affinity groups and the impact it might have on

20     Facebook?                                                      03:49:20

21                 MR. BENJAMIN:     Objection to form and

22     scope.

23                 THE DEPONENT:     In -- making -- in

24     assessing whether to -- to maintain or remove

25     those, we look at their use.        We look at an              03:49:27

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1      understanding of who -- beneficial uses of those,            03:49:34

2      as an example.     And so that was definitely part of

3      the consideration.     But it is not in the form of a

4      revenue number.

5           Q.      (By Ms. Weaver)     Okay.     So there were     03:49:46

6      internal analyses that were considering whether or

7      not to deprecate the multi- -- multicultural

8      affinity groups; is that right?

9                   MR. BENJAMIN:     Objection to form.

10     Misstates.     And scope.                                    03:50:00

11                  THE DEPONENT:     It was an internal

12     conversation from the ads product team, their

13     policy and legal counterparts on -- on those

14     options.     The same way that we would have discussed

15     any other option.     In fact, the deprecation that          03:50:14

16     they were part of was a broader deprecation.

17          Q.      (By Ms. Weaver)     What was the broader

18     deprecation that they were part of?

19          A.      We simplified our targeting options in

20     August 2020.     It included removing duplicative            03:50:28

21     options.     Options that were unclear that

22     advertisers didn't understand.           And this was part

23     of that effort.

24          Q.      Who, in the ads product team, was

25     involved in the internal discussions regarding               03:50:42

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1      whether or not to deprecate the multicultural                 03:50:45

2      affinity groups?

3           A.   Our ad targeting team was involved.           Ads

4      leadership was involved.

5           Q.   And who by name?                                    03:50:56

6           A.   I'm -- I'm sorry.    I'm trying to remember

7      specifically who was the ads lead at the time.

8                This would have been within ads product.

9      Dan Levy was likely involved, but I -- I can't

10     remember who else on his team.                                03:51:44

11          Q.   And did it violate Facebook's policy for

12     multicultural affinity group targeting to

13     discriminate against people who were put in those

14     target groups with respect to advertising involving

15     housing and employment, for example?                          03:52:05

16               MR. BENJAMIN:    Objection to form.

17               THE DEPONENT:    So we disallowed

18     discriminatory use of our tools, regardless of any

19     specific option.   That's -- that's not something we

20     permit.                                                       03:52:24

21               In -- in 2018, we disallowed the use of

22     those multicultural affinity targets -- options

23     with housing employment and credit ads.        And in

24     2019, we created a specific flow so that they

25     couldn't be selected with those ads at all.                   03:52:39

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1           Q.      (By Ms. Weaver)     And I'm just trying to     03:52:42

2      say, so in Facebook's view, was that an abuse of

3      Facebook's advertising platform, for advertisers to

4      engage in programs that discriminated against

5      persons in those protected categories from                  03:52:57

6      receiving advertisements for employment, housing

7      and credit?

8                   MR. BENJAMIN:     Objection to form.

9                   THE DEPONENT:     Discriminatory uses

10     against our policies.        The use of these segments      03:53:13

11     was not discriminatory.        That wasn't our conclusion

12     or estimate.     As part of efforts to prevent misuse,

13     we disallowed them being used with housing,

14     employment and credit ads.

15                  And, again, to clarify, those segments         03:53:27

16     are not representative or base -- those are not

17     based on our representative of people's race or

18     ethnicity.

19          Q.      (By Ms. Weaver)     What are the data inputs

20     to determine multicultural affinity groups that was         03:53:40

21     the targeting categories that Facebook created?

22          A.      Those are based on info people have

23     provided us, as well as their activity on Facebook.

24          Q.      And what specific activity caused

25     Facebook to put somebody in one of these                    03:54:00

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1      multicultural affinity groups?                            03:54:04

2           A.   People's engagement with pages could

3      associate them with one of these.

4           Q.   Can you give me a specific example of a

5      kind of engagement that would put a person in an          03:54:13

6      African American affinity group?

7           A.   If you engage with a page -- a cultural

8      page related to African American culture and you

9      like that page, you follow it, this could be a

10     group that you're -- you could be in this target          03:54:30

11     option.

12          Q.   What is a cultural page related to

13     African American culture?

14               MR. BENJAMIN:     Objection to form.

15               THE DEPONENT:     I -- I don't know the         03:54:41

16     exact list of pages.   But an example could be

17     Black Lives Matter.

18          Q.   (By Ms. Weaver)     This was, of course,

19     before BLM, right?

20               MR. BENJAMIN:     Objection to form.            03:54:54

21          Q.   (By Ms. Weaver)     Could you give me an

22     example of a cultural page related to African

23     American culture that was actually used to

24     determine whether or not somebody was in an African

25     American affinity group?                                  03:55:07

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1           A.      I think --                                      03:55:12

2                   MR. BENJAMIN:     Objection to form and --

3      and scope.

4                   THE DEPONENT:     I don't have the list of

5      pages specifically that were used.          That was an      03:55:19

6      illustrative example.        I can think of another one,

7      if that's useful.     But it's meant to -- to indicate

8      the type of page and you -- there -- there's

9      similar ones for Hispanic culture.          You could look

10     at cuisine -- pages related to Hispanic cuisine              03:55:36

11     would have been used as well.

12          Q.      (By Ms. Weaver)     What does Hispanic mean

13     in this context of Facebook's multicultural

14     affinity group?

15                  MR. BENJAMIN:     Objection to form and         03:55:55

16     scope.

17                  THE DEPONENT:     It's simply the -- how --

18     the naming of the page or -- of the common topics

19     that people were engaging with.

20          Q.      (By Ms. Weaver)     In Facebook's view, what    03:56:08

21     does Hispanic mean when it created this

22     multicultural affinity group?

23                  MR. BENJAMIN:     Objection to form and

24     scope.

25                  THE DEPONENT:     I don't think that we have    03:56:19

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1      a -- a Facebook definition of Hispanic.           This was     03:56:20

2      meant to indicate that these are -- this targeting

3      option was meant to indicate that people have

4      engaged with Hispanic culture on Facebook.           So that

5      could be Hispanic culture-related pages.           It could    03:56:35

6      be because their language is in Spanish.

7                  There are a number of reasons and ways

8      that someone could be part of this, based on the

9      info they provided and the activity on their

10     platform.                                                      03:56:48

11          Q.     (By Ms. Weaver)     What does Hispanic

12     culture mean, in Facebook's view?

13                 MR. BENJAMIN:     Objection.     Asked and

14     answered and scope.

15                 THE DEPONENT:     Again, we don't define           03:57:02

16     Hispanic culture.     I don't think we have a specific

17     definition for that.

18          Q.     (By Ms. Weaver)     But somehow you were --

19     you must have had some definition because, based on

20     specific kinds of activity, you decided that people            03:57:12

21     were in an Hispanic multicultural group.

22                 So I guess I'm just wondering what the

23     parameters were that Facebook used to decide that

24     something was an Hispanic activity?

25                 MR. BENJAMIN:     Objection to form and            03:57:28

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1      scope.                                                       03:57:30

2                 THE DEPONENT:     To -- we weren't defining

3      if something is a Hispanic activity.         We were

4      looking at the topics people engage with and if

5      those topics relate to Hispanic culture.                     03:57:42

6                 So that could be things like speaking

7      Spanish.   It could be like Hispanic cuisine.           It

8      could be Spanish-speaking telenovelas.         These are

9      things that also the pages themselves identify as

10     part of this culture.      And the people who engage         03:57:59

11     with them were then included in this targeting

12     option.

13          Q.    (By Ms. Weaver)     Does Facebook have a

14     list of the activities that it deemed sufficient to

15     trigger inclusion in each of these ethnic                    03:58:11

16     multicultural affinity groups?

17                MR. BENJAMIN:     Objection to --

18                THE DEPONENT:     Facebook --

19                MR. BENJAMIN:     Objection to scope.

20                THE DEPONENT:     One action is not going to      03:58:25

21     trigger anyone to be part of really any of -- of

22     the interests or -- or multicultural affinity

23     options.   This is about repeated continuous

24     engagement.   So if someone's activity over time

25     showed that they were interested in these topics.            03:58:42

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1           Q.   (By Mr. Benjamin)     Okay.    You just         03:58:44

2      testified -- well -- "We were looking at the topics

3      people engage with and if those topics relate to

4      Hispanic culture."

5                Do you recall that?                             03:58:54

6           A.   Yes.

7           Q.   Does Facebook have a list of those topics

8      that Facebook deemed related to Hispanic culture

9      that were used then cumulatively or individually to

10     determine that somebody was in a multicultural            03:59:07

11     affinity group?

12               MR. BENJAMIN:     Objection to form and

13     scope.

14               THE DEPONENT:     This might just be the

15     wording here, but it is when pages are -- as an           03:59:16

16     example, like when pages are about specific topics,

17     they can -- those would relate to Hispanic culture.

18     And if people consistently engage, they would then

19     be part of this segment.

20          Q.   (By Ms. Weaver)     I just -- I'm just          03:59:40

21     trying to understand, is there a list or a

22     description of which pages and topics Facebook

23     decided were triggers to include specific people in

24     multicultural affinity groups?

25               MR. BENJAMIN:     Objection to form and         03:59:57

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1      scope.                                                           03:59:58

2                      THE DEPONENT:     It's pages that relate to

3      this.        So that could be based on a pages

4      description saying they are related to Hispanic

5      culture, as an example.                                          04:00:10

6              Q.      (By Ms. Weaver)     Okay.    So does Facebook

7      have a list, as an example, of just the pages that

8      Facebook deemed related to multicultural affinity

9      groups, of -- of the categories that were

10     deprecated in 2020?                                              04:00:24

11             A.      Those categories were deprecated in 2020,

12     and I believe we don't maintain that once a

13     category is deprecated.

14             Q.      Are you aware -- and you're not aware of

15     whether or not there was a litigation hold or                    04:00:44

16     requirement as a result of litigation that Facebook

17     maintain those categories?

18                     MR. BENJAMIN:     Objection -- sorry.

19                     Objection to form and scope.        And to the

20     extent that it calls for legal analysis or                       04:00:56

21     conclusion.

22                     I'd also caution you, Ms. Leone, to carve

23     out of your answer any privileged information or

24     communications.

25                     THE DEPONENT:     I'm not certain on -- if       04:01:08

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1      it was under a legal hold or not.       And I'm also not      04:01:10

2      certain if we have it or not, given that these were

3      deprecated.

4           Q.   (By Ms. Weaver)     So is it your

5      understanding that if Facebook deprecates a                   04:01:17

6      product, Facebook doesn't maintain any information

7      relating to that deprecated product?

8                MR. BENJAMIN:     Objection to form.

9      Misstates and scope.

10               THE DEPONENT:     No, that's not my                 04:01:33

11     understanding.     But when we deprecate a product, we

12     are not maintaining -- or it is not continuously

13     associating.     And -- and that's what I meant.       It's

14     not continuously looking for pages that might be

15     related to that topic.     It's shut down.                    04:01:49

16          Q.   (By Ms. Weaver)     So your testimony was

17     "Those categories were deprecated in 2020, and I

18     believe we don't maintain that once a category is

19     deprecated."

20               Do you recall that?                                 04:02:11

21          A.   Yes.

22          Q.   And when you say "we don't maintain

23     that," what did you mean?

24          A.   I mean what I was just describing, which

25     is that we're not continuously associating                    04:02:21

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1      engagement into those categories.       And I don't know   04:02:24

2      to whichever degree, under legal hold or otherwise,

3      what we maintain historically.

4           Q.   Now, it's your testimony that Facebook

5      has not taken steps to prevent third-party                 04:02:43

6      advertisers from excluding people from receiving

7      advertisements for insurance or places of public

8      accommodation, is that right, based on these

9      protected characteristics of the ethnic affinity

10     groups, disability, et cetera; is that right?              04:03:00

11               MR. BENJAMIN:     Objection to form.

12     Misstates and compound.

13               THE DEPONENT:     Yeah, there are a few

14     parts.

15               We don't have targeting options related          04:03:11

16     to protected -- people's race or ethnicity, as a

17     starting point.    That's not what multicultural

18     affinities were.

19               House -- the -- any ad has to abide by

20     our nondiscrimination policy.      And we don't --         04:03:26

21     including an insurance ad, regardless of the --

22     whether or not they're AG -- they're housing,

23     employment or credit.

24               MS. WEAVER:     Okay.   Why don't we take a

25     look at Exhibit 662.                                       04:03:50

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1                (Exhibit 662 was marked for                     04:03:52

2      identification by the court reporter and is

3      attached hereto.)

4                MR. BENJAMIN:     And, Counsel, is this a

5      document that was provided to us --                       04:04:10

6                MS. WEAVER:     No, it's public.

7                MR. BENJAMIN:     -- in 72 hours?

8                Okay.     And what paragraph of the

9      Special Master's protocol are you relying on for

10     that exception?                                           04:04:19

11               MS. WEAVER:     We can have a colloquy off

12     the record, if you like.

13               MR. BENJAMIN:     Special Master, however

14     you prefer.   Happy to discuss outside the presence

15     of the witness.                                           04:04:28

16               SPECIAL MASTER GARRIE:       I'd ask the

17     witness to -- yeah, go to breakout room.         We'll

18     stay on the record.

19               What's the issue, Counsel Benjamin?

20               MR. BENJAMIN:     I just wanted to clarify,     04:04:53

21     Special Master, the -- Counsel Weaver's basis for

22     not having provided the documents, under the

23     Special Master protocol, 72 hours in advance.

24               SPECIAL MASTER GARRIE:       It's a publicly

25     available document --                                     04:05:05

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1                   MS. WEAVER:    Yes.                             04:05:09

2                   SPECIAL MASTER GARRIE:      -- and I believe

3      that -- well, Counsel Weaver, would you care to

4      explain?

5                   MS. WEAVER:    Yeah.   I mean, if we had to     04:05:13

6      provide to Facebook every publicly available

7      document about Facebook, it would be reams.

8                   We've talked about the topic.        Facebook

9      itself identified a ton of policies talking about

10     how people may or may not target people based on             04:05:25

11     gender or age.

12                  So, you know, from my perspective, we are

13     perfectly entitled to discuss this with Facebook,

14     particularly given the assertions of this deponent

15     in this deposition, that this kind of targeting did          04:05:41

16     not occur.     These are also coming in as

17     impeachment.

18                  So look, I can do it two ways.        You can

19     say you don't want this witness to discuss these

20     documents right now.       And then I will file a new        04:05:52

21     notice because it's relevant.        It's obviously data

22     misuse and relevant to the case.         And we can call

23     the witness back at another time and do this kind

24     of questioning.

25                  But I -- I really -- we were not trying         04:06:05

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1      to pull a fast one.     It just didn't occur to me              04:06:07

2      that we had to provide to Facebook -- you know,

3      Exhibit 662 is an assurance of discontinuance

4      signed by Facebook so --

5                MR. BENJAMIN:     And -- and all I -- really          04:06:21

6      all I wanted to do is just to clarify the basis for

7      using the document as an exhibit in the deposition.

8                MS. WEAVER:     Okay.

9                MR. BENJAMIN:     So I'm happy to --

10               SPECIAL MASTER GARRIE:       And I think she          04:06:30

11     did for -- so -- so Counsel Benjamin, she said for

12     impeachment purposes and there's your explanation.

13               MR. BENJAMIN:     Yeah.   I'm not sure I'd

14     agree with that characterization, Special Master,

15     I'm happy to let the questioning --                             04:06:39

16               SPECIAL MASTER GARRIE:       I'm not -- I'm

17     not -- let's be clear, my restatement isn't a

18     representation that I agree or disagree.         That is a

19     represent -- that is what plaintiffs stated.

20               MR. BENJAMIN:     Under- -- understood.         And   04:06:51

21     happy to let questioning on the document proceed on

22     that basis.

23               Thank you for clarifying.

24               SPECIAL MASTER GARRIE:       Okay.    So with

25     that said, should we call the witness back?                     04:07:03

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1                 MS. WEAVER:     Yes.                                04:07:07

2                 MR. BENJAMIN:     Yes.

3                 MS. WEAVER:     Yes.

4                 MR. BENJAMIN:     I'll -- I'll grab her.

5                 SPECIAL MASTER GARRIE:           Thank you.         04:07:12

6                 John, did Counsel Benjamin say we were

7      taking a break or is he getting the witness?

8                 THE VIDEOGRAPHER:        They were just going

9      to go get the witness.      So we're still on the

10     record.                                                        04:09:29

11                SPECIAL MASTER GARRIE:           Okay.

12                MS. WEAVER:     Can we go off the record, if

13     we're just sitting here in silence?

14                SPECIAL MASTER GARRIE:           Well, I didn't

15     think we would be sitting here in silence, so I                04:10:07

16     agree.

17                MS. WEAVER:     Thank you.

18                SPECIAL MASTER GARRIE:           Let's go off the

19     record.

20                THE VIDEOGRAPHER:        Okay.     We're off the    04:10:14

21     record.   It's 4:10 p.m.

22                (Recess taken.)

23                THE VIDEOGRAPHER:        Okay.     We're back on

24     record.   It's 4:12 p.m.

25          Q.    (By Ms. Weaver)        Ms. Leone, have you had      04:12:08

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1      a moment to look at Exhibit 662?                             04:12:10

2             A.   I -- I started to read through it.           I

3      haven't read through it.       But yes, I have.

4                  MS. WEAVER:   Okay.     Take your time.

5                  And while you're reading through it, just        04:12:19

6      for the record, Exhibit 662 says State of

7      Washington, King County Superior Court, In re:

8      Facebook, Respondent, Assurance of Discontinuance,

9      and it's dated July 24th, 2018.

10            Q.   (By Ms. Weaver)     And I'll direct your         04:12:48

11     attention to paragraph 3.2.

12            A.   I'm there, and I've read through most of

13     3.2.

14            Q.   Okay.   But let me ask first, were you

15     aware of this notice of discontinuance?                      04:13:23

16            A.   Yes.

17            Q.   And -- and how did you become aware of

18     it?

19            A.   I was on -- I was part of the team on

20     ads -- on ads at the time.                                   04:13:37

21            Q.   And so were you involved in taking steps

22     to prevent third-party advertisers from excluding

23     persons that were the subject of a lawsuit from

24     discrimination -- or from receiving advertisements

25     based on protected characteristics?                          04:13:55

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1                   MR. BENJAMIN:     Objection to form and          04:13:59

2      scope.

3                   THE DEPONENT:     I was involved in updates

4      to our platform.     To be clear, this is -- that was

5      distinct from -- that -- that -- these targeting              04:14:09

6      options weren't discriminatory.          But I was involved

7      in updating our targeting options.

8           Q.      (By Ms. Weaver)     Okay.    And looking at

9      paragraph 3.2, do you see where it says "Although

10     Facebook denies these allegations, Facebook agrees            04:14:23

11     to take the following steps intended to prevent

12     third party advertisers from excluding persons from

13     receiving advertisements for employment, housing,

14     credit, insurance and/or places of public

15     accommodation based on the Protected                          04:14:39

16     Characteristics to the extent they affect citizens

17     of Washington State."

18                  Do you see that?

19          A.      Yes.

20          Q.      And you've testified that Facebook has           04:14:50

21     taken steps to prevent advertisers from excluding

22     persons from employment, housing and credit, but

23     not insurance or places of public accommodation; is

24     that true?

25                  MR. BENJAMIN:     Objection to form.             04:15:06

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1      Misstates the testimony and scope.                          04:15:07

2                    THE DEPONENT:     They're two separate

3      pieces.      In 2019, we launched the updates to our

4      housing, employment and credit ads, which

5      restricted the targeting they could -- they could           04:15:18

6      use when running an ad.

7                    In 2018, we updated to remove the

8      exclusion capability for all ads related -- related

9      to the multicultural affinity segments and other

10     interests.      And across the board, prior to that,        04:15:34

11     our policy has always been -- our nondiscrimination

12     policy has always been in place.

13             Q.    (By Ms. Weaver)     So there was a policy

14     that said that you could not discriminate.

15                   But prior to that time, advertisers could     04:15:46

16     exclude people based on the protected

17     characteristics identified in 662, right?

18             A.    No.   Because our targeting options don't

19     represent those protected characteristics.

20             Q.    Did Facebook have a targeting category        04:16:10

21     for wheelchair users?

22             A.    There was an --

23                   MR. BENJAMIN:     Objection -- objection to

24     form.

25                   THE DEPONENT:     There was an interest       04:16:19

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1      called wheelchair users.     It was not based on           04:16:20

2      whether or not someone uses a wheelchair.

3           Q.   (By Ms. Weaver)     Was there a targeting

4      characteristics for Chinese people?

5                MR. BENJAMIN:     Objection to form.             04:16:33

6                THE DEPONENT:     There might have been an

7      interest called Chinese people.       But, again, it was

8      not based on whether or not someone was Chinese.

9           Q.   (By Ms. Weaver)     Was there a targeting

10     characteristic for Chinese literature and                  04:16:47

11     disability rights?

12               MR. BENJAMIN:     Same objection.

13               THE DEPONENT:     Yes.   Both of those seem

14     like they would have been interests as well.

15          Q.   (By Ms. Weaver)     Do you recall any other      04:16:59

16     targeting characteristics that were addressed in

17     this lawsuit related to the multicultural affinity

18     groups?

19               MR. BENJAMIN:     Objection to form and

20     scope.                                                     04:17:13

21               THE DEPONENT:     These aren't targeting

22     characteristics, just to be clear.       These list

23     targeting options.   Is that --

24          Q.   (By Ms. Weaver)     That's fine.      I'll

25     restate the question.                                      04:17:21

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1              A.   There -- I can think of --                           04:17:25

2              Q.   Let --

3              A.   Sorry.

4              Q.   Yeah.     Let me -- let me ask the question.

5                   Are you aware, as you sit here today, of             04:17:30

6      any other targeting options that related to the

7      multicultural affinity groups that were involved in

8      the subject matter of this lawsuit?

9              A.   So these are --

10                  MR. BENJAMIN:     Objection.     I'm sorry,          04:17:43

11     Bella.

12                  Objection to form and scope.

13                  THE DEPONENT:     These are distinct.        These

14     are interests.        They were also removed from

15     exclusion.     Multicultural affinity targeting                   04:17:51

16     options are their own set of options.           And those

17     were also removed from exclusion.           More than just

18     these two were removed from exclusion.

19             Q.   (By Ms. Weaver)     So can you identify any

20     others that were removed from exclusion?                          04:18:06

21                  MR. BENJAMIN:     Objection to scope.

22                  THE DEPONENT:     I -- I -- I don't know

23     that I can think of an example, just off the cuff,

24     of an interest we removed from exclusion at the

25     time.                                                             04:18:28

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1           Q.     (By Ms. Weaver)     Can Facebook create a             04:18:33

2      list of the exclusions that were ceased as a result

3      of this litigation?

4           A.     My understanding is that we could.

5           Q.     And how would you do that?                            04:18:53

6           A.     I think we've maintained the one -- or

7      maintained a list of what we updated because some

8      of these may still be available for inclusion.              And

9      so we would -- we would know which ones those are.

10          Q.     Other than this instance, are you aware               04:19:17

11     of other deprecated targeting options that have

12     occurred from 2007 to the present?

13                 And let's exclude partner categories as

14     well for now.

15          A.     Yes, we -- we've iterated what -- the                 04:19:33

16     targeting options numerous times over the years,

17     both adding and removing targeting options.

18          Q.     On how many occasions?

19                 MR. BENJAMIN:     Objection to form.         Vague.

20                 THE DEPONENT:     Our review and update is            04:19:50

21     pretty continuous.    I don't think that there's like

22     a -- a finite number of occasions where that's

23     happened.

24          Q.     (By Ms. Weaver)     On how many occasions

25     has Facebook deprecated targeting options as a                    04:20:02

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1      result of litigation or regulatory investigating?         04:20:04

2                   MR. BENJAMIN:     Objection to form.

3                   And I'd caution the witness not to

4      disclose privileged information in her response.

5                   THE DEPONENT:     I -- I don't think I can   04:20:25

6      share an exact number.

7           Q.      (By Ms. Weaver)     Is it more than 20?

8           A.      Occasions?

9           Q.      Yes.

10                  MR. BENJAMIN:     Same objections and        04:20:35

11     caution.

12                  THE DEPONENT:     I -- I don't think I can

13     share a response.

14          Q.      (By Ms. Weaver)     When you say you don't

15     think you can share, is that because you don't know       04:20:42

16     or because you think it's privileged?

17          A.      More the latter.

18                  MS. WEAVER:     I just need some clarity

19     here, Counsel.

20                  Are you asserting a privilege over the       04:20:53

21     number of times that Facebook has deprecated

22     targeting options following litigation?

23                  MR. BENJAMIN:     May -- may I ask the

24     witness?     It would be helpful to confer about

25     privilege.                                                04:21:08

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1                   MS. WEAVER:     That's fine.                      04:21:09

2                   THE DEPONENT:     That sounds good.      Sorry.

3      Thank you.

4                   SPECIAL MASTER GARRIE:        Let's go off the

5      record.                                                        04:21:13

6                   THE VIDEOGRAPHER:     Okay.     We're off the

7      record.   It's 4:21 p.m.

8                   (Recess taken.)

9                   THE VIDEOGRAPHER:     We're back on the

10     record.   It's 4:32 p.m.                                       04:32:08

11          Q.      (By Ms. Weaver)     Before we broke, the

12     pending question was, on how many occasions has

13     Facebook deprecated targeting options as a result

14     of litigation or regulatory investigation?

15                  MR. BENJAMIN:     And object to form and          04:32:21

16     scope.

17                  You can answer.

18                  THE DEPONENT:     I'm aware of two times

19     that we've updated targeting options as a result of

20     settlements that we came to in litigation.                     04:32:32

21          Q.      (By Ms. Weaver)     And what are those two

22     times?

23          A.      Once is the NAFFA settlement in 2019,

24     where we limited the targeting options for housing,

25     employment and credit ads.                                     04:32:45

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1                   And this -- the other time is this one           04:32:47

2      from Washington State where we removed the

3      capability of exclusion for targeting options --

4      several targeting options.

5              Q.   And then at a later point in time                04:32:56

6      Facebook removed the exclusion targeting option

7      altogether; is that right?

8              A.   No.     Sorry.     We -- we -- you can exclude

9      some types of targeting.           That was not a change we

10     made.                                                         04:33:13

11                  I'm not sure if that was something I -- I

12     confused on before.           Let me know if I can clarify.

13             Q.   Okay.     So for example, today, is it okay

14     on Facebook for advertisers to exclude people with

15     veteran or military -- military status?                       04:33:27

16                  MR. BENJAMIN:        Objection to form and

17     scope.

18                  THE DEPONENT:        We don't have someone's

19     military status.        But that related targeting

20     options, like an interest in -- in a veteran topic            04:33:47

21     would not be available for exclusion, after the

22     updates that we made in 2018.

23             Q.   (By Ms. Weaver)        And so prior to 2018,

24     advertisers could exclude from related targeting

25     options users with veteran or military status; is             04:34:11

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1      that right?                                                   04:34:19

2                  MR. BENJAMIN:     Objection to form.

3      Misstates and scope.

4                  THE DEPONENT:     The interests -- so for

5      example, topics similar to the ones we were                   04:34:26

6      discussing before, such as wheelchair users, those

7      were available for inclusion and exclusion.              In

8      2018, we updated them to be inclusion only and not

9      usable for exclusion.

10          Q.     (By Ms. Weaver)     And the other similar         04:34:41

11     interests that were available for exclusion prior

12     to 2018, included sexual orientation and

13     disability; is that right?

14          A.     Interests.   Again, not specifically based

15     on people's characteristics.                                  04:34:57

16          Q.     And so what kinds of interests are

17     related to sexual orientation, in Facebook's view?

18                 MR. BENJAMIN:     Objection to form and

19     scope.    Foundation.

20                 THE DEPONENT:     An example would be a           04:35:16

21     cause or an organization related to LGBTQ.

22          Q.     (By Ms. Weaver)     Would it also include

23     visits to specific websites looking for, for

24     example, HIV medication?

25                 MR. BENJAMIN:     Same objections.                04:35:33

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1                  THE DEPONENT:     That's not part of           04:35:35

2      interest targeting.       I'm not sure of the connection

3      in there.

4           Q.     (By Ms. Weaver)     Okay.    What other

5      interests targeting did Facebook deem to be                04:35:40

6      associated with sexual orientation?

7           A.     I -- that --

8                  MR. BENJAMIN:     Objection -- objection to

9      form and scope.

10                 THE DEPONENT:     Specifically, it was         04:35:50

11     interests that were related to causes,

12     organizations or events that tied into LGBTQ.

13          Q.     (By Ms. Weaver)     Does Facebook have a

14     list of the interests that related to those

15     categories as well, meaning veteran, military              04:36:07

16     status, sexual orientation and disability?

17                 MR. BENJAMIN:     Objection to form.

18                 THE DEPONENT:     We have a -- as I was

19     explaining before, we would be able to look at the

20     interests that are currently only -- or that were          04:36:23

21     updated to be inclusion only.        And that would be

22     effectively what you're asking, I think.

23                 MS. WEAVER:     And so we're making formal

24     request, Counsel, for production of those.

25          Q.     (By Ms. Weaver)     Okay.    I'm going to go   04:36:43

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1      back for the third time to Exhibit 657 -- this is         04:36:46

2      not your fault, this is my fault -- to the bullet

3      point that says "Facebook's policies restricting"

4      users -- "advertisers' use of advertising-related

5      data" limiting it to the use case.                        04:37:02

6                Do you remember we tried to talk about

7      that a couple times now?

8           A.   Yes.   We discussed it earlier.

9           Q.   We did.

10               What steps did Facebook take to enforce         04:37:09

11     those policies; that is, to limit advertisers' use

12     of advertising-related data to the use case?

13          A.   One of the most impactful and important

14     steps we take is that we build our product to help

15     prevent for potential misuse.                             04:37:33

16               And as an example, we -- the -- the

17     minimum audience threshold and only providing

18     aggregated information to advertisers without

19     disclosing to them who saw their ad are protections

20     to ensure that -- that advertisers only use               04:37:51

21     advertising-related data for the use case of

22     placing ads.

23          Q.   Is there any kind of task force that

24     investigates to make sure that advertisers are

25     using advertising-related data only for the               04:38:06

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1      advertising?                                                  04:38:09

2                   MR. BENJAMIN:     Objection to form.

3                   THE DEPONENT:     Again, because we don't

4      disclose that information, advertisers don't have

5      access to who saw their ad or they're -- and                  04:38:21

6      they're not able to -- to reidentify that, which is

7      the primary restriction and protection.

8           Q.      (By Ms. Weaver)     Okay.    The question was,

9      is there any kind of task force at Facebook that

10     operates to make sure advertisers are using                   04:38:41

11     advertising-related data only for advertising?

12          A.      I'm not clear what they would look for,

13     since our product does not provide the user level

14     information to advertisers.

15          Q.      Okay.     But I'm -- I'm not asking what --      04:39:00

16     I'm literally just saying, is there a task force,

17     yes or no?

18                  MR. BENJAMIN:     Objection to form.

19                  THE DEPONENT:     I -- I understand the

20     question.                                                     04:39:13

21                  It seems to assume that the task force

22     would have to look for something.          And my point is

23     that the product does not give the advertisers who

24     saw their ad.        And so I'm not sure what the task

25     force would accomplish.                                       04:39:24

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1           Q.    (By Ms. Weaver)     Okay.     I have that         04:39:25

2      answer.   You don't need to give it again.

3                 The question is, is today, does Facebook

4      have a task force that is focused on ensuring that

5      advertisers' use of advertising-related data is              04:39:36

6      limited to advertising?

7                 MR. BENJAMIN:     Object to form.

8      Argumentative.    And asked and answered.

9                 THE DEPONENT:     The product build those

10     protections in.    We don't have an additional task          04:39:59

11     force looking at this specifically because the

12     product has those protections built in.

13          Q.    (By Ms. Weaver)     Thank you.

14                What is the ads integrity team?

15          A.    Ads integrity was -- was a team.           It's   04:40:23

16     been renamed business integrity.         Helps uphold our

17     advertising policies.      So the policies that -- that

18     dictate the type of content and restrictions on

19     advertising.

20          Q.    What specific policies does the ads               04:40:41

21     integrity team enforce, and can you give examples

22     of such enforcement?

23                MR. BENJAMIN:     Objection to form.

24                THE DEPONENT:     Yeah.     The -- as an

25     example, under our policies, they're restricted              04:40:55

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1      content, prohibited content.        The advertiser -- or      04:40:58

2      business integrity team manages those policies

3      and -- and builds our detection for them.

4           Q.     (By Ms. Weaver)     What do you mean by

5      restricted content?                                           04:41:12

6           A.     So as an example, content that we require

7      specific targeting parameters for or disallow other

8      targeting parameters for.

9           Q.     What is an example of content that you

10     require specific targeting parameters for?                    04:41:27

11          A.     In order to run an alcohol ad, the

12     advertiser must set their targeting to 18 plus or

13     21 plus, depending on the location they're trying

14     to run their ad.

15          Q.     Any other examples that you can think of?         04:41:41

16          A.     Yes.   Weight loss ads must be 18 and

17     above.    Similar, gambling ads require specific --

18     have -- an advertiser choosing to run a gambling ad

19     has to also have age targeting set appropriately

20     for their location.                                           04:42:00

21                 There's content we also outright prohibit

22     that's under our --

23          Q.     Like what?

24          A.     We don't allow weapons to be sold in ads.

25     We don't allow discriminatory content.          We don't --   04:42:12

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1      back to the restricted examples.                              04:42:16

2                  We don't allow housing, employment and

3      credit advertisers to run -- you -- they have to

4      run with the specific limited targeting options

5      provided to them after 2019.        That's an example of      04:42:26

6      something that the business integrity team

7      enforces.

8           Q.     Anything else?

9           A.     Yes.     If -- I mean, the -- the policies

10     in our advertising policies are enforced on by our            04:42:42

11     business integrity team.       Those were examples.

12          Q.     Right.

13                 So what specific policies are you

14     thinking of that they say that they enforce?

15                 MR. BENJAMIN:     Objection to form and           04:42:56

16     scope.

17                 THE DEPONENT:     I'm sorry.     Can you repeat

18     the question.

19          Q.     (By Ms. Weaver)     Yes.

20                 So I -- if you go to Exhibit 657, the --          04:43:08

21     the middle bullet point says "Ms. Leone will be

22     prepared to discuss: The role of Facebook's Ads

23     Integrity Team."

24                 Do you see that?

25          A.     Yes.                                              04:43:21

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1             Q.     So what specific policies is the ads                  04:43:21

2      integrity team enforcing?

3             A.     Our advertising policies are what they

4      enforce.      The examples I gave were the restricted

5      content and prohibited content sub-policies within                  04:43:35

6      there.      I don't know the full set of policies off

7      by heart.

8             Q.     Can you think of any other examples, as

9      you sit here?

10                   MR. BENJAMIN:     Objection to form.         Vague.   04:43:54

11                   THE DEPONENT:     In addition to the

12     restricted content policies that I --

13            Q.     (By Ms. Weaver)     Yes.

14            A.     -- explained, such as alcohol, gambling,

15     weight loss, and the prohibited content, such as                    04:44:03

16     weapons, hateful content -- hateful -- anything

17     that -- that goes against our community standards.

18     So if you're promoting something we've designated

19     as a dangerous organization, those are all areas

20     that they would help enforce.                                       04:44:23

21            Q.     So there's a myriad of ways in which

22     Facebook can enforce and limit the scope of

23     advertising content sent to users, right?

24            A.     We have enforcement for those policies,

25     yes.                                                                04:44:40

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1              Q.   But there is no task force to enforce              04:44:48

2      whether or not advertisers are using data for use

3      cases other than advertising, correct?

4                   MR. BENJAMIN:     Objection.     Objection to

5      form.                                                           04:44:59

6                   THE DEPONENT:     Our protections to prevent

7      misuse is that we build the products so they don't

8      get that data.     That is an upstream protection that

9      is distinct from enforcing a content policy where

10     there isn't the same corollary.          It's -- it's a         04:45:14

11     very different problem space and so we built it

12     into the product.

13             Q.   (By Ms. Weaver)     So if you learned that

14     third parties were scraping, for example, Facebook

15     user IDs, there's no task force that could                      04:45:25

16     investigate to prevent it.

17                  Facebook simply relies on the fact that

18     the policy is they're not supposed to do that; is

19     that right?

20                  MR. BENJAMIN:     Objection to form.               04:45:36

21     Misstates prior testimony.        Argumentative.

22                  THE DEPONENT:     That's incorrect.      We have

23     teams that look at scraping.         That is outside of

24     advertising.     It is not relevant to the information

25     we provide to advertisers in their performance --               04:45:50

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1      in the performance of their ads.                           04:45:53

2           Q.     (By Ms. Weaver)     And would you view

3      yourself as a privacy specialist?

4           A.     That is not a title I assign to myself.

5           Q.     Okay.   So within --                           04:46:04

6           A.     I'm not sure what we mean by it.

7           Q.     Sure.

8                  Within the scope of your -- you've been

9      the privacy -- a privacy and policy manager at

10     Facebook since November 2019; is that right?               04:46:15

11          A.     Yes.

12          Q.     And what are your duties and

13     responsibilities in that role?

14          A.     I work with our ads product teams to

15     understand where they're going to develop future           04:46:27

16     products.    I consult with them.       I work with them

17     on updates to our current products.

18          Q.     So what's the privacy piece of your job

19     description that appears in your title?

20          A.     I focus on Facebook's data use.                04:46:42

21          Q.     And when you say "Facebook's data use,"

22     what do you mean?

23          A.     I mean the type of information that we

24     use for ads.

25          Q.     And do you focus on what information           04:46:53

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1      Facebook shares with third parties?                        04:46:56

2           A.     That sometimes is in scope in the context

3      of ads.

4           Q.     Is there somebody else who's primarily

5      responsible for addressing what Facebook -- what           04:47:05

6      information Facebook shares with third parties and

7      whether or not it complies with Facebook's

8      policies?

9                  MR. BENJAMIN:     Objection to form.

10                 THE DEPONENT:     In the context of scraping   04:47:22

11     more generally across the platform, yes.

12                 Is that --

13          Q.     (By Ms. Weaver)     And in -- at an even

14     more high level, is there somebody responsible at

15     Facebook for determining whether or not when               04:47:33

16     Facebook shares data with third parties, it is

17     complying with Facebook's policies?

18          A.     Yes.

19          Q.     Who is that?

20          A.     Our -- our privacy org is part of that         04:47:45

21     assessment.    An example would be Mike Clark.

22          Q.     Anyone other than Mr. Clark?

23                 MR. BENJAMIN:     Objection to form and

24     scope.

25                 THE DEPONENT:     He -- he's -- he is the      04:48:02

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1      POC I know that -- that is involved in what it             04:48:04

2      sounds like you're getting at, which is access by

3      third parties to data across Facebook.

4              Q.   (By Ms. Weaver)     What does POC mean in

5      this context?                                              04:48:18

6              A.   I'm sorry.

7                   Point of contact.

8              Q.   Another person might think it means

9      person of color.

10             A.   Yes, I realize once I said it.                04:48:26

11             Q.   So Mike Clark is the lead person in the

12     privacy organization responsible for enforcing

13     whether or not Facebook's sharing of data with

14     third parties complies with its policies; is that

15     right?                                                     04:48:43

16                  MR. BENJAMIN:     Objection to scope and

17     form.

18                  THE DEPONENT:     His team manages -- from

19     my understanding, his team manages with how third

20     parties -- if they have inappropriately accessed           04:49:01

21     data, as an example through the scraping UIDs that

22     you've mentioned.

23             Q.   (By Ms. Weaver)     And what is the name of

24     his team?

25                  MR. BENJAMIN:     Same objections.            04:49:14

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1                THE DEPONENT:     I -- I'm actually not sure    04:49:14

2      the official name of his team.

3           Q.   (By Ms. Weaver)     In addition to scraping,

4      is his team the team that's responsible for

5      determining if, for example, data shared with third       04:49:24

6      parties might allow users to be personally

7      identified?

8                MR. BENJAMIN:     One moment.

9                Objection to form and scope.

10               THE DEPONENT:     I -- I'm not sure of the      04:49:48

11     parameters of what you mean.      I don't think that

12     there is a singular POC that looks at that.

13               We have our misuse, which is what I was

14     explaining Mike Clark's team does.        And then we

15     also have the protections we've put in place within       04:50:06

16     ads to ensure that we don't provide identifiable

17     information to advertisers.

18               So I -- I -- do you mind clarifying what

19     you're looking for that's distinct from those two.

20          Q.   (By Ms. Weaver)     You understand that         04:50:21

21     protections are different than enforcement, right?

22          A.   Yes.

23          Q.   So I'm trying to find out who is -- who

24     is responsible for enforcing that Facebook does not

25     share identifiable information with third parties.        04:50:36

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1                     MR. BENJAMIN:     Objection.                   04:50:42

2              Q.     (By Ms. Weaver)     Do you know who that is,

3      if anyone?

4                     MR. BENJAMIN:     Objection to form and

5      scope.                                                        04:50:46

6                     THE DEPONENT:     The access third parties

7      have to our -- to data across Facebook is something

8      Mike Clark's team evaluates.

9              Q.     (By Ms. Weaver)     What's your

10     understanding of the definition of personally                 04:51:02

11     identifiable information?

12                    MR. BENJAMIN:     Scope and form.

13                    THE DEPONENT:     Something that is

14     specifically tied to a user and uniquely tied to a

15     user.                                                         04:51:17

16             Q.     (By Ms. Weaver)     Do you have an

17     understanding that actually personally identifiable

18     information is anything that could be used to

19     reasonably identify a person?

20                    MR. BENJAMIN:     Objection to form and        04:51:30

21     scope.       And to the extent it calls for legal

22     conclusion.

23                    THE DEPONENT:     I understand that's a

24     definition that you presented and I -- I -- I

25     understand what you mean.                                     04:51:41

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1           Q.   (By Ms. Weaver)     What is Facebook's          04:51:43

2      understanding of what it means when they promise

3      that they will not provide personally identifiable

4      information to advertisers?

5           A.   That we --                                      04:51:56

6                MR. BENJAMIN:     Objection -- objection to

7      form and scope of this deposition.

8                THE DEPONENT:     That we don't provide

9      information to advertisers so that they -- can

10     understand who saw their ad.                              04:52:08

11          Q.   (By Ms. Weaver)     And just, again, to

12     address the scope, under topic 8 on page 3 of

13     Exhibit 657 of the letter that Mr. Benjamin wrote

14     me, topic 8 is the "type and purpose of Data and

15     Information Facebook provided."                           04:52:26

16               MR. BENJAMIN:     Special Master --

17               MS. WEAVER:     And it states that Ms. Leone

18     will be prepared to discuss how Facebook tracks

19     user data received from advertisers, its

20     relationships and the ads placed, and tracks data,        04:52:44

21     if any, provided to advertisers.

22          Q.   (By Ms. Weaver)     Going back to the

23     question --

24               MR. BENJAMIN:     Special Master, would you

25     prefer that I respond outside the presence of the         04:52:54

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1      witness?                                                  04:52:56

2                  SPECIAL MASTER GARRIE:     I -- I would,

3      actually.

4                  Would be it okay, Ms. Leone, if you go to

5      the breakout room for a few minutes.                      04:53:02

6                  THE DEPONENT:   Yup.

7                  SPECIAL MASTER GARRIE:     Say five

8      minutes -- wait until your counsel comes and gets

9      you.

10                 MR. BENJAMIN:   Are we on the record?         04:53:20

11                 SPECIAL MASTER GARRIE:     Yup.

12                 MR. BENJAMIN:   Thank you.     Just to

13     respond briefly to Counsel Weaver, Special Master.

14                 So the letter actually reads and the

15     first bullet says the "Tracking of '[t]he type and        04:53:27

16     purpose of Data and Information Facebook'"

17     receives.

18                 I believe Counsel Weaver only read the

19     part after "Tracking."

20                 Moreover association and identification       04:53:37

21     of user info was, as you know, the subject of

22     topic 4 and other 30(b)(6) testimony.

23                 So my scope objection was asserted in

24     response to a question about -- I'll read it --

25     "What is Facebook's understanding of what it means        04:53:54

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1      when they promise that they will not provide               04:53:57

2      personal identifiable information to advertiser."

3                  I don't think that that relates to the

4      tracking of the type and purpose of data and

5      information Facebook receives.        And, again,          04:54:07

6      plaintiffs have already taken two different

7      30(b)(6) depositions on association identification

8      under topic 4.

9                  SPECIAL MASTER GARRIE:       Counsel Weaver,

10     is there anything you want to put on the record?           04:54:21

11                 MS. WEAVER:     Sure.

12                 This witness has testified already at

13     length that Facebook is not providing personally

14     identifiable information.       I'm trying to understand

15     what she means when she said that on behalf of             04:54:33

16     Facebook.

17                 MR. BENJAMIN:     I believe Ms. Leone has

18     testified repeatedly that Facebook doesn't provide

19     advertisers with user level data.

20                 SPECIAL MASTER GARRIE:       User -- user      04:54:48

21     granular data, I think she used.         Granular level,

22     yeah.

23                 MR. BENJAMIN:     Yeah.   So, again,

24     topic 8 -- and I just want to read the -- let's

25     just start with reading what the letter actually           04:54:57

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1      says into the record.                                     04:54:59

2                It says that "Ms. Leone will be prepared

3      to address:" -- the first bullet says -- the

4      "Tracking of '[t]he type and purpose of Data and

5      Information Facebook received.'"                          04:55:07

6                Topic 8(a).   That's the language that

7      Counsel Weaver read in part.

8                And she was asked to define a term,

9      personally identifiable information, and I objected

10     to it as being out of scope.                              04:55:20

11               MS. WEAVER:   That's what just happened.

12     But three hours ago she spent a long time talking

13     about how certain information does not identify the

14     user, including geo location and all of the other

15     categories.                                               04:55:32

16               I want to understand what Facebook -- the

17     people in Facebook's advertising department, who

18     are saying "We don't give third parties personally

19     identifiable information," I am entitled to

20     corporate testimony on what they mean when they say       04:55:45

21     that.

22               SPECIAL MASTER GARRIE:     All right.      Is

23     the witness prepared to -- well, before we get into

24     the nits and nats of all this, is the witness

25     prepared to answer the question on behalf of              04:55:56

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1      Facebook or not?                                          04:55:59

2                MR. BENJAMIN:     Which question

3      specifically, Special Master?

4                SPECIAL MASTER GARRIE:       The one

5      Counsel Weaver just asked that you objected to            04:56:04

6      that's outside of scope.

7                MS. WEAVER:     Let me -- let me, if I can,

8      just let me read from 218, lines 3 through 10.

9                "So the representation here is that

10               Facebook is not providing any                   04:56:25

11               personally identifiable information

12               through the targeted advertising

13               process, right?

14               Objection to form.      Vague.

15               We don't provide advertisers                    04:56:32

16               information about the users who saw

17               their ad and how to identify those

18               users."

19               So she's made this assertion that's a

20     shield for Facebook, and I just want to ask what          04:56:43

21     her understanding of personally identifiable

22     information is.

23               MR. BENJAMIN:     That isn't the -- but that

24     isn't the term that she used, and you've already

25     taken two different 30(b)(6) depositions about this       04:56:53

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1      topic.                                                          04:56:57

2                   MS. WEAVER:     No, I have not.     And, in

3      fact, we'll get to it, but Mr. Clark refused to

4      actually define the term.

5                   MR. BENJAMIN:     She -- she's -- she's not        04:57:04

6      been designated to provide corporate testimony on

7      Facebook's understanding of the meaning of

8      personally identifiable information.

9                   MS. WEAVER:     And here we are again.        Of

10     course we didn't enumerate every question we have               04:57:15

11     to -- we -- we were going to ask.          The very

12     question is, what data is Facebook giving to third

13     parties.     And is it identifiable.

14                  MR. BENJAMIN:     That -- that is the --

15                  MS. WEAVER:     The next question is, are          04:57:30

16     you going to --

17                  SPECIAL MASTER GARRIE:       Wait, wait.

18     Everybody is interpreting my -- my silence as a

19     reason to talk.     It's just I'm thinking.         My

20     apologies.                                                      04:57:42

21                  I guess the first question,

22     Counsel Benjamin, is the witness prepared to answer

23     the question on behalf of Facebook?

24                  MR. BENJAMIN:     The witness was not

25     designated to provide the company's position about              04:57:56

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1      the meaning of personally identifiable information.         04:57:58

2                 SPECIAL MASTER GARRIE:       I -- I understand

3      that.   That's not the question that's pending.

4                 MR. BENJAMIN:     So I'm -- I'm just looking

5      at it before we went -- we went into this colloquy,         04:58:10

6      Special Master, so I'll just -- I'll read it so

7      we're all on the same page.

8                 One moment.     Ms. Weaver, if you have it

9      in front of you, I just want to make sure that

10     we're discussing the same question.                         04:58:36

11                "What is Facebook's understanding" --

12     this is line 12 -- "What is Facebook's

13     understanding of what it means when they promise

14     that will not provide personal identifiable

15     information to advertiser?"                                 04:58:52

16                That was the question that -- to which I

17     objected on form and scope.      And then Ms. Weaver

18     went to the bullet point in the letter that she

19     read part of.

20                SPECIAL MASTER GARRIE:       I -- I'm very       04:59:07

21     aware and my question is, is Facebook -- is the

22     witness prepared to answer the question on behalf

23     of Facebook?

24                MR. BENJAMIN:     So I believe the question

25     that's pending actually misstates the record.               04:59:36

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1                  So I -- I can't tell you, Special Master,         04:59:42

2      that she's prepared to answer that specific

3      question because I think that it's objectionable in

4      a number of ways.

5                  What she has said is that we don't                04:59:51

6      provide data to advertisers identifying individual

7      users.   She hasn't provided testimony based on a

8      definition of personal -- of PII.          So I -- she's

9      very prepared to explain all the ways --

10                 SPECIAL MASTER GARRIE:        I just have a       05:00:09

11     simple -- so -- you -- I -- I understand you're

12     objecting to the question and the form.

13                 My question is, the question as it is, is

14     she prepared to answer the question on behalf of

15     Facebook.     Not the form of the question and not            05:00:24

16     whether it's -- just -- and then I can --

17                 MR. BENJAMIN:      Right.    It's just -- yeah,

18     I -- I think the answer, Special Master, is it's

19     just not in scope.     So...

20                 MS. WEAVER:     Okay.    And I just want to go    05:00:37

21     on the record that --

22                 SPECIAL MASTER GARRIE:        We're still on

23     the record.

24                 MS. WEAVER:     Fair enough.

25                 SPECIAL MASTER GARRIE:        So can I just       05:00:44

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1      finish?                                                      05:00:45

2                MS. WEAVER:     Yes.

3                SPECIAL MASTER GARRIE:       Let -- let me

4      just -- just finish here.

5                That's fine, Counsel Benjamin.         I just --   05:00:48

6      so then before we go further, I want to be

7      respectful of the witness' time and the effort that

8      has been done.

9                And if there's an issue about scope and

10     other things, and the witness isn't prepared to              05:01:10

11     answer the question, Counsel Weaver, on behalf of

12     Facebook -- I mean, we -- I mean, there's -- I'm

13     not going to permit a line of questioning whether

14     or not prepared to answer it.

15               If so, if there are -- well,                       05:01:26

16     Counsel Weaver, if you would like to respond on the

17     record and then Counsel Benjamin rebuttal.         And

18     then I'll make the ruling quickly.

19               MS. WEAVER:     Okay.

20               SPECIAL MASTER GARRIE:       Counsel Weaver.       05:01:38

21               MS. WEAVER:     Yes.    We marked Exhibit 658

22     a couple of hours ago.     We covered the promise in

23     this document -- there's a document identified by

24     Facebook as a document that this witness would be

25     prepared to testify.     This is the second time this        05:01:50

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1      has happened in this case.                                05:01:53

2                That document says at page 5, "We don't

3      share information with advertisers that personally

4      identifies individuals unless they've given us

5      permission."                                              05:02:03

6                She then testified about this document.

7      And when I asked, the representation here is that

8      Facebook is not providing any personally

9      identifiable information through the targeting --

10     the targeted advertising process, right.                  05:02:16

11               And she said "We don't provide

12     advertisers information about the users who saw

13     their ad and how to identify those users."

14               Now I'm trying to dig in, when we talk

15     about enforcement, and all of a sudden she can't          05:02:28

16     define the words in the document that Facebook

17     identified that she would be prepared to discuss

18     with regard, very specifically, to what Facebook

19     shares through the targeted advertising process.

20               I think it's very clearly within scope.         05:02:42

21     And at some point we're going to bring a motion to

22     compel Facebook to identify and define what

23     personally identifiable information is in documents

24     that they are identifying their witness as having

25     knowledge of.                                             05:02:59

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1                MR. BENJAMIN:     Yeah, Special Master,            05:02:59

2      the -- the rebuttal is very short.

3                I -- Counsel Weaver said it already.

4      This -- this document itself was the subject of

5      extensive testimony.    Ms. Leone answered all the           05:03:08

6      questions she was asked about it.       She didn't

7      define personally identifiable information.            The

8      question that I read is clearly outside of scope.

9                Plaintiffs have already taken two

10     depositions on this subject.      And we were very           05:03:21

11     clear about what Ms. Leone was designated to

12     testify to in all of the prior meet-and-confers.

13               So, again, I just want to be clear, what

14     she has said consistently throughout this

15     deposition is that Facebook doesn't provide                  05:03:33

16     advertisers with user level data.

17               And Counsel Weaver is -- should feel free

18     to explore with her what that means.        I was just

19     lodging a scope objection to the specific question

20     that was asked, which relies on a term that                  05:03:48

21     Ms. Leone hasn't used and that isn't in the

22     document that Counsel Weaver just pointed to.

23               MS. WEAVER:     It -- it is in the document.

24     The word personally identifiable information is --

25               SPECIAL MASTER GARRIE:       It's on page 5.       05:04:02

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1                  MS. WEAVER:     Sorry.                         05:04:03

2                  SPECIAL MASTER GARRIE:       I mean, it --

3      that word personal -- it is on page 5 of the

4      document.    I just read it myself.        So that --

5      unless I'm reading a different document,                   05:04:13

6      Counsel Benjamin, but --

7                  MR. BENJAMIN:     I was -- I was referring

8      to the phrase "personal identifiable information or

9      PII" which -- which we all understand can be a term

10     of art.                                                    05:04:25

11                 So again --

12                 SPECIAL MASTER GARRIE:       Counsel Weaver.

13     No, no, I heard -- I -- I understand,

14     Counsel Benjamin.

15                 MR. BENJAMIN:     Thank you.                   05:04:38

16                 SPECIAL MASTER GARRIE:       Counsel Weaver.

17                 MS. WEAVER:     I'm looking at -- just give

18     me a moment here.

19                 What is the difference between

20     information that personally identifies individuals         05:04:50

21     or personally identifiable information?

22                 Aren't I entitled to explore Facebook's

23     understanding of that.       The sentence says

24     information that -- with advertisers that

25     personally identifies individual.          And if I ask    05:05:02

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1      about personally identifiable information, Facebook            05:05:04

2      refuses to provide it.       And this is the second

3      time.

4                   In Mr. Clark's deposition, he said he

5      needed to look at a document to give me testimony.             05:05:13

6      And when we gave it to him, it had this term -- it

7      said had personally identifiable information in it

8      and Facebook wouldn't provide a deposition.

9                   And now Ms. Leone is saying this is the

10     guy that's responsible for enforcement.           He doesn't   05:05:26

11     know what personally identifiable information is.

12     Now I want to know if she does.

13                  I don't know how to get to the bottom of

14     this case.     I can bring a motion to compel to bring

15     her back.     I will.   Somebody's got to be able to           05:05:38

16     answer that question before the close of discovery.

17                  MR. BENJAMIN:    I'm sorry, Ms. Weaver.      I

18     didn't mean to step on your sentence.          Just two

19     very quick points.

20                  Number one, I think when Counsel Weaver           05:05:48

21     was actually examining Ms. Leone about the

22     document, she asked her what that language meant.

23     And that was appropriate, and I think that

24     testimony was provided.

25                  If she puts the doc- -- if she wants to           05:06:01

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1      put the document in front of Ms. Leone again and           05:06:02

2      ask her for Facebook's understanding of that

3      language in the policy, maybe -- maybe that's a way

4      to cut through this.

5                All -- all I was reacting,                       05:06:10

6      Special Master, was the --

7                SPECIAL MASTER GARRIE:       No, no, I get it.

8      I -- Counsel Benjamin, I understand.        I get what

9      you were reacting to.    We've kind of gone off the

10     rails a bit.    I recognize that.     I let you guys       05:06:19

11     speak, arguably too much.

12               Not a reflection of your litigation

13     prowess, it's just a little bit afield of what the

14     objection had to do with.

15               Counsel Weaver, with the information             05:06:44

16     that's been provided by Counsel Benjamin, you

17     can -- the witness isn't prepared to testify on

18     behalf of Facebook the way the question is phrased.

19               If you want to rephrase the question and

20     explore the topic further, it's perfectly                  05:06:58

21     reasonable.    If you wish to bring a motion to

22     compel to get the definition of personal

23     identifiable information from a Facebook designated

24     representative, you are well within your rights.

25     But this witness is prepared to testify on the             05:07:13

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1      topics and the question was asked.                          05:07:17

2                   So with that in mind, I ask -- consider

3      it as a strong ask -- that you consider re- --

4      rephrasing your question with the information

5      that's been provided, recognizing that the witness          05:07:36

6      simply isn't prepared to testify on behalf of

7      Facebook the way the question is being asked.

8                   MS. WEAVER:     Okay.

9                   MR. BENJAMIN:     Thank you, Special Master.

10                  SPECIAL MASTER GARRIE:       That doesn't --   05:07:52

11     just to -- for the record, that doesn't mean

12     plaintiffs aren't entitled to a witness to answer

13     or explain, if they feel that that information is

14     critical or necessary to their case.           But this

15     witness --                                                  05:08:04

16                  MS. WEAVER:     I mean, the one thing I

17     would say is if Facebook is providing documents to

18     us with these terms in it, and then I ask about

19     them and they tell me it's not within the scope --

20     I mean, do I have to go through every document that         05:08:13

21     has terms in it and identify now within the

22     documents you better be able to talk about these

23     terms?

24                  SPECIAL MASTER GARRIE:       No --

25                  MR. BENJAMIN:     Yeah.                        05:08:27

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1                  SPECIAL MASTER GARRIE:       -- I don't             05:08:27

2      think that's what's being --

3                  MR. BENJAMIN:     Yeah.

4                  SPECIAL MASTER GARRIE:       I -- I think -- I

5      think -- no.    I mean, I -- at least not from where            05:08:29

6      I sit.   But I would just -- the particular question

7      you've asked and the way it was asked, I think if

8      you reask the question using --

9                  MS. WEAVER:     Okay.

10                 SPECIAL MASTER GARRIE:       -- that you            05:08:44

11     probably will make forward progress.          I think

12     Counsel Benjamin alluded to one possible approach

13     to getting forward progress may or may not --

14     depending on -- on where we go.

15                 So we'll call the witness back,                     05:08:59

16     Counsel Benjamin, and we'll keep going.

17                 MR. BENJAMIN:     Thank you.

18                 THE COURT REPORTER:       Can we just take --

19     can we take five?

20                 SPECIAL MASTER GARRIE:       Yes, we can.           05:09:14

21                 MS. WEAVER:     And how much time do we have

22     left?

23                 All right.    Let's go off the record.

24                 THE VIDEOGRAPHER:       Off the record.      It's

25     5:09 p.m.                                                       05:09:20

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1                 (Recess taken.)                                05:09:21

2                 THE VIDEOGRAPHER:     We are back on the

3      record.   It's 5:19 p.m.

4           Q.    (By Ms. Weaver)     Ms. Leone, I'll ask you

5      to take a look at Exhibit 658.                            05:19:43

6           A.    I have it up.

7           Q.    And turning to the page we discussed

8      earlier, on page 5.

9                 And there's a bullet point that says, "We

10     don't share information with advertisers that             05:19:59

11     personally identifies individuals unless they've

12     given us permission."

13                Do you see that?

14          A.    Yes.

15          Q.    What is your understanding of information      05:20:07

16     that personally identifies individuals?

17          A.    In the context of ads, it's that we do

18     not share with the advertiser who saw their ad so

19     that they understand who that user was.

20          Q.    And when you say who -- "We do not share       05:20:23

21     who saw their ad," what do you mean?

22          A.    The user who saw their ad.        We don't

23     share the identity of that user with the

24     advertiser.

25          Q.    Does Facebook share information that           05:20:38

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1      enables third parties to identify the user?               05:20:41

2                 MR. BENJAMIN:     Objection to form.

3                 THE DEPONENT:     No.   As I mentioned, our

4      product -- the protections in our product, such as

5      the performance metrics, are aggregated so to avoid       05:20:58

6      an advertiser reassociating and trying to identify

7      the user who saw the ad.

8            Q.   (By Ms. Weaver)     And do you think that

9      geo location is an example of information that

10     personally identifies an individual?                      05:21:15

11                MR. BENJAMIN:     Objection to form.

12                THE DEPONENT:     In the context of ads, we

13     don't share who viewed the ad or their location

14     with an advertiser.

15           Q.   (By Ms. Weaver)     But if an advertiser is    05:21:37

16     seeking to advertise within a one-mile radius

17     and/or if they are using their own customer list,

18     doesn't the advertiser know who the person is?

19                MR. BENJAMIN:     Objection to form and

20     scope.                                                    05:21:54

21                THE DEPONENT:     No.   They -- for example,

22     if someone selects a radius or selects their

23     location targeting, they don't know who sees the

24     ad.   We don't share the information with them about

25     who's seeing the ad.                                      05:22:09

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1            Q.     (By Ms. Weaver)     Okay.    So the -- then    05:22:11

2      your testimony on behalf of Facebook is that

3      because Facebook is not sharing who saw the ad, it

4      is not sharing information that personally

5      identifies individuals; is that correct?                    05:22:22

6                   MR. BENJAMIN:     Objection to form.

7      Misstates.

8                   THE DEPONENT:     We don't share information

9      about who saw the ad to the advertiser so that they

10     can identify that user.                                     05:22:37

11           Q.     (By Ms. Weaver)     I understand that you

12     have to keep repeating the sentence, and I'm trying

13     to drill in by -- on what you mean by who saw the

14     ad.

15                  When you say "we don't identify who," do       05:22:45

16     you mean by name?

17           A.     I mean individual users.       Their name is

18     an example, similar to Lesley Weaver saw this ad.

19     That is not what we share with advertisers.

20           Q.     Okay.   Can you give me the full list of       05:23:00

21     what you think it is that Facebook does not share,

22     such that it is not sharing information that

23     personally identifies individuals?

24                  MR. BENJAMIN:     Objection to form.

25                  THE DEPONENT:     I -- I can't define          05:23:18

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1      everything we don't share.        It's --                    05:23:20

2           Q.      (By Ms. Weaver)     Let me put it this way.

3      What is that you think is information that

4      personally identifies individuals?

5                   MR. BENJAMIN:     Objection to form.            05:23:35

6                   THE DEPONENT:     In the context --

7                   MR. BENJAMIN:     Sorry.    Objection to form

8      and scope.

9                   I understand Counsel Weaver still to be

10     examining you about Exhibit 658 and the language in          05:23:45

11     that document.

12                  You can answer.

13                  THE DEPONENT:     In the context of ads,

14     it's that we do not provide advertisers with

15     information to understand who saw their ad,                  05:23:56

16     specifically which users saw their ad.

17          Q.      (By Ms. Weaver)     Give me the examples of

18     the information that you just referred to in that

19     answer.

20          A.      We don't -- in our -- as an example, in         05:24:15

21     our performance metrics, those are aggregated so

22     that an advertiser doesn't know who specifically

23     clicked or saw their ad.

24          Q.      I understand.

25                  I'm asking you a different question.            05:24:29

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1                  What is the kind of information that you             05:24:31

2      think would personally identify an individual?

3                  MR. BENJAMIN:     Objection to form.         Asked

4      and answered.    Vague.

5                  THE DEPONENT:     In the context of ads,             05:24:44

6      again, it's who saw your ad and which users those

7      were, which would personally identify someone in

8      the context of ads.

9           Q.     (By Ms. Weaver)     So do you mean name, or

10     email, or what is the kind -- I need examples of                 05:24:55

11     the kind of information that you say would

12     personally identify an individual.

13                 MR. BENJAMIN:     Yeah.

14          Q.     (By Ms. Weaver)     What do you mean?

15                 MR. BENJAMIN:     Objection to form and              05:25:08

16     scope.    And I'll just make a running objection for

17     the sake of the record.

18                 And so as not to impede the deposition to

19     this entire line of questioning, I understand

20     Counsel Weaver to examining you about the language               05:25:19

21     within Exhibit 658 about information that

22     personally identifies individuals.

23                 On that basis, you can answer.

24                 THE DEPONENT:     As an example, we don't

25     share with advertisers the person who saw the ad,                05:25:36

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1      which would include their name, their UID, or their            05:25:39

2      email, because that's not information we share with

3      advertisers in delivering the ads that they've

4      placed on Facebook.

5            Q.     (By Ms. Weaver)     What about IP address?        05:25:51

6      Is that an example of information that could be

7      used to personally identify an individual?

8                   MR. BENJAMIN:     Same objections to form

9      and scope.

10                  THE DEPONENT:     It's not information we         05:26:05

11     share with an advertiser, as a starting point.            In

12     the context of ads -- again, it's not information

13     we share with advertisers about who's seeing their

14     ad.

15           Q.     (By Ms. Weaver)     If a advertiser wants to      05:26:25

16     target IP addresses or geo location, in your

17     understanding, could that be used to identify an

18     individual?

19           A.     Our targeting options --

20                  MR. BENJAMIN:     Sorry, Bella.                   05:26:39

21                  Same objections.

22                  THE DEPONENT:     Our targeting options

23     aren't based on IP address.        That's not a targeting

24     option we offer.

25           Q.     (By Ms. Weaver)     Okay.    It is something      05:26:48

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1      that you mentioned earlier today.                            05:26:49

2                  Do you recall that?

3            A.    To clarify, what I explained earlier was

4      an advertiser selects where they want their ad to

5      be shown.    So if they want their ad to be shown to         05:27:01

6      people in Washington State.       And then we use that

7      to set the eligible audience for the ad.

8                  One of the ways someone can be included

9      in it includes location, such as IP, based on their

10     IP.   That is not the same as giving the advertiser          05:27:21

11     the ability to select IP addresses to target.

12           Q.    And is it your understanding that

13     information that can be used one or two data points

14     together to identify a person would constitute

15     information that personally identifies individuals?          05:27:43

16                 MR. BENJAMIN:     Same objection to form and

17     scope, with respect to Exhibit 658.

18                 THE DEPONENT:     I can understand what you

19     mean about combining data points.         I do not see the

20     relevance of how that's happening within our ad              05:28:01

21     targeting or the information we provide back to

22     advertisers, because we specifically don't provide

23     information back to advertisers at the user --

24     at the individual or user level.

25           Q.    (By Ms. Weaver)     On behalf of Facebook,       05:28:16

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1      as you sit here today, is Facebook aware that                    05:28:17

2      advertisers or AP -- developers were scraping UIDs

3      via the platform API?

4                 MR. BENJAMIN:     Objection to form.         And

5      asked and answered repeatedly.         And scope.                05:28:35

6                 THE DEPONENT:     I think I clarified that

7      I'm not aware of specific instances.         It is not my

8      role to be aware of specific instances of where

9      scraping is occurring on the platform.

10          Q.    (By Ms. Weaver)     Is Uber a partner who             05:28:55

11     advertises on Facebook using custom audiences?

12                MR. BENJAMIN:     Objection to form.         Vague.

13                THE DEPONENT:     I -- I take it you mean

14     Uber, like the ride share company?

15          Q.    (By Ms. Weaver)     Yes.                              05:29:14

16          A.    I don't know the specific audiences or

17     ways that they set up their ads on our platform.

18                MS. WEAVER:     Will you take a look at 663,

19     please.

20                (Exhibit 663 was marked for                           05:29:29

21     identification by the court reporter and is

22     attached hereto.)

23                THE DEPONENT:     Yes.     I'm sorry.    662 --

24     oh, -3.   I see it.

25          Q.    (By Ms. Weaver)     And take a moment to              05:29:32

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1      read it and let me know when you have.                     05:29:33

2           A.   This is going to take me a minute.           I

3      haven't seen this before.

4                MS. WEAVER:     No problem.

5                MR. BENJAMIN:     Counsel, was this a            05:29:51

6      document that was identified before the deposition?

7                MS. WEAVER:     No, it was not, because I

8      did not expect the testimony that we got, and it's

9      in for impeachment purposes.

10               THE DEPONENT:     I -- I've read through.        05:32:07

11          Q.   (By Ms. Weaver)     Who is Ian Abernathy?

12               MR. BENJAMIN:     Objection.     Based on

13     scope.

14               And I'll assert that as a running

15     objection to the questioning on this document.             05:32:17

16               THE DEPONENT:     I don't know who

17     Ian Abernathy is.   I have not worked with him

18     before.

19          Q.   (By Ms. Weaver)     Do you know who

20     Grace Molnar is?                                           05:32:25

21          A.   No, I also don't know who Grace is.

22          Q.   Do you know who Allison Hendrix is?

23          A.   I do know Ali Hendrix.

24          Q.   Who is she?

25          A.   She's our data policy manager for our            05:32:36

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1      developer platform.                                            05:32:38

2              Q.      Looking at Exhibit 663, do you understand

3      it to be an email from people who work at Facebook

4      relating to their work at Facebook?

5              A.      Yes.                                           05:32:53

6              Q.      And looking at the lower email, do you

7      see where Grace emailed Ian, "We have an escalation

8      with Uber, who was creating a custom audience list

9      of UIDs that were obtained via our API, but not by

10     them.        We're trying to determine where enforcement       05:33:10

11     should sit for things like this."

12                     Do you see that?

13             A.      Yes.

14             Q.      Have you ever been aware that Uber had

15     created custom audience lists of UIDs, in or around            05:33:19

16     2013?

17             A.      No, I was not aware.

18             Q.      And Facebook does not maintain a list of

19     advertisers who had scraped user IDs, correct?

20                     MR. BENJAMIN:     Object, based on scope and   05:33:36

21     form.

22                     THE DEPONENT:     To be clear, my

23     understanding of this is not that Uber scraped

24     these IDs.

25             Q.      (By Ms. Weaver)     Okay.    Do you have any   05:33:45

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1      personal knowledge of this particular issue?              05:33:47

2           A.    I don't.    Just from reading this

3      document, I --

4           Q.    Okay.    But this is the point.       This

5      document suggests that Uber had a list of user IDs,       05:33:58

6      correct?

7           A.    Correct, that they specify were obtained

8      through an API, but not by Uber.

9           Q.    Okay.    And they were obtained through

10     Facebook's API, right?                                    05:34:13

11          A.    Through a platform API.

12          Q.    That is -- that is Facebook's platform

13     API, correct?

14          A.    Yes, that's what this states.

15          Q.    Okay.    And so Uber has a collection of       05:34:23

16     Facebook user IDs, according to this document,

17     right?

18                MR. BENJAMIN:     Objection to form.

19     Foundation.     And the same continuing objection

20     based on scope.                                           05:34:36

21          Q.    (By Ms. Weaver)     Was there any attempt by

22     Facebook to prevent Uber from conducting targeted

23     advertising because Facebook knows that Uber

24     possesses user IDs?

25          A.    So, again, I'm -- I'm not familiar with        05:34:49

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1      this case.     This is the first time I've seen it.        05:34:51

2      This email thread reads to me as that is exactly

3      what's being discussed.

4           Q.      Right.

5                   But it didn't happen, did it?                 05:35:00

6                   I mean, you're in advertising and you

7      testified that there is no list within the

8      advertising department of advertisers on Facebook

9      who possess the user IDs, right?

10          A.      No.   I specifically --                       05:35:16

11                  MR. BENJAMIN:     Objection.     Objection.

12     Misstates testimony.

13                  THE DEPONENT:     I specifically noted,

14     first, that Uber was not scraping.          That's --

15     that's specified here.       And we -- there -- they       05:35:27

16     wouldn't -- this -- I -- I think that's the answer.

17     Uber was --

18          Q.      (By Ms. Weaver)     Uber wasn't talking

19     about scraping.       I'll read the question back.

20                  You testified that there is no list           05:35:39

21     within the advertising department of advertisers on

22     Facebook who possess user IDs, right?

23                  MR. BENJAMIN:     Same objection.

24                  THE DEPONENT:     Do you mind reading back

25     the testimony that you're referring to.                    05:35:54

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1             Q.   (By Ms. Weaver)     I'll just ask you.               05:35:56

2                  Within the advertising department, is

3      there a list of advertisers on Facebook that

4      Facebook knows has come into possession of user

5      IDs?                                                             05:36:07

6                  MR. BENJAMIN:     Objection to form and

7      scope.

8                  THE DEPONENT:     I'm -- I'm -- I'm not sure

9      like -- a -- a list of advertisers that have access

10     to UID -- or have obtained UIDs is not a list that               05:36:47

11     I'm aware of within ads because I -- I -- I'm not

12     sure the connection there back to the fact that

13     they're an advertiser.

14            Q.   (By Ms. Weaver)     Does Facebook have any

15     way to prevent advertisers who Facebook knows                    05:37:06

16     possesses -- possesses user IDs from advertising on

17     Facebook?

18                 MR. BENJAMIN:     Objection to form.         Asked

19     and answered.

20                 THE DEPONENT:     The possession of an ad --         05:37:24

21     the possession of UIDs by an advertiser is -- isn't

22     a factor in -- in -- I -- that's not an evaluation

23     in the creation of an ad.       I'm not -- I'm not sure

24     the connection here.

25            Q.   (By Ms. Weaver)     Does Facebook take any           05:37:50

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1      steps to prevent companies that Facebook knows              05:37:53

2      possesses user IDs from targeting those users

3      through Facebook's advertising platform?

4                   MR. BENJAMIN:     Same -- same objections.

5                   THE DEPONENT:     I think this is an example   05:38:08

6      where, like in this email thread, they are

7      discussing the steps that need to be taken here.

8                   I am not aware of what happened with Uber

9      that -- I'm not sure the resolution on -- in this

10     one.                                                        05:38:24

11             Q.   (By Ms. Weaver)     And you, in the

12     advertising privacy policy team, have never seen a

13     list of advertisers who possess user IDs or used it

14     for the purposes of saying you may not advertise

15     because you will be sharing infor- -- you will be           05:38:34

16     able to personally target individual users; is that

17     true?

18                  MR. BENJAMIN:     Objection to form.

19                  THE DEPONENT:     I -- I don't know of any

20     other cases aside from the one that you've                  05:38:55

21     presented currently.

22             Q.   (By Ms. Weaver)     Does Uber currently

23     advertise on Facebook?

24                  MR. BENJAMIN:     Objection.

25                  THE DEPONENT:     I don't know the full list   05:39:10

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1      of advertisers who advertise on Facebook.           I --    05:39:11

2      I -- at some points Uber definitely did advertise

3      and in recent years.

4            Q.    (By Ms. Weaver)     Okay.    Are you prepared

5      to testify about targeted advertisements that take          05:39:28

6      the form of videos?

7            A.    Yes.

8            Q.    How do targeted advertisements take the

9      form of videos?

10           A.    When an advertisers sets up their ad --         05:39:42

11     one second.

12                 (Brief interruption.)

13                 THE DEPONENT:     When an advertiser sets up

14     their ad, they choose the -- the creative for their

15     ad.   That includes choosing if it's going to be an         05:40:06

16     image or a video and the format.         And then they

17     would upload the video that they want to use for

18     their ad.

19           Q.    (By Ms. Weaver)     And Facebook then takes

20     the video and provides that video to the users, is          05:40:22

21     that right, on its platform?

22           A.    As in the case of all ads, it then enters

23     the auction.       And if it wins the auction, we will

24     show that ad that has the video content in our

25     newsfeed to users.                                          05:40:41

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1           Q.   So Facebook isn't creating the videos; is       05:40:43

2      that right?

3           A.   The advertiser selects the video and

4      creates the video.

5           Q.   And then Facebook's responsibility is to        05:40:51

6      take the video and provide it to the user; is that

7      right?

8                MR. BENJAMIN:     Objection to form.

9                THE DEPONENT:     We deliver the ad to

10     users, yes.                                               05:41:03

11          Q.   (By Ms. Weaver)     And the ad is in video

12     form, right?

13               MR. BENJAMIN:     Objection to form.

14               THE DEPONENT:     By video -- by video form,

15     we just mean it is an ad that has a video in it?          05:41:12

16          Q.   (By Ms. Weaver)     Yes.

17          A.   Yes.   Then we show a user that ad, which

18     involves showing them the video.

19          Q.   And then does Facebook report back to the

20     advertiser information about whether or not those         05:41:32

21     videos were obtained or received?

22               MR. BENJAMIN:     Objection to form.

23               THE DEPONENT:     Do you mind clarifying

24     what you mean by obtained or received.

25          Q.   (By Ms. Weaver)     Do you understand what      05:41:48

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1      the word "obtained" means?                                05:41:48

2           A.    I understood to -- I -- I understood it

3      to mean removing it from the platform, and I don't

4      think that's what you mean.     So I want to be

5      sure --                                                   05:42:00

6           Q.    Okay.

7           A.    -- I'm following.

8           Q.    Let's try this, what about receive?

9                 Do you know what receive means?

10          A.    Received by the users?                         05:42:06

11          Q.    Yes.

12          A.    Yes.    The users -- so, again, the ad

13     enters the ad auction.     If it is delivered to a

14     user, the user will see it.     That's what I'm

15     defining as received.     They saw the ad.                05:42:18

16          Q.    And then Facebook reports the view of

17     that video back to the advertisers; is that

18     correct?

19          A.    We report the aggregated number of views

20     a video -- a video ad gets, correct.                      05:42:31

21          Q.    Okay.    What is audience network?

22          A.    Audience network was a -- effectively an

23     ad exchange owned by Facebook that would enable us

24     to place an ad on third-party sites and website --

25     third-party websites and apps.                            05:42:52

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1           Q.   And Facebook was placing the ad on the             05:42:56

2      third-party websites, and was it then compensated

3      for placing the ad?

4                MR. BENJAMIN:     Objection to form.

5                THE DEPONENT:     As with all ads, the             05:43:15

6      advertiser pays for the ad.     And that was also true

7      with audience network placements.

8           Q.   (By Ms. Weaver)     And in this case, the

9      advertiser is Facebook; is that right?

10          A.   No.                                                05:43:26

11               MR. BENJAMIN:     Objection to form.

12          Q.   (By Ms. Weaver)     Okay.    Facebook is

13     placing the ad on behalf of an advertiser; is that

14     right?

15               MR. BENJAMIN:     Objection to form.               05:43:38

16               THE DEPONENT:     It's a similar concept as

17     placing an ad on Facebook, the advertiser creates

18     the ad and chooses the audience.       Facebook dis- --

19     on -- on our platform, we display it here.         We send

20     it to a publisher, so the website or app, and they           05:43:54

21     display the ad.

22          Q.   (By Ms. Weaver)     So is Facebook involved

23     in pulling together targeted interests or behaviors

24     for the creation of ads in audience network?

25          A.   No.                                                05:44:16

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1                MR. BENJAMIN:     Objection to -- sorry,        05:44:17

2      Bella.

3                Objection to form.      Compound.     Vague.

4                THE DEPONENT:     No.   The creation of an ad

5      that goes on an audience network is the same as the       05:44:26

6      creation of an ad on Facebook.      The advertiser

7      selects their desired audience through our

8      targeting options.   The same ones that we covered.

9                The -- our role in the audience network

10     portion is in place -- is in -- in -- I think             05:44:43

11     "placing" is maybe confusing us -- is in that ad

12     going to a third-party website rather than on our

13     platform to be displayed to a user.

14          Q.   (By Ms. Weaver)     And then does Facebook

15     track performance measurements and report that back       05:45:01

16     to the advertiser?

17               MR. BENJAMIN:     Objection to form.

18               THE DEPONENT:     Similar to an ad that we

19     display on our own site, an advertiser would know

20     the aggregated performance metrics of that ad.            05:45:15

21          Q.   (By Ms. Weaver)     Are you aware of

22     performance measurements provided to Salesforce at

23     Oracle that were different than the kinds of

24     performance measurements provided ordinarily to --

25     to advertisers?                                           05:45:35

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1                 MR. BENJAMIN:     Objection to form.                  05:45:39

2                 THE DEPONENT:     In the -- can you clarify,

3      in the sense of like were Salesforce and Oracle

4      advertisers?

5            Q.   (By Ms. Weaver)     Yes.                              05:45:49

6            A.   And did we provide them with different

7      metrics?

8            Q.   Yes.

9            A.   No.

10           Q.   Over time, with regard to the performance             05:46:22

11     metrics provided by Facebook to advertisers, what

12     are examples of metrics that are provided today

13     that were not provided in the past?

14           A.   As an example -- I'm sorry, Matt.            I keep

15     jumping.                                                         05:46:45

16                When a new ad format is introduced, such

17     as video ads, were not a type of ad that we had

18     originally, we then also introduced the relevant

19     performance metric of like aggregate views of that

20     video, which wouldn't have existed prior to a video              05:47:03

21     ad.

22           Q.   Can you think of any other examples that

23     were added over time with regard to performance

24     measurements or metrics provided to advertisers?

25                MR. BENJAMIN:     Objection to form.                  05:47:18

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1                 THE DEPONENT:     Ad score is an example       05:47:20

2      that has been something we've added in over time.

3           Q.    (By Ms. Weaver)     When was ad score added?

4           A.    I don't know the exact date.        But from

5      2016 onwards, I believe.                                  05:47:33

6           Q.    Any other examples you can think of?

7           A.    I can't think of any other examples more

8      specifically on a timeline.

9           Q.    What is conversion tracking?

10          A.    Conversion tracking is a way to                05:47:57

11     understand who subsequently bought an ad or -- or

12     converted on -- the product.

13          Q.    Does Facebook provide that information to

14     advertisers?

15          A.    That works in conjunction with our             05:48:14

16     business tools.

17          Q.    Okay.   Does Facebook provide that

18     information to advertisers through their business

19     tools?

20          A.    We -- so for an ad that's -- that's a          05:48:25

21     conversion ad, an advertiser sets up the Pixel and

22     they are able to understand the conversions from

23     that ad.

24          Q.    And when you say "the advertiser sets up

25     the Pixel" do you mean to imply that's the                05:48:43

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1      advertiser that is tracking the conversion or is              05:48:47

2      it --

3              A.     Yes.

4              Q.     -- just as well through the Pixel?

5                     MR. BENJAMIN:     Objection to form.           05:48:56

6                     THE DEPONENT:     The advertiser sets up the

7      Pixel.       Facebook also receives the information from

8      the Pixel.

9              Q.     (By Ms. Weaver)     And what specifically is

10     the information that the Pixel collects with regard           05:49:08

11     to conversion tracking?

12             A.     Pixel collects two categories of

13     information.          One is contact information, which is

14     a form of identifier and event.            The event is

15     something the advertiser defines.            In this case     05:49:25

16     it's a conversion.          And they choose the information

17     to send back about that event.

18             Q.     And for the record, can you define

19     conversion?

20             A.     Conversion is -- is -- is the -- the end       05:49:41

21     of the marketing funnel.          It's when someone buys

22     the product or service being advertised.

23             Q.     Is it always a purchase or can it also be

24     just a desired action?

25                    MR. BENJAMIN:     Objection to form.           05:50:03

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1                   THE DEPONENT:     Desired action is             05:50:06

2      particularly broad because advertisers usually have

3      a desired action with any ad they're placing.

4      So -- so in the sense of you create an ad with a

5      like page objective to try and get people to like            05:50:16

6      your page.

7                   So conversions are -- are most closely to

8      take a very specific -- like buying or -- or -- or

9      it is the -- the -- the end of the funnel that

10     someone has completed, the marketing funnel.                 05:50:36

11          Q.      (By Ms. Weaver)     Could we say a

12     conversion marks completion of a business

13     objective?

14                  MR. BENJAMIN:     Objection to form.

15                  THE DEPONENT:     The -- I don't think          05:50:46

16     that's inaccurate.     I don't know that that's

17     exactly how we would describe it.          But that --

18     that -- I'm fine with that description.

19          Q.      (By Ms. Weaver)     Okay.    Are you familiar

20     with something called an ad console?                         05:51:05

21          A.      No, not -- not immediately.

22                  Do you mind walking me through what your

23     reference is.

24          Q.      Yeah.

25                  Is there something internally that the          05:51:24

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1      advertising team sees about ad campaigns that is                 05:51:27

2      not provided to the advertiser?

3                   MR. BENJAMIN:     Objection to form and

4      scope.

5                   THE DEPONENT:     An advertising team being         05:51:43

6      like the sales team associated with an advertiser

7      or...

8              Q.   (By Ms. Weaver)     Yes.

9              A.   I -- there are internal tools that our

10     sales team uses.      I do not -- I -- I don't know if           05:52:01

11     that's specifically ad console that -- that is

12     what -- if that's what it's named.

13             Q.   Okay.   What is an ECTR?

14             A.   The estimated click-through rate.

15             Q.   And how is that calculated?                         05:52:23

16             A.   The ECTR is part of the machine learning,

17     the estimated action rate that's a similar concept.

18     So it's the likelihood -- I'm sorry.           One moment.

19     I -- I want to be sure I'm also not confusing

20     acronyms here.                                                   05:52:49

21                  MS. WEAVER:     No problem.

22                  THE DEPONENT:     I -- I -- I apologize.        I

23     don't want to misstate on the definition of -- or

24     how we create the estimated click-through rate.

25             Q.   (By Ms. Weaver)     Who would know?                 05:53:12

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1              A.   Our ad measurement team would know.          05:53:16

2              Q.   Who's in the ad measurement team?

3              A.   An example is Toby Roessingh.

4              Q.   R-O-S-I-N-G?

5              A.   It's in -- his last name -- one second.      05:53:33

6      I can spell this.

7                   R-O-E-S-S-I-N-G-H.

8              Q.   Is he the lead on the ad measurement

9      team?

10                  MR. BENJAMIN:     Objection to form and      05:54:04

11     scope.

12                  THE DEPONENT:     I'm not sure his exact

13     position, but he is on ads measurement.

14             Q.   (By Ms. Weaver)     Anyone else you can

15     think of?                                                 05:54:16

16                  MR. BENJAMIN:     Same objections.

17                  THE DEPONENT:     No, he's -- he's a point

18     of contact that I use for the ads measurement team.

19             Q.   (By Ms. Weaver)     Okay.    What is CPC?

20             A.   Cost per click.                              05:54:35

21             Q.   And what is CPM?

22             A.   CPM stands for cost per meal, which is

23     cost per 1,000 impressions.

24             Q.   And does Facebook provide to advertiser,

25     following a campaign, the metrics that include            05:54:54

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1      clicks, impressions, CPM, CPC and CTR?                               05:54:58

2              A.   Do you mean for -- those are -- those are

3      aggregated metrics that we provide to advertisers.

4              Q.   Does Facebook also provide revenue

5      information?                                                         05:55:15

6              A.   Revenue is -- or like related to us.               We

7      provide the advertiser with their ad spend.               How

8      much they spent on that ad.

9              Q.   And then does Facebook provide something

10     called value to advertisers?                                         05:55:31

11             A.   We do provide a metric called value.

12             Q.   And what is value?

13             A.   How we calculate value is something that

14     I -- I'm afraid I will misrepresent.

15             Q.   But Facebook does calculate value, right?               05:56:01

16             A.   We -- so --

17                  MR. BENJAMIN:     Objection -- objection to

18     form.

19                  THE DEPONENT:     We provide a metric

20     called -- or part of performance is -- is a metric                   05:56:14

21     called value.

22             Q.   (By Ms. Weaver)     And it's the value of

23     what?

24             A.   I'm not certain.     And I don't want to

25     misrepresent what it stands for.                                     05:56:25

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1              Q.      Who would know?                                   05:56:27

2              A.      Again, Toby.

3              Q.      What is ego value?

4                      (Court Reporter asks for clarification.)

5                      MS. WEAVER:     Ego value.     E-G-O V-A-L-U-E.   05:56:30

6                      THE DEPONENT:     I'm not certain.      I --

7      I -- I -- I'm not familiar with that just -- yeah.

8              Q.      (By Ms. Weaver)     Does Facebook provide

9      real-time ads metrics to advertisers?

10                     MR. BENJAMIN:     Objection to form.              05:57:05

11                     THE DEPONENT:     Can you clarify, for

12     real-time, do you mean as soon as an action happens

13     on an ad?

14             Q.      (By Ms. Weaver)     I mean, I -- I don't

15     know.        I don't work at Facebook.                            05:57:16

16                     But what does real-time mean at Facebook?

17                     MR. BENJAMIN:     Objection to form.

18                     THE DEPONENT:     We -- so we provide -- as

19     an ad begins to run, we provide the aggregated

20     metrics -- performance metrics.              Those aren't like    05:57:34

21     a minute-by-minute updated.           So it's -- that's what

22     we mean by real-time is it's not how those metrics

23     are shared with advertisers.

24             Q.      (By Ms. Weaver)     How about a five-minute

25     level granularity, is that shared with advertisers?               05:57:49

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1           A.   I don't know the exact refresh rate of          05:58:03

2      those aggregated metrics.

3           Q.




                                                                 05:58:16

6                MR. BENJAMIN:     Objection to form.

7

                                              .

9           Q.   (By Ms. Weaver)

                                                                 05:58:29

11          A.




20          A.   So to clarify --                                05:59:14

21               MR. BENJAMIN:     Objection -- objection to

22     form and scope as phrased.

23




                                                                 05:59:31

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1




                                                                    05:59:46

6             Q.   (By Ms. Weaver)     Okay.    What are QRT

7      experiments?

8             A.   Those aren't specific to -- to ads.          A

9      QRT is to effectively understand the change when we

10     launch something.    So if we see -- as an example,          06:00:06

11     we might -- as I'm -- a probably silly example.

12                 In ads manager, if we switched the order

13     of something, we might run a QRT where some

14     advertisers are in one group and other advertisers

15     are in another group to understand if there is a             06:00:29

16     difference between the -- the groups and the new

17     UIs.    So to understand if there's an impact to how

18     they engage with our tools.

19            Q.   And what does QRT stand for, do you know?

20            A.   I don't know.                                    06:00:48

21                 MR. BENJAMIN:     Objection -- objection to

22     form and scope.

23                 THE DEPONENT:     This is probably a -- a

24     problem at Facebook where we use acronyms without

25     ever learning the -- the full wording.                       06:00:56

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1                I'm not sure -- I'm not sure what the           06:00:57

2      full name is or what it stands for.

3           Q.   (By Ms. Weaver)     So do QRT experiments

4      generates ad-specific metrics that are useful to

5      Facebook in figuring out how best to target users?        06:01:11

6                MR. BENJAMIN:     Objection to form.

7                THE DEPONENT:     No.   A QRT is about

8      creating like a production environment that we can

9      understand if it's different from different

10     production environment.     It's not a method to          06:01:36

11     target users for ads.     That is still established by

12     our targeting tools that advertisers choose.

13          Q.   (By Ms. Weaver)     What's a production

14     environment?

15               MR. BENJAMIN:     Objection.                    06:02:00

16               Is anyone else hearing an echo?

17               THE COURT REPORTER:      Yes.

18               THE DEPONENT:     No.

19               MS. WEAVER:     I'm having an echo, too.

20               THE COURT REPORTER:      It's been happening    06:02:08

21     for a while.

22               MR. BENJAMIN:     Do you want to go off the

23     record?

24               THE COURT REPORTER:      Sure.

25               MS. WEAVER:     I mean, I'd rather continue     06:02:16

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1      with the dep.                                              06:02:17

2                 How much time do we have left?

3                 THE VIDEOGRAPHER:     About 18 minutes.

4                 (Court Reporter initiates discussion off

5      the stenographic record.)                                  06:03:10

6           Q.    (By Ms. Weaver)     Okay.    Back to, what is

7      a production environment?

8           A.    That was my way of explaining that

9      we're -- we've created two versions of a UI for

10     users who -- or -- or in this -- in the example I          06:03:41

11     gave, advertisers to interact with.

12                It's just a -- a live part of our site.

13     I'm not sure if that's like a technical term that

14     would be used.   But that's what I was describing.

15          Q.    Are you familiar with something called          06:03:55

16     deltoid?

17                MR. BENJAMIN:     Objection to form.

18                THE DEPONENT:     Not super specific to ad

19     targeting or ad ranking.      Deltoid, from my

20     understanding, is how we help measure when a QRT is        06:04:13

21     running the differences in metrics from that --

22     effectively those two environments, the two

23     versions that we -- we have running.

24          Q.    (By Ms. Weaver)     And what do you mean by

25     the "differences in metrics"?                              06:04:29

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1           A.      So going back to the example if -- that I       06:04:34

2      was using of advertisers maybe we switched the UI

3      in one version to understand if it's an easier UI

4      for them to use.       I mean, one thing would be like

5      ad creation.     Do we see similar rates of ad               06:04:47

6      creation when we make that change.

7           Q.      Got it.

8                   So does Facebook provide to third parties

9      ad market daily metrics?

10                  MR. BENJAMIN:     Objection to form --          06:05:11

11          Q.      (By Ms. Weaver)     Is that something that

12     Facebook maintains internally.

13                  MS. WEAVER:     Sorry about that, Matt.

14                  MR. BENJAMIN:     Excuse me, Ms. Weaver.

15     Apologize.                                                   06:05:17

16                  Objection to form and scope.

17                  THE DEPONENT:     I'm sorry.     I missed the

18     very beginning of your question.

19          Q.      (By Ms. Weaver)     Does Facebook provide to

20     third parties ad market daily metrics?                       06:05:30

21                  MR. BENJAMIN:     Same objections.

22                  THE DEPONENT:     No.   My understanding is

23     that that's an internal table of ad performance and

24     metrics.

25          Q.      (By Ms. Weaver)     And does Facebook           06:05:51

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1      maintain per impression logging with revenue                  06:05:52

2      information for ads?

3                  MR. BENJAMIN:     Objection to scope.

4                  THE DEPONENT:     We --             we maintain

5      something called ads impressions annotated, which             06:06:08

6      is an impression login table.          To be clear, I don't

7      think it's revenue-based.       Revenue, again, is more

8      specific to us rather than ad spend from the

9      advertiser.

10          Q.     (By Ms. Weaver)     And does Facebook share       06:06:24

11     data from the ads impressions annotated with third

12     parties?

13                 MR. BENJAMIN:     Objection to form and

14     scope as phrased.

15                 THE DEPONENT:     No.     We share the            06:06:40

16     aggregated impression information in like our --

17     our ads manager performance metrics, not the table.

18          Q.     (By Ms. Weaver)     And where is that

19     aggregated impression information maintained at

20     Facebook?                                                     06:06:57

21                 MR. BENJAMIN:     Objection to form and

22     scope.

23                 THE DEPONENT:     It -- it is read from our

24     data basis.    It's read from the tables, but

25     aggregated for -- to display to -- in our UI.                 06:07:10

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1           Q.    (By Ms. Weaver)     I'm sorry.                    06:07:16

2           A.    No, no.

3           Q.    When you say "read from our databases,"

4      which databases do you mean specifically?

5           A.    The -- the back end here, I -- I --               06:07:31

6      were -- this isn't specific to ads.         I'm not -- I'm

7      not sure if like our ads reporting UI reads it from

8      Hive specifically, in which case it would be the

9      ads impressions annotated or

                  which is where like the production site           06:07:59

11     is run from.

12          Q.    Is there data contained                which is

13     shared with third parties?

14                MR. BENJAMIN:     Objection to form and

15     scope.                                                       06:08:25

16                THE DEPONENT:     Can you -- do you mind --

17     clar- -- clarifying.   Do you mean such as like the

18     tables

19          Q.    (By Ms. Weaver)     Yes.

20                MR. BENJAMIN:     Same objection.                 06:08:34

21                THE DEPONENT:     So within the context of

22     ads, we don't share the tables                with third

23     parties.

24          Q.    (By Ms. Weaver)     But do you share

25     information contained in the tables                          06:08:44

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1      some -- some portion of it with advertisers?                   06:08:48

2                MR. BENJAMIN:     Objection to form.         Asked

3      and answered.

4                THE DEPONENT:     Our ad reporting metrics,

5      the ones we've discussed, the aggregated ones, such            06:09:01

6      as in ads manager, I'm not certain if those come

7      from Hive, if that's an aggregation that's there.

8      But that would be an example of where conceptually

9      that might happen.

10               But, again, it's about -- it's backing               06:09:16

11     the aggregated metrics that we provide to an

12     advertiser.

13          Q.   (By Ms. Weaver)     What's the difference

14     between a raw and a legal impression?

15               MR. BENJAMIN:     Objection to form and              06:09:30

16     scope.

17               THE DEPONENT:     A legal impression is an

18     impression that we -- that is charged to the

19     advertiser.     A -- a raw impression is not always a

20     legal impression.                                              06:09:48

21          Q.   (By Ms. Weaver)     How does Facebook decide

22     what is a legal impression?

23               MR. BENJAMIN:     Objection to form and

24     scope.

25               THE DEPONENT:     This -- this is within ads         06:09:58

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1      measurement.     An example from -- from my knowledge     06:10:00

2      is if we -- if we show an ad multiple -- or if an

3      ad -- I'm trying to explain how -- how -- how I

4      remember this.

5                If -- if -- an example of a raw                 06:10:28

6      impression is that does -- is not a legal

7      impression, because legal impressions are a subset

8      of those, would be if an ad is shown to a user

9      potentially repeatedly, and it was not -- it wasn't

10     supposed to be.     So it's -- if an indication of        06:10:46

11     potentially like a mis-delivery on our side and so

12     we don't charge the advertiser for it.

13               Beyond that, I don't know all the cases.

14     That would be something that our ads measurement

15     would cover.                                              06:10:59

16          Q.   (By Ms. Weaver)     Are you aware of a table

17     that logs per user daily key revenue metrics with

18     ads revenue?

19               MR. BENJAMIN:     Objection to form and

20     scope.                                                    06:11:12

21               THE DEPONENT:     No.

22          Q.   (By Ms. Weaver)     So are you familiar with

23     a log called




25               MR. BENJAMIN:     Same objections.              06:11:26

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1                   THE DEPONENT:     I'm -- I'm not familiar          06:11:31

2      with all of the data in that table or if it

3      reflects revenue per user.        That's not something we

4      calculate.

5           Q.      (By Ms. Weaver)     Do you know if -- are          06:11:49

6      you familiar with a log

7




10                  MR. BENJAMIN:     Objection to form.         And   06:12:04

11     foundation and scope.

12                  THE DEPONENT:     I don't know the details

13     of the columns of that

14          Q.      (By Ms. Weaver)     Is there a person whose

15     responsibility is to track revenue tied on a user               06:12:15

16     basis?

17          A.      No.   We don't track revenue on a user

18     basis.

19          Q.      And when you say "we don't," you mean

20     currently Facebook doesn't do that?                             06:12:39

21                  MR. BENJAMIN:     Objection to form and

22     scope on this line.

23                  THE DEPONENT:     We don't track per user

24     how much -- the revenue we've gained from that user

25     is what I mean.                                                 06:13:00

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1              Q.   (By Ms. Weaver)     Okay.        With regard to    06:13:02

2      conversions, are you familiar with something called

3      an RSVP?

4                   MR. BENJAMIN:     Objection to scope.

5                   THE DEPONENT:     No.     I might need some --     06:13:14

6      some narrowing or clarification.

7                   MS. WEAVER:     Sadly, I don't have any.

8                   Okay.   I think we can go off the record

9      quickly.

10                  How much time do we have left?                     06:13:36

11                  THE VIDEOGRAPHER:        It's let's see -- off

12     the record, we have about seven or eight minutes

13     left.

14                  MS. WEAVER:     Great.     Thank you.

15                  THE VIDEOGRAPHER:        Okay.     And we're off   06:13:52

16     the record.     It's 6:13 p.m.

17                  (Recess taken.)

18                  THE VIDEOGRAPHER:        We're back on record.

19     It's 6:28 p.m.

20             Q.   (By Ms. Weaver)     Ms. Leone, just a -- or        06:28:11

21     Leone -- just a few more questions.

22                  You testified that CPC is a metric that

23     refers to cost per click.

24                  Do you recall that?

25             A.   Yes.                                               06:28:21

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1           Q.   Can it also --                                  06:28:23

2                MS. WEAVER:    You know, it sounds like

3      this echo is me.   Let me try --

4           Q.   (By Ms. Weaver)     Can it also refer to a

5      type of -- that advertisers can -- where they pay         06:28:32

6      each time a user clicks on the ad?

7           A.   I'm sorry.    That came in and out

8      continuously.

9                MS. WEAVER:    Hello.    I just went back to

10     the other mic.                                            06:28:46

11          Q.   (By Ms. Weaver)     Okay.    Can CPC also

12     refer to a type of bidding that advertisers can

13     choose where they pay each time a user clicks on

14     the ad?

15          A.   It is -- is a bidding strategy that they        06:28:58

16     can select when they set up their ad.

17          Q.   And is reach the number of users who

18     receive an ad?

19          A.   Reach is the number of accounts that --

20     that -- that see an ad, yes.      I -- I think that       06:29:16

21     we're saying the same thing.

22          Q.   And unique accounts?

23          A.   Unique accounts.

24          Q.   What is frequency?

25          A.   Together reach and frequency are a type         06:29:30

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1      of -- of a mechanism of brand awareness where we               06:29:40

2      will try to -- to -- to optimize the ad to reach a

3      large number of people or reach many people and

4      multiple times with an ad so they familiarize

5      themselves with that brand.                                    06:29:52

6           Q.   So is reach frequency the number of times

7      a user is exposed to an ad?

8           A.   Yes.

9           Q.   And is average frequency calculated by

10     dividing impressions by reach?                                 06:30:06

11          A.   I believe so.     But I -- I would

12     potentially need to -- to confirm.

13               MS. WEAVER:     Okay.     That's it.     I have no

14     further questions at this time.        And reserve all

15     rights and we'll keep it open on behalf of                     06:30:28

16     plaintiffs.

17               MR. BENJAMIN:     Okay.     Thank you,

18     Counsel Weaver.

19               On behalf of Facebook, it sounds like

20     plaintiffs have had the opportunity to ask the                 06:30:35

21     questions they wanted to today.        We just reserve

22     all rights.

23               We designate the transcript

24     "Confidential" pursuant to the protective order

25     pending the final confidentiality designation.                 06:30:44

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1                 MS. WEAVER:       Great.     Thank you.            06:30:47

2                 We can go off the record.

3                 THE VIDEOGRAPHER:          Off the record or --

4      I'm -- I'm sorry.      I didn't -- I didn't hear it.

5                 Okay.     So --                                    06:30:55

6                 MS. WEAVER:       Go off the record.      Sorry.

7                 THE VIDEOGRAPHER:          Go off the record.

8      Okay.   Thank you.

9                 We're off the record.          It's 6:31 p.m.

10                (TIME NOTED:       6:31 p.m.)                      06:31:04

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1             I, Rebecca L. Romano, a Registered
2      Professional Reporter, Certified Shorthand
3      Reporter, Certified Court Reporter, do hereby
4      certify:
5             That the foregoing proceedings were taken
6      before me remotely at the time and place herein set
7      forth; that any deponents in the foregoing
8      proceedings, prior to testifying, were administered
9      an oath; that a record of the proceedings was made
10     by me using machine shorthand which was thereafter
11     transcribed under my direction; that the foregoing
12     transcript is true record of the testimony given.
13            Further, that if the foregoing pertains to the
14     original transcript of a deposition in a Federal
15     Case, before completion of the proceedings, review
16     of the transcript [x] was [ ] was not requested.
17            I further certify I am neither financially
18     interested in the action nor a relative or employee
19     of any attorney or any party to this action.
20            IN WITNESS WHEREOF, I have this date
21     subscribed my name this 10th day of August, 2022.
22
23
                 <%7321,Signature%>
24               Rebecca L. Romano, RPR, CCR
25               CSR No. 12546

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1      MATT BENJAMIN

2      mbenjamin@gibsondunn.com

3                                                          August 10, 2022

4      RE: Facebook, Inc. Consumer Privacy User Profile Litigation

5      AUGUST 5, 2022, ISABELLA LEONE, JOB NO. 5345580

6      The above-referenced transcript has been

7      completed by Veritext Legal Solutions and

8      review of the transcript is being handled as follows:

9      __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

10        to schedule a time to review the original transcript at

11        a Veritext office.

12     __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

13        Transcript - The witness should review the transcript and

14        make any necessary corrections on the errata pages included

15        below, notating the page and line number of the corrections.

16        The witness should then sign and date the errata and penalty

17        of perjury pages and return the completed pages to all

18        appearing counsel within the period of time determined at

19        the deposition or provided by the Code of Civil Procedure.

20     __ Waiving the CA Code of Civil Procedure per Stipulation of

21        Counsel - Original transcript to be released for signature

22        as determined at the deposition.

23     __ Signature Waived – Reading & Signature was waived at the

24        time of the deposition.

25

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1      xx Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

2         Transcript - The witness should review the transcript and

3         make any necessary corrections on the errata pages included

4         below, notating the page and line number of the corrections.

5         The witness should then sign and date the errata and penalty

6         of perjury pages and return the completed pages to all

7         appearing counsel within the period of time determined at

8         the deposition or provided by the Federal Rules.

9      __ Federal R&S Not Requested - Reading & Signature was not

10        requested before the completion of the deposition.

11

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1             I, ISABELLA LEONE, do hereby declare under
2      penalty of perjury that I have read the foregoing
3      transcript; that I have made any corrections as
4      appear notes; that my testimony as contained
5      herein, as corrected, is true and correct.
6             Executed this ____ day of ___________________,
7      2022, at      __________________,_____________________.
8
9
10
11
12                        _______________________
13                             ISABELLA LEONE
14
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1      RE: Facebook, Inc. Consumer Privacy User Profile Litigation

2      ISABELLA LEONE (JOB NO. 5345580)

3                           E R R A T A      S H E E T

4      PAGE_____ LINE_____ CHANGE________________________

5      __________________________________________________

6      REASON____________________________________________

7      PAGE_____ LINE_____ CHANGE________________________

8      __________________________________________________

9      REASON____________________________________________

10     PAGE_____ LINE_____ CHANGE________________________

11     __________________________________________________

12     REASON____________________________________________

13     PAGE_____ LINE_____ CHANGE________________________

14     __________________________________________________

15     REASON____________________________________________

16     PAGE_____ LINE_____ CHANGE________________________

17     __________________________________________________

18     REASON____________________________________________

19     PAGE_____ LINE_____ CHANGE________________________

20     __________________________________________________

21     REASON____________________________________________

22

23     ________________________________              _______________

24     ISABELLA LEONE                                Date

25

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[& - 2019]

        &           1050 6:17               201:4 231:7,7,10   2014 21:17,20
 & 1:14 2:19 3:5    10:15 96:5              231:16 232:2,9       26:25 28:2 30:3
  4:17 5:5 6:5      10:16 96:8              232:14 233:22        34:2,4 92:6,8
  11:17,22 366:23   10:34 109:20            233:24 234:3,11      93:6,12,22 99:12
  367:9             10:49 109:23            234:14,16 235:4      99:13,14 123:1
                    10th 365:21             235:18 236:19        131:4,11 145:8
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                    11:33 144:15            237:8 240:18,19      156:19 157:4,25
 00003632 8:13      11th 145:23             241:5 242:12         158:7 168:17
 02140811 10:15     12 67:4 314:12          246:8 247:6          169:8,24 172:13
 02140812 10:16     1201 4:9                248:11 291:7         174:7 264:10
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 03969858 9:22      13 8:5 254:4          2007 24:25 25:3        344:5
   251:22           133 211:24              25:5,6 26:6 27:5   2018 58:3 123:14
 03969862 9:23      14 158:7                27:13,24 30:3        136:14 156:19
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